                                                                    EXHIBIT
                                                                          E




                     UNITED STATES DISTRICT COURT

                   MIDDLE DISTRICT OF NORTH CAROLINA

 FARHAD AZIMA                              ) Civil action No. 20-cv-954
                                           )
      Plaintiff,                           ) EXPERT REPORT OF
                                           ) CHRISTOPHER TARBELL
      v.                                   )
                                           )
 NICHOLAS DEL ROSSO and VITAL              )
 MANAGEMENT SERVICES, INC                  )
                                           )
      Defendants.                          )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )




               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                       1


Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 1 of 155
       I, Christopher W. Tarbell, provide this expert report concerning the above-
referenced matter.

                                            I.

                      BACKGROUD AND QUALIFICATIONS
       1.     The following facts are based on my own personal knowledge,

education, and experience. If called as a witness, I will testify to the truth of the

declared facts under oath.

       2.     I am a former FBI agent and a co-founding partner at Naxo Labs, LLC

(“NAXO”).      I regularly provide expert advice regarding computer and network

security and how to respond to cyber incidents.
       3.     From 2015 to 2022, I was a Director at Berkeley Research Group, LLC

(“BRG”). From 2014 to 2015, I was a Managing Director at FTI Consulting, Inc.’s

(“FTI”) Global Risk and Investigations Practice. My focus at both BRG and FTI was

cyber security.

       4.     From 2005 to 2014, I was a Special Agent with the Federal Bureau of

Investigation (“FBI”). I was trained and certified by the FBI as a computer forensic

examiner and was member of the FBI’s Computer Analysis Response Team (“CART”),

which focused on cyber matters. My primary responsibility was to conduct criminal

investigations into computer and network intrusions, which also involved the retrieval

and forensic examination of computer-related evidence.

       5.     During my career at the FBI, I worked on nearly 100 criminal and

national security investigations that involved the recovery and forensic analysis of
electronic evidence as well as the investigations of computer artifacts from cyber

intrusions.

                  EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                            2

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 2 of 155
       6.      I earned a Master of Science degree in Computer Science from James
Madison University in 2004, with a concentration in information security.

       7.      I have been certified as an FBI CART Forensic Examiner for both

criminal and national security cases. Those certifications were in the Windows and
Linux operating systems, along with mobile devices.

       8.      I have been certified by leading forensic software providers in the

utilization of their forensic tools. For example, I have been certified by Guidance

Software as an EnCase Certified Examiner and by AccessData as an AccessData

Certified Examiner.

       9.      I have also been certified as a Forensic Computer Examiner with the
International Association of Computer Investigative Specialists (“IACIS”).

       10.     I have previously testified as a government computer forensics expert in

United States of America v. Munoz, Case No. 11-CR-167 (JRT/AJB) in the United

States District Court for the District of Minnesota and United States of America v.

Berger, et al., Case No. 08-CR-00022 (LC/EMT) in the United States District Court

for the Northern District of Florida, both criminal matters. I have also testified as both

a computer forensics and computer intrusion expert in United States Securities and

Exchange v. Chad C. McGinnis, et al., Civil Action No. 5:14-CV-6 in the United States

District Court of Vermont. A copy of my Curriculum Vitae is attached as Attachment

1 to this report.

                                           II.

                                  SCOPE OF REPORT
       11.     I have been retained as a cyber-security expert in the above-captioned

case by counsel on behalf of the plaintiff, Farhad Azima (“Azima”).

                    EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                            3

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 3 of 155
          12.   I was retained to opine on two issues: (1) when many gigabytes of
Azima’s data became available online to the public to access and review and (2)

whether certain documents identified by Azima as his trade secrets are contained

within three distinct data sets of Azima’s stolen data that was downloaded or
disseminated at various points in time. The data I analyzed to respond to the second

issue included: (1) data that was posted online on the WeTransfer website that I

downloaded from that website in 2018 (“2018 WeTransfer Download”), (2) data the

Defendants produced to Azima in this litigation (“Defendants’ Data”), and (3) data the

FBI produced to Azima in this litigation (“FBI’s Data”) (collectively, “Third-Party

Data”).
          13.   In forming the opinions described in this Report, I considered documents

and other materials, which are listed in Attachment 2.

          14.   I reserve the right to supplement or amend my opinions in light of

additional evidence, testimony, or information that may be provided to me after the

date of this report. I also reserve the right to supplement or amend my opinions in

response to any further expert reports. I expect that I may be called as a witness. If

that occurs, I may produce or assist in producing exhibits for trial based on the

documentation attached to or described in this report, its exhibits, or any supplemental

reports or exhibits.

          15.   NAXO is being paid $700 per hour for my work in this matter. My

compensation is not contingent on the outcome or resolution of this or any other legal

matter.




                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                            4

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 4 of 155
                                            III.
                           SUMMARY OF CONCLUSIONS

       16.      In December 2016, I examined two websites containing content related

to Azima:       https://farhadazimascams.blogspot.nl     (the   “Blogspot      Site”)   and
https://exposedfarhadazima.wordpress.com (the “WordPress Site”). At that time, the

websites did not contain any links to Azima’s data hosted on the WeTransfer file

sharing site (“WeTransfer”). In July 2018, I examined the two websites again and

located links to Azima’s data hosted on WeTransfer.

       17.      The vast majority of the 38 trade secrets that Azima has identified (133

files in total) are contained in the Third-Party Data I was asked to review:
             a. Within the Defendants’ Data, I found either forensic matches or

                documents that closely match 28 of the 38 trade secrets identified by

                Azima. Of the 10 remaining trade secrets, six are related to Azima’s

                contact lists. Versions of Azima’s contact lists are included in the

                Defendants’ Data in a different format. For another two trade secrets, I

                was able to find documents that were different versions but were similar

                in structure and format to the trade secrets identified by Azima.

             b. Within the 2018 WeTransfer Download I found either forensic matches

                or documents that closely match 28 of the 38 trade secrets identified by

                Azima. Of the 10 remaining trade secrets, six are related to Azima’s

                contact list. For another two trade secrets, I was able to find documents

                that were different versions but were similar in structure and format to
                the documents identified by Azima.



                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                             5

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 5 of 155
             c. Within the FBI’s Data, I found either forensic matches or documents that
                closely match 28 of the 38 trade secrets identified by. Of the 10

                remaining trade secrets, six are related to Azima’s contact lists. Versions

                of Azima’s contact lists are included in the FBI’s Data in a different
                format. For another two trade secrets, I was able to find documents that

                were different versions but were similar in structure and format to the

                documents identified by Azima.

                                            IV.

                                       INTRODUCTION

A.     The Anti-Azima Websites
       18.      In August 2016, two websites were created disparaging Azima, one on

the website Blogspot and one on the website WordPress. These websites included

labels such as “farhad azima exposed,” “farhad azima kansas,” and “farhad azima usa.”

       19.      I examined the WordPress Site and Blogspot Site in December 2016. At

that time, neither the Blogspot Site nor the WordPress Site included any links to

WeTransfer.

       20.      I next examined the sites in July 2018, immediately after Azima learned

that the sites had been modified to include WeTransfer links that were not part of the

sites in 2016. I preserved those sites, which are included with this report.

       21.      In July 2018, the Blogspot and WordPress websites contained new

“Download” links, which led directly to WeTransfer websites that contained Azima’s

data, as described in more detail below.




                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                             6

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 6 of 155
B.       WeTransfer
         22.    WeTransfer is an internet file transfer service that allows users to share

files with other users. WeTransfer describes itself as “the simplest way to send big

files.”1 WeTransfer is widely used and includes both paid and free of charge options
to the user.

         23.    WeTransfer is a private and secure means of storing and transmitting

large quantities of data. Sending large quantities of data via email attachment is often

difficult due to user restrictions on the size of emails that can be sent or received.

WeTransfer provides an alternative way to send such data securely. Data sent via

WeTransfer is secure and private, accessible only to the sender and recipient of the
WeTransfer link. Third parties can only access data on WeTransfer if a party hosting

data on the platform provides an access link.

         24.    WeTransfer users that want to share files (“Sharing Users”) first upload

their files to WeTransfer servers. The Sharing User creates and shares a Uniform

Resource Locator (“URL”) link when they want to allow recipients to download the

files that they have saved on the WeTransfer platform.

         25.    Data that is uploaded to WeTransfer remains secure and private and is

not available to the public. Data only becomes available to others when the Sharing

User sends links to the data to others or the link is published online.

         26.    WeTransfer takes precautions to ensure that data placed on its servers is

not detectable by an internet search.




1
    WeTransfer. “Hey there, big file mover.” https://wetransfer.com/explore
                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                             7

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 7 of 155
C.     Third-Party Data
       27.    I reviewed and conducted searches across three sets of Third-Party Data

to determine whether Azima’s identified trade secrets were present in the 2018

WeTransfer Download, Defendants’ Data, and the FBI’s Data.
       28.    The first set of data I reviewed is the 2018 WeTransfer Download, which

I downloaded and preserved on July 13, 2018.

       29.    I also reviewed a data set that the Defendants produced to Azima on or

around August 2023. Along with this data set, I reviewed a Transmittal Letter from

Defendants’ counsel dated August 8, 2023. This data is referred to as the Defendant’s

Data in this report.
       30.    Finally, I reviewed a data set that the FBI produced to Azima in this

litigation. I also reviewed an FBI FD-1057 dated February 3, 2017, which indicates

the data set was given to the FBI on January 23, 2017. This data is referred to as FBI’s

Data in this report.

                                          IV.

                                     ANALYSIS

A.     In December 2016, there were no links to WeTransfer posted on the

Blogspot Site or WordPress Site

       31.    The Blogspot Site and the WordPress Site appear to have been created in

August 2016. I examined these websites in December 2016. These websites included

labels such as “farhad azima exposed,” “farhad azima kansas,” and “farhad azima usa.”

As of December 2016, neither the Blogspot Site nor the WordPress Site included any
links to WeTransfer.



                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           8

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 8 of 155
B.     In July 2018, the Blogspot Site and WordPress Site both contained new
links to WeTransfer sites that housed Azima’s data

       32.      On or about July 10, 2018, Azima’s counsel notified me that they had

learned from opposing counsel in litigation in the United Kingdom that Azima’s data
was available online.

       33.      On July 13, 2018, I examined the websites and determined that certain

posts had been modified to include new links to Azima’s data. I preserved the posts

that had been modified, specifically:

             a. https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-

                aviation-leasing.html (“Blogspot Post 1”),
             b. https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-

                associate-ray.html (“Blogspot Post 2”), and

             c. https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-

                farhad-azima-scammer/” (“WordPress Post”)

       34.      Blogspot.com is a domain that is used to access Google hosted blogs on

its content management system Blogger. Blogs are websites that users can create with

their own content. In other words, blogspot.com allows users to publish web content

without owning or hosting their own website.

       35.      A blog posted through Blogger on blogspot.com has a URL that directs

users to the content. A blog post that has a permanent address has a permalink URL.

“When you create a post in Blogger, the generated permalink has a specific format that

includes the publication date.”2

2
 GuideBlogging. “How to Remove or Hide Data from Blogger Post URL in 2024?
(Steps by Steps Guide).” https://guideblogging.com/remove-date-from-blogger-post-
url
                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                            9

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 9 of 155
       36.    On July 13, 2018, I examined Blogspot Post 1 and Blogspot Post 2 with
a standard internet browser, Mozilla Firefox. I saved Blogspot Post 1 to portable

document format (“pdf”) and attached to this report as Attachment 3. I saved Blogspot

Post 2 to pdf and attached to this report as Attachment 4.
       37.    Mozilla Firefox “Page Info window gives [the] technical details about

the page”3 the browser is currently displaying. “The General panel includes basic

information about the page such as its title, address, and content type, as well as more

technical data from the page source” such as “Modified: Displays the date and time

the page was last changed.”

       38.    Using Mozilla Firefox Page Info, I saved the Page Info for both
Blogspot Post 1 (Attachment 5) and Blogspot Post 2 (Attachment 6).

       39.    Mozilla Firefox allows users to View Source, “look at the HTML or

XML source for the page”4 that is currently being viewed with the browser.

       40.    Using Mozilla Firefox View Source, I saved the Page Source for both

Blogspot Post 1 (Attachment 7) and Blogspot Post 2 (Attachment 8).

       Blogspot Post 1

       41.    The URL for Blogspot Post 1,

https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-

leasing.html, contains the publication date “2016/08.”




3
 Mozilla. “Firefox Page Info Window.” https://support.mozilla.org/en-US/kb/firefox-
page-info-window.
4
 Mozilla. “View Source.” https://firefox-source-docs.mozilla.org/devtools-
user/view_source/index.html.
               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                          10

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 10 of 155
       42.    Blogspot Post 1 lists that it was “Posted by crimeboard” from the
“Location: Dubai – United Arab Emirates.”

       43.    As seen in Attachment 3, at the top of the blog, the listed date is

“Sunday, August 7, 2016.” This date matches the URL publication date. This
suggests that the blog post was first created on August 7, 2016. It does not provide

information about the content included in the post on that creation date or any

subsequent modification.

       44.    Blogspot Post 1 also contains a comment by user “Anonymous” that

was added to this blog post on “September 23, 2016 at 3:50 AM.” This comment

was the URL “http://farahdazimascams.blogspot.de/2016/08/fraud-between-farhad-
azima-and-jay.html.” The top-level domain (“TLD”)5 for this link is “.de,” which is

the TLD for Germany.

       45.    The Page Info for Blogspot Post 1, as seen in Attachment 5, indicates

that this page was “Modified” on “Tuesday, June 12, 2018, 3:36:28 AM.” This

suggests that the blog was modified on June 12, 2018, but it does not provide

information about what was modified.

       46.    The page source data for Blogspot Post 1, as seen in Attachment 7,

contains the HTML code:

              <a class='timestamp-link'

              href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-

              ceo-of-aviation-leasing.html' rel='bookmark' title='permanent


5
  A top-level domain is the highest level in the Domain Name System for the Internet,
the root zone for the name space. Other examples of top-level domains include .com,
.edu, and .gov.

               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           11

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 11 of 155
               link'><abbr class='published' itemprop='datePublished' title='2016-08-
               07T22:47:00-07:00'>10:47 PM</abbr></a>

      47.      On a sidebar of Blogspot Post 1 there are four URL links and titles to

blogs posted under the URL “https:// farhadazimascams.blogspot.com/2016/08/”,
which can also be found in page source data Blogspot Post 1:

            a. https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-

               aviation-leasing.html (Blogspot Post 1)

            b. https://farhadazimascams.blogspot.com/2016/08/farhad-azima-caught-

               up-in-fund-raising.html, titled “Farhad Azima caught up in Fund

               Raising Scandal”
               https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-

               associate-ray.html (Blogspot Post 2)

            c. https://farhadazimascams.blogspot.com/2016/08/fraud-between-farhad-

               azima-and-jay.html, titled “Fraud between Farhad Azima and Jay

               Solomon”

These links are posted under the headings “2016” and “August.”

      48.      In the body of Blogspot Post 1 there is a URL link titled “Download”

with the link pointing at “https://we.tl/G2v9igEB4i.” This URL link is in both

Attachment 3 and Attachment 7. This URL link directs to WeTransfer. In general,

the URL “we.tl” redirects to WeTransfer.

      49.      The WeTransfer links, which were not present in the December 2016

examination of blog posts referencing Azima, were present in the July 2018
examination of Blogspot Post 1.



                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           12

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 12 of 155
      Blogspot Post 2
      50.    The URL for Blogspot Post 2,

https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-

ray.html, contains the publication date “2016/08.”
      51.    As seen in Attachment 4, at the top of the blog, the listed date is

“Thursday, August 11, 2016.” This date matches the URL publication date. This

suggests that the blog was first created on August 11, 2016. It does not provide

information about the content included in the post on that creation data or any

subsequent modifications.

      52.    The Page Info for Blogspot Post 2, as seen in Attachment 6, indicates
that this page was “Modified” on “Tuesday, June 12, 2018, 3:36:28 AM.” This

suggests that the blog was modified on June 12, 2018, but it does not provide

information about what was modified.

      53.    The page source data for Blogspot Post 2, as seen in Attachment 8,

contains the HTML code:

             <a class='timestamp-link'

             href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-

             and-his-associate-ray.html' rel='bookmark' title='permanent link'><abbr

             class='published' itemprop='datePublished' title='2016-08-

             11T23:30:00-07:00'>11:30 PM</abbr></a>

The sidebar of Blogspot Post 2 contains the same four URL links in the sidebar of

Blogspot Post 1.
      54.    The body of Blogspot Post 2 contains two URL links. The first title and

same URL link is “http://1337x.to/torrent/1696317/FARHAD-AZIMA-OF-THE-

               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                         13

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 13 of 155
AVIATION-LEASING-GROUPEXPOSED/.”                  The second URL link is titled
“Download” with the link pointing at “https://we.tl/G2v9igEB4i.” These URL links

are in both Attachment 4 and Attachment 8. The “Download” link is the same link

found in Blogspot Post 1.
       55.    I identified WeTransfer links to Azima’s data on Blogspot Post 2 in July

2018. Those links were not present when I examined that site in December 2016.

       WordPress Post

       56.    On July 13, 2018, I examined WordPress Post with a standard internet

browser, Mozilla Firefox. I saved WordPress to pdf and attached it to this report as

Attachment 9.
       57.    Using Mozilla Firefox View Source, I saved the Page Source for

WordPress Post and attached it to this report as Attachment 10.

       58.    A blog posted through wordpress.com may include dates within the

URL. “By default, [wordpress.com] doesn’t include dates in its URLS…If your URLs

contain dates, it’s because someone selected that option.”6

       59.    The URL for WordPress Post,

https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-azima-

scammer/, contains the publication date “2016/08/08.”

       60.    The dates “August 8, 2016” and “January 28, 2017” appeared near the

top of WordPress Post, as seen in Attachment 9.




6
 WP Engine. “Why There Are Dates in WordPress URLs.”
https://wpengine.com/resources/how-to-remove-the-date-from-a-wordpress-url/


                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                          14

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 14 of 155
       61.     The page source data for the WordPress Post, as seen in Attachment 10,
for these dates contains the HTML code:

               <time class="entry-date published" datetime="2016-08-

               08T11:01:04+00:00">August 8, 2016</time><time class="updated"
               datetime="2017-01-28T00:28:46+00:00">January 28, 2017</time>

       62.     The page source data for WordPress Post also contains the HTML code:

               <meta property="article:published_time" content="2016-08-

               08T11:01:04+00:00" />

               <meta property="article:modified_time" content="2017-01-

               27T20:28:46+00:00" />
       63.     The Page Info, as seen in Attachment 11, has “article:published_time”

set to “2016-08-08T11:01:04+00:00.” This suggests that the blog post was first

created on August 8, 2016. It does not provide information about the content

included in the post on that creation date.

       64.     WordPress Post contains eight URL links and titles to blog posts:

             a. Titled "farhad azima" with the URL

               "https://exposedfarhadazima.wordpress.com/category/farhad-azima/"

             b. Titled "farhad azima exposed" with the URL

               "https://exposedfarhadazima.wordpress.com/category/farhad-azima-

               exposed/"

             c. Titled "farhad azima fraud" with the URL

               "https://exposedfarhadazima.wordpress.com/category/farhad-azima-
               fraud/"



                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                              15

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 15 of 155
            d. Titled "farhad azima Iranian Born charter" with the URL
              "https://exposedfarhadazima.wordpress.com/category/farhad-azima-

              iranian-born-charter/"

            e. Titled "farhad azima kansas" with the URL
              "https://exposedfarhadazima.wordpress.com/category/farhad-azima-

              kansas/"

            f. Titled "farhad azima scam" with the URL

              "https://exposedfarhadazima.wordpress.com/category/farhad-azima-

              fraud/farhad-azima-scam/"

            g. Titled "farhad azima usa" with the URL
              "https://exposedfarhadazima.wordpress.com/category/farhad-azima-

              usa/"

            h. Titled "Ray Adams" with the URL

              "https://exposedfarhadazima.wordpress.com/category/ray-adams/"

      65.     WordPress     Post     contains   a   URL    link   titled   “Download

(https://we.tl/G2v9igEB4i)” with the link pointing at “https://we.tl/G2v9igEB4i,” the

same URL found in Blogspot Post 1 and Blogspot Post 2.

      66.     I identified WeTransfer links to Azima’s data on the WordPress Post in

July 2018. Those links were not present when I examined that site in December 2016.

      WeTransfer Links

      67.     On July 13, 2018, I examined the WeTransfer link found in Blogspot 1,

Blogspot 2, and WordPress, “https://we.tl/G2v9igEB4i,” with a standard internet
browser, Mozilla Firefox.          This URL redirected to the WeTransfer URL

https://wetransfer.com/downloads/e5cc80815dd9b6720eb3ee131a0e3bc12017012717

               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           16

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 16 of 155
2710/3b327c (“WeTransfer 1”). I saved WeTransfer 1 to pdf and attached to this report
as Attachment 12.

       68.      WeTransfer 1 contained the text file “FarhadExposed.txt” that lists ten

WeTransfer links:
             a. fazima@gmail.com.rar : https://we.tl/rjSE40WBdr

             b. HH@fathers.church.rar : https://we.tl/tfXwVwB3Gm

             c. farhad@farhadazima.com.rar : https://we.tl/Gka4MUy7zD

             d. farhadazima@yahoo.com.rar : https://we.tl/KL54ZDnqDR

             e. fa@alphaavia.com.rar : https://we.tl/t3ztasxtb4

             f. fa@fa1.us.rar : https://we.tl/CusUhgXFpb
             g. farhadusa@me.com.rar : https://we.tl/1NzVBRzP3F

             h. ray@jfjintl.com.rar : https://we.tl/L9hkgARQaH

             i. cfo@globalsubdive.com.rar : https://we.tl/vmYV2Lq6FF

             j. ray.adams@algkc.com.rar : https://we.tl/Nom1cpvP9f

       69.      On July 13, 2018, I examined each of the above WeTransfer links and

downloaded the content. These links contained the .rar files listed above. Sampling

these .rar files, the contents appear to relate to the email accounts included in the name

of the .rar files (i.e., fazima@gmail.com.rar appears to be a collection of received and

sent emails associated with the email account fazima@gmail.com). I downloaded this

data and provided it to Azima’s counsel in July 2018.

C.     The vast majority of Azima’s identified trade secrets are contained within

the Third-Party Data I reviewed.
       70.      I compared Azima’s 38 identified trade secrets against the Third-Party

Data by collecting the three data sets in a database and running searches. I compared

                 EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                            17

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 17 of 155
the “digital fingerprint” (a hash value of the content of a data file) for each file in
Azima’s identified trade secrets to the “digital fingerprint” of the files in the Third-

Party Data. After finding numerous forensic matches, I searched and compared the

remaining files by file types and search strings across data content to identify matching
files. These additional searches resulted in my identifying many more of Azima’s

identified trade secrets in the Third-Party Data.

       71.    An MD5 message-digest algorithm is a hash function that produces a

128-bit hash value, like a digital fingerprint for a file. Changing just one bit of data

within a file will cause that file to have a completely different MD5 hash value. If two

files have matching MD5 hash values, those files are a forensic match.
       72.    Even if two files do not have matching MD5 hash values, they may still

contain nearly the same content, but they would not be considered a forensic match.

       73.    The 2018 WeTransfer Download contained 278 files that match

documents within Azima’s identified trade secret files, including family members. The

278 matching files contain 187 files with a matching MD5 hash and 91 matching files

that are slight variations of the identified files, such as an email with a reply attached

or an email that was forwarded with the same attachment(s). The 2018 WeTransfer

Download contains either forensic matches or documents that closely match 28 of the

38 trade secrets identified by Azima. Attachment 13 is a listing of the Azima identified

trade secret files with found in the Third-Party Data.

       74.    The Defendants’ Data contains 256 files that match documents within

Azima’s identified trade secret files, including family members. The 256 matching
files contain 186 files with a matching MD5 hash and 70 matching files that are slight

variation of the identified files. The Defendants’ Data contains both forensic matches

                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           18

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 18 of 155
of documents and documents that closely match 28 of the 38 trade secrets identified
by Azima.

       75.    The FBI’s Data contains 280 files that match documents within Azima’s

identified trade secret files, including family members. The 280 matching files contain
187 files with a matching MD5 hash and 93 matching files that are slight variations of

the identified files. The FBI’s Data contains either forensic matches or documents that

closely match 28 of the 38 trade secrets identified by Azima.

       76.    There were 10 of the 38 identified trade secret families that I was not

able to find as full matches in any of the substantive files in the Third-Party Datasets:

TS01, TS02, TS04, TS20, TS21, TS26, TS27, TS28, TS29, and TS30.
       77.    Six of these documents (TS20, TS21, TS26, TS27, TS28, and TS29) are

different versions of a contact list. Two of the documents are .csv7 files collected from

Azima’s yahoo email accounts, as indicated by the Custodian and File Name in the

metadata. Four of the documents are .xlsx8 files of contacts extracted from Azima’s

iPad and iPhones, as indicated by the Custodian and File Path information contained

in the metadata. These formats are how I would expect a contact list collected directly

from a webmail account (.csv) or from a cell phone or table (.xlsx) to be saved when

extracted by specialized software. Though I did not find these .csv files and .xlsx files

in any of the Third-Party Datasets, there are collections of contact information

contained     in    the    Defendants’      Data     and    the     FBI’s     Data     at

7
 A comma-separated values (“CSV”) file is a text file that uses commas to separate
values in a list or table. These commas allow software, such as Microsoft’s Excel, to
place the values into individual cells.
8
 A Microsoft Excel Open XML Spreadsheet (“XLSX”) is a spreadsheet created by
Microsoft Excel.

               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           19

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 19 of 155
DEFS(MDNC20cv954)_0000276 through DEFS(MDNC20cv954)_0008108 and
FA_MDNC_ZUKAS_00960813                  through       FA_MDNC_ZUKAS_00968827,

respectively, the content of which overlaps with Azima’s identified trade secrets.9

These contacts are saved as thousands of individual vCards. This format is consistent
with how I would expect native contact records to be extracted and saved from a

webmail account, an iPad, and an iPhone.          Finally, while the 2018 WeTransfer

Download contains a small number of vCards, it did not include a collection of contact

information or vCards.

       78.    For two additional documents identified by Azima as trade secrets (TS01

and TS02), I was unable to locate identical documents in the Third-Party Data.
However, I was able to find similar financial forecasts that were different versions

produced in different years. For example, TS01 is a HeavyLift International Airlines

Seven-Year Financial Forecast, dated August 5, 2010. I was able to find a HeavyLift

International Airlines Seven-Year Financial Forecast, dated August 10, 2006.


                                           V.

                                  CONCLUSIONS

       79.    In July 2018, the Blogspot Site and WordPress Site both included

WeTransfer links that provided access to approximately 27 gigabytes of Azima’s data

through 10 .rar files. July 2018 was the first time I was able to access those documents.

When I previously examined the Blogspot Site and WordPress Site in December 2016,

the sites did not include any links to WeTransfer, and Azima’s data was not available.


9
 The FBI’s Data collection of contact information was extracted from Farhad Azima
contacts folder as indicated by the File Path in the metadata.

               EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           20

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 20 of 155
In July 2018, I downloaded and preserved the data that was available on the
WeTransfer links.

80.    I have reviewed Azima’s 38 identified trade secrets. I have compared those

identified trade secrets with documents in three sets of Third-Party Data: the 2018
WeTransfer Download, Defendants’ Data, and FBI’s Data. In the Third-Party Data, I

have found full matches (forensic and non-forensic) for 28 of the 38 documents

identified as trade secrets. Six of the 10 documents for which I did not find full matches

in the Third-Party Data are contact lists, and as explained above, those contact lists are

in the Defendants’ Data and FBI’s Data in a different format. For two additional

documents, I was able to locate similar forecasts but not full matches.
       I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.

       Executed this 24th day of May 2024 in Augusta County, Virginia.

Dated: May 24, 2024



                                           By: ________________________________

                                                  CHRISTOPHER TARBELL




                EXPERT REPORT OF CHRISTOPHER TARBELL, May 24, 2024

                                           21

Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 21 of 155
Christopher Tarbell                                                                              CURRICULUM VITAE




                          Christopher Tarbell




                      ctarbell@naxo.com |   45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 22 of 155
           Attachment 1




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 23 of 155
Christopher Tarbell                                                                                      CURRICULUM VITAE

                                          Christopher Tarbell
                                          PARTNER & CO-FOUNDER
                                          NAXO LABS

                                          45 Rockefeller Plaza, Suite 1964, New York, NY 10111
                                          ctarbell@naxo.com | www.naxo.com




     A former FBI Special Agent, Chris Tarbell specializes in cyber investigations and incident response. As a case agent
     with the FBI’s preeminent cybercrime squad in New York, he led some of the most groundbreaking cybercrime
     investigations in the world - including the arrest and prosecutions of Anonymous and LulzSec leadership, and the
     founder of the notorious Silk Road underground marketplace, the latter of which resulted in the largest seizure of
     bitcoins to date.

     As a computer forensic examiner with the FBI, Chris engaged in rapid-response investigations all over the world on
     matters related to terrorism, botnets, and other cybercrimes. In 2009, Chris joined the FBI’s renowned cybercrime
     squad as a Special Agent in the New York field office. He was the lead investigator on several of the Bureau’s most
     complex and cutting-edge cases, including the takedown of the billion-dollar, cryptocurrency-based drug
     marketplace “Silk Road” and the arrest of its founder, and the investigation and arrest of the leadership of the
     Anonymous/LulzSec hacking crews.

     Prior to co-founding NAXO, Chris developed and led the Cyber Operations & Incident Response practice for a large
     consulting firm. He has extensive experience helping businesses, high-profile individuals, and governments
     respond to a broad range of complex computer and network security threats. He is also regularly called on to
     advise foreign and domestic law enforcement officers on investigative techniques, and frequently lectures to
     business and government groups, including EUROPOL, on cyber threats and the means to address them.

     Chris holds an MS in Computer Science from James Madison University with a concentration on Information
     Security. He has been certified by both the FBI and the International Association of Computer Investigative
     Specialists (IACIS) as a Certified Forensic Computer Examiner (CFCE). He has also been certified by the FBI as a
     subject-matter expert on cellphones and other mobile computing devices, and the Windows and Unix/Linux
     operating systems. Chris has been qualified in federal court as an expert witness in computer forensics, providing
     expert testimony in multiple federal criminal trials.

      EDUCATION                                           CERTIFICATIONS
      M.S., COMPUTER SCIENCE                              AccessData Certified Examiner
      James Madison University, 2004
                                                          Certified Forensic Computer Examiner -
      B.S., HEALTH SCIENCE                                International Association of Computer
      James Madison University, 2000                      Investigative Specialist

                                                          EnCE Certified Examiner

                                                          FBI Computer Analysis Response Team Forensic
                                                          Examiner - Wintel, Linux, and Mobile Devices




                       ctarbell@naxo.com |    45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 24 of 155
Christopher Tarbell                                                                                        CURRICULUM VITAE




     PRIOR EXPERIENCE

     BERKELEY RESEARCH GROUP                                                                       New York, NY
     Director, Cyber Operations & Incident Response
     December 2015 – June 2022

         •   Co-created and developed BRG's Cyber Operations & Incident Response practice focused on responding
             to cyber security incidents for clients including financial institutions, cryptocurrency hedge funds and
             custodians, and private individuals.
         •   Conducted network security assessments and provided expert advice regarding cybersecurity best
             practices.
         •   Led investigations related to cyber intrusions, insider threats, ransomware, and other criminal activity;
             provided computer forensic examinations and expert testimony connected to these matters.

     FTI CONSULTING                                                                                New York, NY
     Managing Director, Cyber Security & Investigations
     March 2014 – December 2015

         •   Led computer and network forensic investigations for a wide range of clients, including large
             multinational corporations, financial institutions, and the U.S. Government.
         •   Performed forensic evidence collection and analysis in response to breaches of client systems and
             networks by external threats or theft of proprietary information by corporate insiders.
         •   Conducted vulnerability assessments, including proactive penetration testing and cybersecurity policy
             review.

     FEDERAL BUREAU OF INVESTIGATION                                                               New York, NY
     Special Agent, Cyber Division
     March 2009 – March 2014

         •   Assigned to a criminal computer intrusion squad, conducted investigations of national and international
             cyber intrusions, hactivism, and computer criminals.
         •   Created and maintained effective liaison relationships, developed and managed confidential human
             sources, and collaborated with the United States Attorney's Office on prosecutions.
         •   Conducted physical and electronic surveillance, collected evidence, monitored online activities, and
             gathered and analyzed data.
         •   Coordinated law enforcement raids, searches, seizures, and arrests.

     FEDERAL BUREAU OF INVESTIGATION                                                              Quantico, VA
     Computer Forensic Examiner
     May 2005 – March 2009

         •   Certified computer forensic examiner with the FBI's Computer Analysis Response Team (CART) to provide
             expert testimony and support to FBI criminal and national security investigations.
         •   Examined physical evidence under a documented quality assurance program, in an ASCLD/ISO certified
             laboratory, that included annual proficiency testing, technical/peer and administrative reviews, and
             adherence to standard operating procedures.
         •   Conducted forensic examination on computer evidence, carried out research and development activities,
             performed search and seizure operations, and provided Instructional training to new field examiners.



                      ctarbell@naxo.com |    45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 25 of 155
Christopher Tarbell                                                                                          CURRICULUM VITAE




     STAUNTON POLICE DEPARTMENT                                                                     Staunton, VA
     Police Officer
     February 2003 - April 2005

         •   Served as a sworn officer to uphold the laws of the Commonwealth of Virginia and the city code of
             Staunton, VA.
         •   Conducted criminal investigations and provided criminal court testimony.

     JAMES MADISON UNIVERSITY                                                                       Harrisonburg, VA
     System Administrator / Program Support
     January 2000 - April 2005

         •   Provided IT support for the JMU Police Department, evaluated and advised all computer needs and
             purchases, computer networking, computer/data security, webmaster and site designer, and database
             management.
         •   Assist JMU Police Department Investigations Unit with deployment and collection of technical assets and
             the recovery of electronic evidence.

     EXPERT TESTIMONY

         •   Securities and Exchange Commission v. Chad C. McGinnis, et al.; United States District Court of Vermont;
             Civil Action No. 5:14-CV-6. Three expert reports, two depositions, and expert analysis of plaintiff’s trial
             exhibits and expert testimony. Analysis identified two fabrications in the plaintiff’s expert testimony.

         •   A. Doe, et al., v. Sutherland Healthcare Solutions Inc., et al.; Superior Court of the State of California for
             the County of Los Angeles; Case No. BC539436. Expert report and deposition in relation to data theft
             litigation. Included on-site collection and analysis of computer forensic evidence and physical evidence.

         •   United States of America v. Berger, et al., Senior District Judge L.A. Collier, United States District Court
             Northern District of Florida, Case No. 08-CR-00022 (LC/EMT). Criminal child pornography litigation.
             Conducted full forensic examination of computer evidence, produced an expert report, and testified in
             court.

     INSTRUCTOR / PROCTOR

         •   FBI CART Basic Wintel Certification Training, Internet Processing – Practicals, Justice Training Center in
             Stafford, VA

         •   FBI CART Basic Wintel Certification Training, Internet Processing – Practicals, Justice Training Center in
             Stafford, VA

         •   FBI CART Moot Court, Phoenix, AZ

         •   FBI CART Forensic Examiner Coach for a CART Forensic Examiner in Training

         •   FBI CART Moot Court, Nashville, TN

         •   FBI CART Basic Wintel Certification Training – Practicals, Justice Training Center in Fredericksburg, VA



                      ctarbell@naxo.com |      45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 26 of 155
Christopher Tarbell                                                                                        CURRICULUM VITAE


     REPRESENTATIVE MATTERS

     COMPLEX INVESTIGATIONS

     Digital forensics, insider threats, and litigation support

         •    Provide technical and investigative support to a US federal law enforcement agency in connection with
              darknet-related criminal investigations. Assistance includes deployment and configuration of specialized
              hardware as well as training and consulting services.

         •    Retained as an expert on behalf of plaintiffs in a class action lawsuit against a healthcare services
              company to conduct an independent investigation of a data security breach. Collected and forensically
              analyzed computer and physical evidence and compiled an expert report.

         •    Retained to investigate a ransomware attack on a healthcare services company. Analyzed millions of files
              seeking to determine whether protected health information (PHI) may have been stolen in connection
              with the breach.

         •    Retained as a computer forensic expert by a US regulatory agency to examine, analyze, and potentially
              testify to digital artifacts related to a civil action in federal court.

         •    Investigated a data breach at a foreign educational institution in which the threat actor leaked
              confidential documents to local newspapers. Traveled on-site to analyze forensic evidence and conduct
              interviews in order to determine the source of the leak.

         •    Retained by a global industrial power tools manufacturer in response to claims that an employee group
              had deployed unauthorized network infrastructure at an off-site location. Interviewed company
              employees and assisted with technical reconnaissance of the location, which identified unauthorized
              wireless networks on company property.

         •    Engaged by legal counsel to locate highly sensitive data that was being concealed. Identified the location
              of the data through multiple interviews and technical investigation. Once located, carried out a
              Congressional subpoena to ensure the data was forensically preserved, documented, and collected.

         •    Investigated a data theft incident involving an international media company. Successfully identified the
              perpetrator and their methodology; provided the client with recommendations to prevent further theft of
              data.

         •    Retained by an international electrical power transmission system operator to investigate an insider
              threat suspected to be a Nation-State actor exfiltrating highly sensitive data. The investigation revealed
              multiple insider threats and resulted in a federal law enforcement referral.

         •    Retained by a Fortune 500 company that was concerned about the safety of its highly sensitive
              intellectual property. Identified an employee who was actively stealing thousands of documents and
              facilitated a law enforcement referral that resulted in a national security investigation and an arrest.

         •    Engaged by counsel on behalf of a large accounting firm to investigate a possible insider threat. Collected,
              documented, preserved, and examined digital evidence and created a detailed timeline of suspicious
              activities. Presented findings to the firm's board of directors which resulted in the individual’s
              termination.




                        ctarbell@naxo.com |     45 Rockefeller Plaza Suite 1964 New York, NY 10111




         Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 27 of 155
Christopher Tarbell                                                                                     CURRICULUM VITAE


         •   Retained through counsel by an individual who was accused of insider trading by the SEC. Provided
             forensic analysis, expert opinions, and sworn testimony that identified flaws in key evidence presented by
             the prosecution. My work resulted in a victory for the defendant.

         •   Investigated threatening emails sent to employees of a leading pediatric nutrition company. Identified an
             insider threat by analyzing tens of thousands of emails, reviewing log files, and conducting employee
             interviews.

         •   Retained as an investigative expert by a website that provides community-based classified ads in
             connection with a web scraping allegation against a competitor in civil court. Conducted interviews with
             the company's employees and analyzed web server logs to approximate the extent of the web scraping
             and assess its impact on the website’s IT infrastructure.

     CYBER SECURITY

     Incident response and network assessments

         •   Provided periodic cyber security assessments for a billion-dollar travel company. Conducted in-person
             interviews with key personnel to assess compliance with data security policy, evaluated physical security
             of cyber assets, summarized findings as part of a comprehensive report, and provided prioritized
             recommended security improvements. Presented our team's findings to the company's board of directors
             and subsequently provided ongoing strategic cybersecurity guidance to C-suite executives.

         •   In the aftermath of a serious security incident, performed a cyber risk assessment for a Fortune 500
             healthcare company to evaluate compliance with the New York State Department of Financial Services
             (NYDFS) Cybersecurity Requirements for Financial Services Companies. Conducted in-person interviews
             with key staff, compiled detailed findings and recommendations into a comprehensive report, and
             provided ongoing support for the firm's IT team as it implemented our recommendations.

         •   Responded to a cyber-attack on a global law firm. Conducted technical analysis of network log files, which
             helped reveal that the threat actor was an adverse party to an ongoing criminal matter being handled by
             the firm. Following our investigation, helped facilitate a federal law enforcement referral conducted a
             network security, and helped remediate gaps in the firm's cyber security posture.

         •   Retained by a U.S. company to investigate and examine business email and data storage access by
             employees, former employees, and outside entities.

         •   Responded to an attack on a New York-based theater's website that resulted in malicious content being
             embedded on a certain web page. Analyzed web access logs as well as open-source intelligence sources
             related to the malicious content to establish whether the attacker was likely an insider. Provided detailed
             recommendations for improvements to the theater's cyber security posture.

         •   Retained by an individual who was targeted by a foreign country and fell victim to multiple State-
             Sponsored cyber intrusions. Investigated and provided evidence detailing the specific accounts that had
             been compromised.

         •   Retained by a Colorado-based car dealership to conduct technical penetration testing and vulnerability
             assessments of its IT infrastructure, which included wireless access points installed throughout the
             company's campus. Identified numerous vulnerabilities and a provided prioritized list of recommended
             remediations.



                      ctarbell@naxo.com |    45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 28 of 155
Christopher Tarbell                                                                                   CURRICULUM VITAE


        •   Performed an independent network security assessment and penetration test for a New York-based
            consulting firm. Provided a report that included prioritized recommendations and assisted in
            implementing fixes of critical vulnerabilities.

        •   As a special agent in the FBI, conducted numerous criminal investigations into cyber attacks on US entities
            in a range of industries, including healthcare, finance, travel, entertainment, technology, media, and
            government.

     PROFESSIONAL APPEARANCES AND KEYNOTE ADDRESSES

        •   ABA: Data Privacy Committee Meeting
        •   Coalition Against Insurance Fraud 2023 Annual Meeting
        •   Big Business of Cybersecurity Summit Presented by Arctic Wolf
        •   Torus Technologies Annual Eastern Iowa Security Conference
        •   Presidio Fireside Chat with Chris Tarbell 2023
        •   Splunk GovSummit 2022
        •   Amazon Web Services re:Invent 2022
        •   GIFS 2022 Global Insurance Fraud Summit
        •   Pure Storage's FBI and Black Hat Insights - How to Identify and Combat Threats
        •   Kulicke & Soffa Industries Inc. 2022 Fall Event
        •   Veeam Fireside Chat with Chris Tarbell
        •   First Republic Bank Quarterly Speaker Series Webinar
        •   Constitution Capital Partners Annual Meeting
        •   OptivCon 2022
        •   2022 Truckload Carriers Association Annual Convention
        •   2021 Zurich Producer Summit
        •   Palo Alto Networks Fireside Chat
        •   2021 Dell Technologies Multi-Customer K12 Briefing
        •   Humana 11th Annual Cyber Security Awareness Week
        •   Optiv 2020 Cyber Security
        •   Verkada's Fortify 2020
        •   Cyber Supply Chain and Cybersecurity Maturity Model Certification (CMMC): Concerns, Considerations,
            and Practical Solutions
        •   2019 Optiv Cybersecurity Conference
        •   2019 ACHRI Leadership Forum
        •   Altice's 2019 New York City Customer Event
        •   Humana's 10th Annual Cyber Security Awareness Week
        •   2019 National Association of Mutual Insurance Companies Conference
        •   Steel Partners Holdings' 2019 IT Summit
        •   Ingram Micro's 2019 SMB Unplugged
        •   Micro Focus Security Risk and Governance Forum in Vienna, Austria
        •   2019 Reimagine Holdings Group Summit
        •   LookingGlass Cyber Solutions' 2018 Customer Summit
        •   Darling Ingredients' Director & Senior Management Training Day
        •   National Electrical Contractors Association's 2018 Annual Meeting
        •   Micro Focus' 2018 Cyber Security Meeting
        •   SE2 Partnership Forum
        •   Members Development Company's Owner Meeting
        •   Plus One Strategic Communications' 2017 Executive Summit
        •   2017 CyberCrime Symposium, hosted by Sage Data Security
        •   Illinois League of Financial Institutions / Ohio Bankers League 2017 Joint Annual Conference

                      ctarbell@naxo.com |   45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 29 of 155
Christopher Tarbell                                                                                  CURRICULUM VITAE


        •   Georgia Alliance of Community Hospitals' 2017 Annual Conference
        •   Worldwide Employee Relocation Council's 2017 Global Workforce Symposium
        •   Transformation Through Innovation by Daly Computers
        •   Visiant Health Solutions 2017 Annual Client Conference
        •   National Association of Attorneys General Investigating Cybercrime and the Deepweb
        •   Advantest America 2017 Cybersecurity Event
        •   NIC 2017 Partner Conference
        •   Proofpoint's CISO-VP Meeting
        •   Choice Hotel International Services Corp's CHIEF 2016
        •   Self Storage Association Fall Conference and Trade Show 2016
        •   CoBank 2016 Communications Forum
        •   Symantec's HostingCon 2016 "The Global Event"
        •   CyberArk Impact 2016
        •   Global Healthcare Exchange 2016 Supply Chain Summit
        •   American Institute of Certified Public Accountants 2016 Spring Council
        •   National Council on Compensation Insurance Holdings 2016 Summit
        •   Mechanical Contractors Association of America's 2016 Annual Convention
        •   Young Presidents' Organization of California CEO Cyber Security Event
        •   Check Point CyberDay 2015
        •   Assurance Conference, hosted by Baker Tilly
        •   Segal Rogerscasey's 21st Annual Client Research & Educational Summit
        •   National Association of Realtors' 2015 REALTOR Broker Summit
        •   F5 Agility Conference 2015

     MEDIA REFERENCES

        •   “The Silk Road Bust | FBI,” True Spies Podcast. January 29, 2024
        •   “Minneapolis Public Schools: Hacked data released on dark web,” KSTP Eyewitness News. March 17, 2023
        •   "#340 - Chris Tarbell: FBI Agent Who Took Down Silk Road," Lex Fridman Podcast. November 22, 2022
        •   "#1120 Chris Tarbell | Former FBI Agent On Early Bitcoin & Silk Road Takedown," The Pomp Podcast.
            November 14, 2022
        •   "Silk Road sleuths launch Naxo, a firm dedicated to the cutting edge of crypto tracking," Fortune. October
            22, 2022
        •   "FBI Agents Who Shut Down Silk Road Are Helping Agencies Like ICE And The DOJ Trace Crypto," Forbes.
            October 20, 2022
        •   "DeFi Exchange Mango's $114M Exploit Was 'Market Manipulation,' Not a Hack, Ex-FBI Special Agent
            Says," Coindesk. October 20, 2022
        •   "Financial Hacking Plagues DeFi In Latest Setback for Crypto," Bloomberg. October 20, 2022
        •   "Cybercriminals Are Opportunists: Former FBI Special Agent," Coindesk TV. October 20, 2022
        •   "The Crypto World Is on Edge After a String of Hacks," The New York Times. September 28, 2022
        •   "This is the jungle: Law enforcement slowly waking up to the threat of DeFi exploits,” Fortune. September
            12, 2022
        •   "A 22-year-old business major from wealthy Weston, Connecticut, is behind OlympusDAO, one of crypto's
            most notorious projects, according to a new lawsuit seeking $791 million," Business Insider. August 9,
            2022
        •   "Inside the Bitcoin Laundering Case That Confounded the Internet," New York Times. February 13, 2022
        •   "Cyber Security Experts Share Their Story at NECA 2018 Philadelphia," Electrical Contractor Magazine.
            October 1, 2018
        •   "Cyber Soldiers - Who protects your information," CBS New. August 22, 2017
        •   "Should hospitals pay up following a ransomware attack? The answer is far from simple," Health Tech.
            April 27, 2017

                      ctarbell@naxo.com |   45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 30 of 155
Christopher Tarbell                                                                                  CURRICULUM VITAE


        •   "Banking on Bitcoin," Christopher Cannucciari. January 26, 2017
        •   "Healthcare's paltry tech coffers put industry in hacker crosshairs," ZD Net. October 31, 2016
        •   "HostingCon 2016: The Silk Road Takedown, and Why Hosts Should Know their Local FBI Agent,"
            DataCenter Knowledge. July 27, 2016
        •   "Phreaks and Geeks," I Am Rebel (Discovery). June 28, 2016
        •   "Former FBI agent, CISO share tips for planning endpoint security to ward off hackers," Healthcare IT
            News. June 22, 2016
        •   "Preparing Against Current Healthcare Cybersecurity Threats," Health IT Security. June 16, 2016
        •   "Be vigilant about cybersecurity, warns former FBI agent," Journal of Accountancy. May 15, 2016
        •   "The Hacker," NBC Nightly News. May 10, 2016
        •   "Guccifer - The Man Who Hacked Washington," Dateline On Assignment. May 8, 2016
        •   "Fmr FBI Cyber Crimes Special Agent Says Guccifer’s Alleged Clinton Email Hack is ‘Plausible’," Law and
            Crime. May 5, 2016
        •   "The Rise & Fall of Silk Road" Part 2, Wired. May 15, 2015
        •   "The Rise & Fall of Silk Road" Part 1, Wired. April 15, 2015
        •   "Morgan Makes 'Cents' Out of Bitcoin," Morgan Spurlock Inside Man (CNN). February 19, 2015
        •   "Undercover Agent Reveals How He Helped the FBI Trap Silk Road's Ross Ulbricht, Wired. January 14,
            2015
        •   "The Dark Web," 60 Minutes Australia. September 15, 2014
        •   "Crossing Swords with Pirates in Cyberspace," Newsweek. October 11, 2013
        •   "How FBI caught Ross Ulbricht, alleged creator of criminal marketplace Silk Road," CNN. October 5, 2013
        •   "FBI's Christopher Tarbell - The Elliot Ness of Cyberspace who Busted Silk Road," International Business
            Times. October 3, 2013
        •   "Online drug marketplace Silk Road shut down by FBI," The Irish Times. October 3, 2013




                      ctarbell@naxo.com |   45 Rockefeller Plaza Suite 1964 New York, NY 10111




        Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 31 of 155
           Attachment 2




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 32 of 155
Attachment 2

In forming the opinions described in my Report, I considered the following documents
and other material:

   1. Archives of blogs that I collected on July 13, 2018. (FA_MDNC_01027286 to
      FA_MDNC_01027342)

   2. Archive of WeTransfer.com file shares I collected on July 13, 2018.
      (FA_MDNC_01196422 to FA_MDNC_01960223)

   3. Data the Defendants produced to Azima in this litigation.
      (DEFS(MDNC20cv954)_0000276 to DEFS(MDNC20cv954)_0763967)

   4. A Transmittal Letter dated August 8, 2023, for the data the Defendants produced.

   5. Data the FBI produced to Azima in this litigation.
      (FA_MDNC_ZUKAS_00000123 to FA_MDNC_ZUKAS_00972405)

   6. An FBI FD-1057 dated February 3, 2017, for the data the FBI produced.
      (FA_MDNC_ZUKAS_00000012 to FA_MDNC_ZUKAS_00000013)

   7. Publicly available websites referenced in my report.

   8. Data files and other materials identified in my report.




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 33 of 155
           Attachment 3




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 34 of 155
7/13/2018                                 Farhad Azima Exposed Again: Farhad Azima CEO of Aviation Leasing Group - Exposed Again

                                       More                                                                                        Create Blog   Sign In




   Farhad Azima Exposed Again
   Farhad Azima- An Iranian-born KC aviation figure with colorful past.



     Sunday, August 7, 2016                                                                                 About Me

                                                                                                               crimeboard
     Farhad Azima CEO of Aviation Leasing Group -
     Exposed Again                                                                                          View my complete profile

     Farhad Azima was born in 1941. Currently he lives in Kansas City. Farhad Azima is chairman for
     Aviation Leasing Group (ALG).                                                                          Farhad Azima

     Farhad Azima found in America’s major scandal, the Iran contra affairs and Panama papers. Farhad       ▼ 2016 (9)
     is Iranian Born and made a career of renting and leasing airplanes. An interesting twist came in his     ▼ August (4)
     career when he found in the panama papers scandal. “He had no idea about this. He had nothing
                                                                                                                 Farhad Azima CEO of
     to do with Panama, said- Farhad Azima.” He said that he was investigated by every known agency
                                                                                                                   Aviation Leasing Group
     in United States but they didn’t find anything wrong there finally they decided there was absolutely          - Expos...
     nothing there. It was just a wild goose chase.
                                                                                                                 Farhad Azima caught up
     But I don’t think it was just a wild goose chase because including Farhad Azima there are some other          in Fund Raising
                                                                                                                   Scandal
     personalities who have links to intelligence agencies also found in this scandal.
     This is his new scam in involvement with some big personality’s including his close associates like         Farhad Azima and his
     Ray Adams & Dr. Khater Massaad.                                                                               associate Ray Adams
                                                                                                                   data leak...
     Download                                                                                                    Fraud between Farhad
                                                                                                                   Azima and Jay Solomon

                                                                                                              ► September (5)


     Posted by crimeboard at 10:47 PM

     Labels: farhad azima exposed, farhad azima fraud, farhad azima kansas, farhad azima scam, farhad
     azima scammer, farhad azima usa
     Location: Dubai - United Arab Emirates



     1 comment:

              Anonymous September 23, 2016 at 3:50 AM

              https://farhadazimascams.blogspot.de/2016/08/fraud-between-farhad-azima-and-jay.html

              Reply




            Enter your comment...




                  Comment as:       Google Accoun



            Publish       Preview




     Links to this post
     Create a Link




https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-leasing.html                                                               1/2
                 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 35 of 155
7/13/2018                              Farhad Azima Exposed Again: Farhad Azima CEO of Aviation Leasing Group - Exposed Again


     Newer Post                                       Home


                                  Subscribe to: Post Comments (Atom)




                                                        Awesome Inc. theme. Powered by Blogger.




https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-leasing.html                                         2/2
                Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 36 of 155
           Attachment 4




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 37 of 155
7/13/2018                                     Farhad Azima Exposed Again: Farhad Azima and his associate Ray Adams data leaked

                                       More                                                                                      Create Blog   Sign In




   Farhad Azima Exposed Again
   Farhad Azima- An Iranian-born KC aviation figure with colorful past.



     Thursday, August 11, 2016                                                                             About Me

                                                                                                              crimeboard
     Farhad Azima and his associate Ray Adams data leaked
                                                                                                           View my complete profile
     Farhad Azima and his associate Ray Adams data leaked.

     Click the link and find the details here:
                                                                                                           Farhad Azima
     http://1337x.to/torrent/1696317/FARHAD-AZIMA-OF-THE-AVIATION-LEASING-GROUP-
                                                                                                           ▼ 2016 (9)
     EXPOSED/
                                                                                                              ▼ August (4)

     Download                                                                                                   Farhad Azima CEO of
                                                                                                                  Aviation Leasing Group
                                                                                                                  - Expos...
                                                                                                                Farhad Azima caught up
     Posted by crimeboard at 11:30 PM                                                                             in Fund Raising
     Labels: farhad azima exposed, farhad azima family, farhad azima fraud, farhad azima kansas, farhad           Scandal
     azima panama papers, farhad azima scam, farhad azima scammer, farhad azima usa                             Farhad Azima and his
                                                                                                                  associate Ray Adams
                                                                                                                  data leak...
     No comments:                                                                                               Fraud between Farhad
                                                                                                                  Azima and Jay Solomon
     Post a Comment
                                                                                                              ► September (5)


            Enter your comment...




                  Comment as:       Google Accoun



            Publish       Preview



     Links to this post
     Create a Link




     Newer Post                                     Home                                   Older Post


                                     Subscribe to: Post Comments (Atom)




                                                           Awesome Inc. theme. Powered by Blogger.




https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-ray.html                                                               1/2
                 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 38 of 155
7/13/2018                                 Farhad Azima Exposed Again: Farhad Azima and his associate Ray Adams data leaked




https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-ray.html                                        2/2
                Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 39 of 155
           Attachment 5




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 40 of 155
Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 41 of 155
           Attachment 6




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 42 of 155
Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 43 of 155
           Attachment 7




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 44 of 155
<!DOCTYPE html>
<html class='v2' dir='ltr' lang='en' xmlns='http://www.w3.org/1999/xhtml' xmlns:b='http://ww
w.google.com/2005/gml/b' xmlns:data='http://www.google.com/2005/gml/data' xmlns:expr='ht
tp://www.google.com/2005/gml/expr'>
<head>
<link href='https://www.blogger.com/static/v1/widgets/2437439463-
css_bundle_v2.css' rel='stylesheet' type='text/css'/>
<meta content='width=1100' name='viewport'/>
<meta content='text/html; charset=UTF-8' http-equiv='Content-Type'/>
<meta content='blogger' name='generator'/>
<link href='https://farhadazimascams.blogspot.com/favicon.ico' rel='icon' type='image/x-
icon'/>
<link href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html' rel='canonical'/>
<link rel="alternate" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://farhadazimascams.blogspot.com/feeds/posts/default" />
<link rel="alternate" type="application/rss+xml" title="Farhad Azima Exposed Again -
RSS" href="https://farhadazimascams.blogspot.com/feeds/posts/default?alt=rss" />
<link rel="service.post" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://www.blogger.com/feeds/8658040888510750793/posts/default" />
<link rel="alternate" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://farhadazimascams.blogspot.com/feeds/908099428335873341/comments/d
efault" />
<!--[if IE]><script type="text/javascript"
src="https://www.blogger.com/static/v1/jsbin/3658603751-ieretrofit.js"></script>
<![endif]-->
<meta content='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html' property='og:url'/>
<meta content='Farhad Azima CEO of Aviation Leasing Group - Exposed
Again' property='og:title'/>
<meta content='Farhad Azima- An Iranian-born KC aviation figure with colorful
past.' property='og:description'/>
<!--[if IE]> <script> (function() { var html5 = ("abbr,article,aside,audio,canvas,datalist,details,"
+ "figure,footer,header,hgroup,mark,menu,meter,nav,output," +
"progress,section,time,video").split(','); for (var i = 0; i < html5.length; i++) {
document.createElement(html5[i]); } try { document.execCommand('BackgroundImageCache',
false, true); } catch(e) {} })(); </script> <![endif]-->
<title>Farhad Azima Exposed Again: Farhad Azima CEO of Aviation Leasing Group -
Exposed Again</title>
<style id='page-skin-1' type='text/css'><!--
/*




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 45 of 155
-----------------------------------------------
Blogger Template Style
Name: Awesome Inc.
Designer: Tina Chen
URL: tinachen.org
----------------------------------------------- */
/* Content
----------------------------------------------- */
body {
font: normal normal 13px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
background: #eeeeee none repeat scroll top left;
}
html body .content-outer {
min-width: 0;
max-width: 100%;
width: 100%;
}
a:link {
text-decoration: none;
color: #3778cd;
}
a:visited {
text-decoration: none;
color: #4d469c;
}
a:hover {
text-decoration: underline;
color: #3778cd;
}
.body-fauxcolumn-outer .cap-top {
position: absolute;
z-index: 1;
height: 276px;
width: 100%;
background: transparent none repeat-x scroll top left;
_background-image: none;
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 46 of 155
/* Columns
----------------------------------------------- */
.content-inner {
padding: 0;
}
.header-inner .section {
margin: 0 16px;
}
.tabs-inner .section {
margin: 0 16px;
}
.main-inner {
padding-top: 30px;
}
.main-inner .column-center-inner,
.main-inner .column-left-inner,
.main-inner .column-right-inner {
padding: 0 5px;
}
*+html body .main-inner .column-center-inner {
margin-top: -30px;
}
#layout .main-inner .column-center-inner {
margin-top: 0;
}
/* Header
----------------------------------------------- */
.header-outer {
margin: 0 0 0 0;
background: transparent none repeat scroll 0 0;
}
.Header h1 {
font: normal bold 40px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
text-shadow: 0 0 -1px #000000;
}
.Header h1 a {
color: #444444;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 47 of 155
}
.Header .description {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
.header-inner .Header .titlewrapper,
.header-inner .Header .descriptionwrapper {
padding-left: 0;
padding-right: 0;
margin-bottom: 0;
}
.header-inner .Header .titlewrapper {
padding-top: 22px;
}
/* Tabs
----------------------------------------------- */
.tabs-outer {
overflow: hidden;
position: relative;
background: #eeeeee
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat scroll 0 0;
}
#layout .tabs-outer {
overflow: visible;
}
.tabs-cap-top, .tabs-cap-bottom {
position: absolute;
width: 100%;
border-top: 1px solid #999999;
}
.tabs-cap-bottom {
bottom: 0;
}
.tabs-inner .widget li a {
display: inline-block;
margin: 0;
padding: .6em 1.5em;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 48 of 155
font: normal bold 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
border-top: 1px solid #999999;
border-bottom: 1px solid #999999;
border-left: 1px solid #999999;
height: 16px;
line-height: 16px;
}
.tabs-inner .widget li:last-child a {
border-right: 1px solid #999999;
}
.tabs-inner .widget li.selected a, .tabs-inner .widget li a:hover {
background: #666666
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat-x scroll 0 -100px;
color: #ffffff;
}
/* Headings
----------------------------------------------- */
h2 {
font: normal bold 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
/* Widgets
----------------------------------------------- */
.main-inner .section {
margin: 0 27px;
padding: 0;
}
.main-inner .column-left-outer,
.main-inner .column-right-outer {
margin-top: 0;
}
#layout .main-inner .column-left-outer,
#layout .main-inner .column-right-outer {
margin-top: 0;
}
.main-inner .column-left-inner,




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 49 of 155
.main-inner .column-right-inner {
background: transparent none repeat 0 0;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
#layout .main-inner .column-left-inner,
#layout .main-inner .column-right-inner {
margin-top: 0;
}
.sidebar .widget {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
.sidebar .widget a:link {
color: #3778cd;
}
.sidebar .widget a:visited {
color: #4d469c;
}
.sidebar .widget a:hover {
color: #3778cd;
}
.sidebar .widget h2 {
text-shadow: 0 0 -1px #000000;
}
.main-inner .widget {
background-color: #ffffff;
border: 1px solid #eeeeee;
padding: 0 15px 15px;
margin: 20px -16px;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 50 of 155
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
.main-inner .widget h2 {
margin: 0 -15px;
padding: .6em 15px .5em;
border-bottom: 1px solid transparent;
}
.footer-inner .widget h2 {
padding: 0 0 .4em;
border-bottom: 1px solid transparent;
}
.main-inner .widget h2 + div, .footer-inner .widget h2 + div {
border-top: 1px solid #eeeeee;
padding-top: 8px;
}
.main-inner .widget .widget-content {
margin: 0 -15px;
padding: 7px 15px 0;
}
.main-inner .widget ul, .main-inner .widget #ArchiveList ul.flat {
margin: -8px -15px 0;
padding: 0;
list-style: none;
}
.main-inner .widget #ArchiveList {
margin: -8px 0 0;
}
.main-inner .widget ul li, .main-inner .widget #ArchiveList ul.flat li {
padding: .5em 15px;
text-indent: 0;
color: #666666;
border-top: 1px solid #eeeeee;
border-bottom: 1px solid transparent;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 51 of 155
}
.main-inner .widget #ArchiveList ul li {
padding-top: .25em;
padding-bottom: .25em;
}
.main-inner .widget ul li:first-child, .main-inner .widget #ArchiveList ul.flat li:first-child {
border-top: none;
}
.main-inner .widget ul li:last-child, .main-inner .widget #ArchiveList ul.flat li:last-child {
border-bottom: none;
}
.post-body {
position: relative;
}
.main-inner .widget .post-body ul {
padding: 0 2.5em;
margin: .5em 0;
list-style: disc;
}
.main-inner .widget .post-body ul li {
padding: 0.25em 0;
margin-bottom: .25em;
color: #444444;
border: none;
}
.footer-inner .widget ul {
padding: 0;
list-style: none;
}
.widget .zippy {
color: #666666;
}
/* Posts
----------------------------------------------- */
body .main-inner .Blog {
padding: 0;
margin-bottom: 1em;
background-color: transparent;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 52 of 155
border: none;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
-goog-ms-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
box-shadow: 0 0 0 rgba(0, 0, 0, 0);
}
.main-inner .section:last-child .Blog:last-child {
padding: 0;
margin-bottom: 1em;
}
.main-inner .widget h2.date-header {
margin: 0 -15px 1px;
padding: 0 0 0 0;
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
background: transparent none no-repeat scroll top left;
border-top: 0 solid #eeeeee;
border-bottom: 1px solid transparent;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius: 0;
position: static;
bottom: 100%;
right: 15px;
text-shadow: 0 0 -1px #000000;
}
.main-inner .widget h2.date-header span {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
display: block;
padding: .5em 15px;
border-left: 0 solid #eeeeee;
border-right: 0 solid #eeeeee;
}
.date-outer {
position: relative;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 53 of 155
margin: 30px 0 20px;
padding: 0 15px;
background-color: #ffffff;
border: 1px solid #eeeeee;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
.date-outer:first-child {
margin-top: 0;
}
.date-outer:last-child {
margin-bottom: 20px;
-moz-border-radius-bottomleft: 0;
-moz-border-radius-bottomright: 0;
-webkit-border-bottom-left-radius: 0;
-webkit-border-bottom-right-radius: 0;
-goog-ms-border-bottom-left-radius: 0;
-goog-ms-border-bottom-right-radius: 0;
border-bottom-left-radius: 0;
border-bottom-right-radius: 0;
}
.date-posts {
margin: 0 -15px;
padding: 0 15px;
clear: both;
}
.post-outer, .inline-ad {
border-top: 1px solid #eeeeee;
margin: 0 -15px;
padding: 15px 15px;
}
.post-outer {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 54 of 155
padding-bottom: 10px;
}
.post-outer:first-child {
padding-top: 0;
border-top: none;
}
.post-outer:last-child, .inline-ad:last-child {
border-bottom: none;
}
.post-body {
position: relative;
}
.post-body img {
padding: 8px;
background: transparent;
border: 1px solid transparent;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
border-radius: 0;
}
h3.post-title, h4 {
font: normal bold 22px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
h3.post-title a {
font: normal bold 22px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
h3.post-title a:hover {
color: #3778cd;
text-decoration: underline;
}
.post-header {
margin: 0 0 1em;
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 55 of 155
.post-body {
line-height: 1.4;
}
.post-outer h2 {
color: #444444;
}
.post-footer {
margin: 1.5em 0 0;
}
#blog-pager {
padding: 15px;
font-size: 120%;
background-color: #ffffff;
border: 1px solid #eeeeee;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
-goog-ms-border-top-left-radius: 0;
-goog-ms-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius-topright: 0;
margin-top: 1em;
}
.blog-feeds, .post-feeds {
margin: 1em 0;
text-align: center;
color: #444444;
}
.blog-feeds a, .post-feeds a {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 56 of 155
color: #3778cd;
}
.blog-feeds a:visited, .post-feeds a:visited {
color: #4d469c;
}
.blog-feeds a:hover, .post-feeds a:hover {
color: #3778cd;
}
.post-outer .comments {
margin-top: 2em;
}
/* Comments
----------------------------------------------- */
.comments .comments-content .icon.blog-author {
background-repeat: no-repeat;
background-image:
url(data:image/png;base64,iVBORw0KGgoAAAANSUhEUgAAABIAAAASCAYAAABWzo
5XAAAAAXNSR0IArs4c6QAAAAZiS0dEAP8A/wD/oL2nkwAAAAlwSFlzAAALEgAACxI
B0t1+/AAAAAd0SU1FB9sLFwMeCjjhcOMAAAD+SURBVDjLtZSvTgNBEIe/WRRnm3U8
RC1neQdsm1zSBIU9VVF1FkUguQQsD9ITmD7ECZIJSE4OZo9stoVjC/zc7ky+zH9hXwVw
DpTAWWLrgS3QAe8AZgaAJI5zYAmc8r0G4AHYHQKVwII8PZrZFsBFkeRCABYiMh9BR
UhnSkPTNCtVXYXURi1FpBDgArj8QU1eVXUzfnjv7yP7kwu1mYrkWlU33vs1QNu2qU8p
wN0UpKoqokjWwCztrMuBhEhmh8bD5UDqur75asbcX0BGUB9/HAMB+r32hznJgXy2v0sG
LBcyAJ1EK3LFcbo1s91JeLwAbwGYu7TP/3ZGfnXYPgAVNngtqatUNgAAAABJRU5ErkJg
gg==);
}
.comments .comments-content .loadmore a {
border-top: 1px solid #999999;
border-bottom: 1px solid #999999;
}
.comments .continue {
border-top: 2px solid #999999;
}
/* Footer
----------------------------------------------- */
.footer-outer {
margin: -20px 0 -1px;
padding: 20px 0 0;
color: #444444;
overflow: hidden;




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 57 of 155
}
.footer-fauxborder-left {
border-top: 1px solid #eeeeee;
background: #ffffff none repeat scroll 0 0;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
margin: 0 -20px;
}
/* Mobile
----------------------------------------------- */
body.mobile {
background-size: auto;
}
.mobile .body-fauxcolumn-outer {
background: transparent none repeat scroll top left;
}
*+html body.mobile .main-inner .column-center-inner {
margin-top: 0;
}
.mobile .main-inner .widget {
padding: 0 0 15px;
}
.mobile .main-inner .widget h2 + div,
.mobile .footer-inner .widget h2 + div {
border-top: none;
padding-top: 0;
}
.mobile .footer-inner .widget h2 {
padding: 0.5em 0;
border-bottom: none;
}
.mobile .main-inner .widget .widget-content {
margin: 0;
padding: 7px 0 0;
}
.mobile .main-inner .widget ul,




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 58 of 155
.mobile .main-inner .widget #ArchiveList ul.flat {
margin: 0 -15px 0;
}
.mobile .main-inner .widget h2.date-header {
right: 0;
}
.mobile .date-header span {
padding: 0.4em 0;
}
.mobile .date-outer:first-child {
margin-bottom: 0;
border: 1px solid #eeeeee;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
-goog-ms-border-top-left-radius: 0;
-goog-ms-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius: 0;
}
.mobile .date-outer {
border-color: #eeeeee;
border-width: 0 1px 1px;
}
.mobile .date-outer:last-child {
margin-bottom: 0;
}
.mobile .main-inner {
padding: 0;
}
.mobile .header-inner .section {
margin: 0;
}
.mobile .post-outer, .mobile .inline-ad {
padding: 5px 0;
}
.mobile .tabs-inner .section {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 59 of 155
margin: 0 10px;
}
.mobile .main-inner .widget h2 {
margin: 0;
padding: 0;
}
.mobile .main-inner .widget h2.date-header span {
padding: 0;
}
.mobile .main-inner .widget .widget-content {
margin: 0;
padding: 7px 0 0;
}
.mobile #blog-pager {
border: 1px solid transparent;
background: #ffffff none repeat scroll 0 0;
}
.mobile .main-inner .column-left-inner,
.mobile .main-inner .column-right-inner {
background: transparent none repeat 0 0;
-moz-box-shadow: none;
-webkit-box-shadow: none;
-goog-ms-box-shadow: none;
box-shadow: none;
}
.mobile .date-posts {
margin: 0;
padding: 0;
}
.mobile .footer-fauxborder-left {
margin: 0;
border-top: inherit;
}
.mobile .main-inner .section:last-child .Blog:last-child {
margin-bottom: 0;
}
.mobile-index-contents {
color: #444444;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 60 of 155
}
.mobile .mobile-link-button {
background: #3778cd
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat scroll 0 0;
}
.mobile-link-button a:link, .mobile-link-button a:visited {
color: #ffffff;
}
.mobile .tabs-inner .PageList .widget-content {
background: transparent;
border-top: 1px solid;
border-color: #999999;
color: #444444;
}
.mobile .tabs-inner .PageList .widget-content .pagelist-arrow {
border-left: 1px solid #999999;
}
--></style>
<style id='template-skin-1' type='text/css'><!--
body {
min-width: 960px;
}
.content-outer, .content-fauxcolumn-outer, .region-inner {
min-width: 960px;
max-width: 960px;
_width: 960px;
}
.main-inner .columns {
padding-left: 0px;
padding-right: 310px;
}
.main-inner .fauxcolumn-center-outer {
left: 0px;
right: 310px;
/* IE6 does not respect left and right together */
_width: expression(this.parentNode.offsetWidth -
parseInt("0px") -




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 61 of 155
parseInt("310px") + 'px');
}
.main-inner .fauxcolumn-left-outer {
width: 0px;
}
.main-inner .fauxcolumn-right-outer {
width: 310px;
}
.main-inner .column-left-outer {
width: 0px;
right: 100%;
margin-left: -0px;
}
.main-inner .column-right-outer {
width: 310px;
margin-right: -310px;
}
#layout {
min-width: 0;
}
#layout .content-outer {
min-width: 0;
width: 800px;
}
#layout .region-inner {
min-width: 0;
width: auto;
}
body#layout div.add_widget {
padding: 8px;
}
body#layout div.add_widget a {
margin-left: 32px;
}
--></style>
<meta content='3QUUen85diUqBGrPrTig4DjlzyHmEGUGXCvrTpu1PJA' name='google-site-
verification'/>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 62 of 155
<link href='https://www.blogger.com/dyn-
css/authorization.css?targetBlogID=8658040888510750793&amp;zx=92c89184-4164-4275-
bf8e-
dc009c100174' media='none' onload='if(media!=&#39;all&#39;)media=&#39;all&#39;' rel='st
ylesheet'/><noscript><link href='https://www.blogger.com/dyn-
css/authorization.css?targetBlogID=8658040888510750793&amp;zx=92c89184-4164-4275-
bf8e-dc009c100174' rel='stylesheet'/></noscript>
</head>
<body class='loading variant-light'>
<div class='navbar section' id='navbar' name='Navbar'><div class='widget Navbar' data-
version='1' id='Navbar1'><script type="text/javascript">
function setAttributeOnload(object, attribute, val) {
if(window.addEventListener) {
window.addEventListener('load',
function(){ object[attribute] = val; }, false);
} else {
window.attachEvent('onload', function(){ object[attribute] = val; });
}
}
</script>
<div id="navbar-iframe-container"></div>
<script type="text/javascript" src="https://apis.google.com/js/plusone.js"></script>
<script type="text/javascript">
gapi.load("gapi.iframes:gapi.iframes.style.bubble", function() {
if (gapi.iframes && gapi.iframes.getContext) {
gapi.iframes.getContext().openChild({
url:
'https://www.blogger.com/navbar.g?targetBlogID\x3d8658040888510750793\x26blogName\x
3dFarhad+Azima+Exposed+Again\x26publishMode\x3dPUBLISH_MODE_BLOGSPOT\x26
navbarType\x3dLIGHT\x26layoutType\x3dLAYOUTS\x26searchRoot\x3dhttps://farhadazima
scams.blogspot.com/search\x26blogLocale\x3den\x26v\x3d2\x26homepageUrl\x3dhttps://farha
dazimascams.blogspot.com/\x26targetPostID\x3d908099428335873341\x26blogPostOrPageUr
l\x3dhttps://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html\x26vt\x3d8940472481271412528',
where: document.getElementById("navbar-iframe-container"),
id: "navbar-iframe"
});
}
});
</script><script type="text/javascript">




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 63 of 155
(function() {
var script = document.createElement('script');
script.type = 'text/javascript';
script.src = '//pagead2.googlesyndication.com/pagead/js/google_top_exp.js';
var head = document.getElementsByTagName('head')[0];
if (head) {
head.appendChild(script);
}})();
</script>
</div></div>
<div class='body-fauxcolumns'>
<div class='fauxcolumn-outer body-fauxcolumn-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<div class='content'>
<div class='content-fauxcolumns'>
<div class='fauxcolumn-outer content-fauxcolumn-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 64 of 155
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<div class='content-outer'>
<div class='content-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left content-fauxborder-left'>
<div class='fauxborder-right content-fauxborder-right'></div>
<div class='content-inner'>
<header>
<div class='header-outer'>
<div class='header-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left header-fauxborder-left'>
<div class='fauxborder-right header-fauxborder-right'></div>
<div class='region-inner header-inner'>
<div class='header section' id='header' name='Header'><div class='widget Header' data-
version='1' id='Header1'>
<div id='header-inner'>
<div class='titlewrapper'>
<h1 class='title'>
<a href='https://farhadazimascams.blogspot.com/'>
Farhad Azima Exposed Again
</a>
</h1>
</div>
<div class='descriptionwrapper'>
<p class='description'><span>Farhad Azima- An Iranian-born KC aviation figure with colorful
past.</span></p>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 65 of 155
</div>
</div></div>
</div>
</div>
<div class='header-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</header>
<div class='tabs-outer'>
<div class='tabs-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left tabs-fauxborder-left'>
<div class='fauxborder-right tabs-fauxborder-right'></div>
<div class='region-inner tabs-inner'>
<div class='tabs no-items section' id='crosscol' name='Cross-Column'></div>
<div class='tabs no-items section' id='crosscol-overflow' name='Cross-Column 2'></div>
</div>
</div>
<div class='tabs-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='main-outer'>
<div class='main-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left main-fauxborder-left'>
<div class='fauxborder-right main-fauxborder-right'></div>
<div class='region-inner main-inner'>
<div class='columns fauxcolumns'>
<div class='fauxcolumn-outer fauxcolumn-center-outer'>
<div class='cap-top'>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 66 of 155
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='fauxcolumn-outer fauxcolumn-left-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='fauxcolumn-outer fauxcolumn-right-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 67 of 155
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<!-- corrects IE6 width calculation -->
<div class='columns-inner'>
<div class='column-center-outer'>
<div class='column-center-inner'>
<div class='main section' id='main' name='Main'><div class='widget Blog' data-
version='1' id='Blog1'>
<div class='blog-posts hfeed'>
<div class="date-outer">
<h2 class='date-header'><span>Sunday, August 7, 2016</span></h2>
<div class="date-posts">
<div class='post-outer'>
<div class='post hentry uncustomized-post-
template' itemprop='blogPost' itemscope='itemscope' itemtype='http://schema.org/BlogPosting'
>
<meta content='8658040888510750793' itemprop='blogId'/>
<meta content='908099428335873341' itemprop='postId'/>
<a name='908099428335873341'></a>
<h3 class='post-title entry-title' itemprop='name'>
Farhad Azima CEO of Aviation Leasing Group - Exposed Again
</h3>
<div class='post-header'>
<div class='post-header-line-1'></div>
</div>
<div class='post-body entry-content' id='post-body-
908099428335873341' itemprop='description articleBody'>
<b>Farhad Azima</b> was born in 1941. Currently he lives in Kansas City. &nbsp;<b>Farhad
Azima</b> is chairman &nbsp;for Aviation Leasing Group (ALG).<br />
<br />
Farhad Azima found in America&#8217;s major scandal, the Iran contra affairs and Panama
papers. Farhad is Iranian Born and made a career of renting and leasing airplanes. An
interesting twist came in his career when he found in the panama papers
scandal. <b>&#8220;He had no idea about this. He had nothing to do with Panama, said-
Farhad Azima.&#8221;</b> He said that he was investigated by every known agency in United




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 68 of 155
States but they didn&#8217;t find anything wrong there finally they decided there was
absolutely nothing there. It was just a wild goose chase.<br />
<br />
But I don&#8217;t think it was just a wild goose chase because including <b>Farhad
Azima</b> there are some other personalities who have links to intelligence agencies also
found in this scandal.<br />
This is his new scam in involvement with some big personality&#8217;s including his close
associates like Ray Adams &amp; Dr. Khater Massaad.<br />
<br />
<div class="MsoNormal">
<a href="https://we.tl/G2v9igEB4i"><b><span style="font-size:
large;">Download</span></b></a></div>
<div class="MsoNormal">
<br /></div>
<br />
<div class="MsoNormal">
<br /></div>
<div style='clear: both;'></div>
</div>
<div class='post-footer'>
<div class='post-footer-line post-footer-line-1'>
<span class='post-author vcard'>
Posted by
<span class='fn' itemprop='author' itemscope='itemscope' itemtype='http://schema.org/Person'>
<meta content='https://www.blogger.com/profile/03779171998136006667' itemprop='url'/>
<a class='g-
profile' href='https://www.blogger.com/profile/03779171998136006667' rel='author' title='auth
or profile'>
<span itemprop='name'>crimeboard</span>
</a>
</span>
</span>
<span class='post-timestamp'>
at
<meta content='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html' itemprop='url'/>
<a class='timestamp-link' href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-
ceo-of-aviation-leasing.html' rel='bookmark' title='permanent
link'><abbr class='published' itemprop='datePublished' title='2016-08-07T22:47:00-
07:00'>10:47 PM</abbr></a>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 69 of 155
</span>
<span class='reaction-buttons'>
</span>
<span class='post-comment-link'>
</span>
<span class='post-backlinks post-comment-link'>
</span>
<span class='post-icons'>
<span class='item-control blog-admin pid-853471483'>
<a href='https://www.blogger.com/post-
edit.g?blogID=8658040888510750793&postID=908099428335873341&from=pencil' title='Ed
it Post'>
<img alt='' class='icon-
action' height='18' src='https://resources.blogblog.com/img/icon18_edit_allbkg.gif' width='18'/
>
</a>
</span>
</span>
<div class='post-share-buttons goog-inline-block'>
<a class='goog-inline-block share-button sb-email' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=908099428335873341&target=email' target='
_blank' title='Email This'><span class='share-button-link-text'>Email
This</span></a><a class='goog-inline-block share-button sb-
blog' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=908099428335873341&target=blog' onclick='
window.open(this.href, "_blank", "height=270,width=475"); return
false;' target='_blank' title='BlogThis!'><span class='share-button-link-
text'>BlogThis!</span></a><a class='goog-inline-block share-button sb-
twitter' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=908099428335873341&target=twitter' target=
'_blank' title='Share to Twitter'><span class='share-button-link-text'>Share to
Twitter</span></a><a class='goog-inline-block share-button sb-
facebook' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=908099428335873341&target=facebook' oncl
ick='window.open(this.href, "_blank", "height=430,width=640"); return
false;' target='_blank' title='Share to Facebook'><span class='share-button-link-text'>Share to
Facebook</span></a><a class='goog-inline-block share-button sb-
pinterest' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=908099428335873341&target=pinterest' targe
t='_blank' title='Share to Pinterest'><span class='share-button-link-text'>Share to
Pinterest</span></a><div class='goog-inline-block google-plus-share-
container'><g:plusone source='blogger:blog:plusone' href='http://farhadazimascams.blogspot.c




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 70 of 155
om/2016/08/farhad-azima-ceo-of-aviation-
leasing.html' size='medium' width='300' annotation='inline'/></div>
</div>
</div>
<div class='post-footer-line post-footer-line-2'>
<span class='post-labels'>
Labels:
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20exposed' rel
='tag'>farhad azima exposed</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20fraud' rel='t
ag'>farhad azima fraud</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20kansas' rel='
tag'>farhad azima kansas</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20scam' rel='t
ag'>farhad azima scam</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20scammer' re
l='tag'>farhad azima scammer</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20usa' rel='tag'
>farhad azima usa</a>
</span>
</div>
<div class='post-footer-line post-footer-line-3'>
<span class='post-location'>
Location:
<a href='https://maps.google.com/maps?q=Dubai+-
+United+Arab+Emirates@25.2048493,55.270782800000006&z=10' target='_blank'>Dubai -
United Arab Emirates</a>
</span>
</div>
</div>
</div>
<div class='comments' id='comments'>
<a name='comments'></a>
<h4>1 comment:</h4>
<div class='comments-content'>
<script async='async' src='//www.blogblog.com/dynamicviews/4224c15c4e7c9321/js/comment
s.js' type='text/javascript'></script>
<script type='text/javascript'>
(function() {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 71 of 155
var items = [{'id': '5563448586872624482', 'body':
'https://farhadazimascams.blogspot.de/2016/08/fraud-between-farhad-azima-and-jay.html',
'timestamp': '1474627828809', 'permalink':
'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html?showComment\x3d1474627828809#c5563448586872624482', 'author': {'name':
'Anonymous', 'avatarUrl': '//img1.blogblog.com/img/blank.gif', 'profileUrl': ''}, 'displayTime':
'September 23, 2016 at 3:50 AM', 'deleteclass': 'item-control blog-admin pid-689611461'}];
var msgs = {'loadMore': 'Load more...', 'loading': 'Loading...', 'loaded': 'No more!',
'addComment': 'Add comment', 'reply': 'Reply', 'delete': 'Delete'};
var config = {'blogId': '8658040888510750793', 'postId': '908099428335873341', 'feed':
'https://farhadazimascams.blogspot.com/feeds/908099428335873341/comments/default',
'authorName': 'crimeboard', 'authorUrl':
'https://www.blogger.com/profile/03779171998136006667', 'baseUri':
'https://www.blogger.com', 'maxThreadDepth': 2};
// <![CDATA[
var cursor = null;
if (items && items.length > 0) {
cursor = parseInt(items[items.length - 1].timestamp) + 1;
}
var bodyFromEntry = function(entry) {
var text = (entry &&
((entry.content && entry.content.$t) ||
(entry.summary && entry.summary.$t))) ||
'';
if (entry && entry.gd$extendedProperty) {
for (var k in entry.gd$extendedProperty) {
if (entry.gd$extendedProperty[k].name == 'blogger.contentRemoved') {
return '<span class="deleted-comment">' + text + '</span>';
}
}
}
return text;
}
var parse = function(data) {
cursor = null;
var comments = [];
if (data && data.feed && data.feed.entry) {
for (var i = 0, entry; entry = data.feed.entry[i]; i++) {
var comment = {};
// comment ID, parsed out of the original id format




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 72 of 155
var id = /blog-(\d+).post-(\d+)/.exec(entry.id.$t);
comment.id = id ? id[2] : null;
comment.body = bodyFromEntry(entry);
comment.timestamp = Date.parse(entry.published.$t) + '';
if (entry.author && entry.author.constructor === Array) {
var auth = entry.author[0];
if (auth) {
comment.author = {
name: (auth.name ? auth.name.$t : undefined),
profileUrl: (auth.uri ? auth.uri.$t : undefined),
avatarUrl: (auth.gd$image ? auth.gd$image.src : undefined)
};
}
}
if (entry.link) {
if (entry.link[2]) {
comment.link = comment.permalink = entry.link[2].href;
}
if (entry.link[3]) {
var pid = /.*comments\/default\/(\d+)\?.*/.exec(entry.link[3].href);
if (pid && pid[1]) {
comment.parentId = pid[1];
}
}
}
comment.deleteclass = 'item-control blog-admin';
if (entry.gd$extendedProperty) {
for (var k in entry.gd$extendedProperty) {
if (entry.gd$extendedProperty[k].name == 'blogger.itemClass') {
comment.deleteclass += ' ' + entry.gd$extendedProperty[k].value;
} else if (entry.gd$extendedProperty[k].name == 'blogger.displayTime') {
comment.displayTime = entry.gd$extendedProperty[k].value;
}
}
}
comments.push(comment);
}
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 73 of 155
return comments;
};
var paginator = function(callback) {
if (hasMore()) {
var url = config.feed + '?alt=json&v=2&orderby=published&reverse=false&max-results=50';
if (cursor) {
url += '&published-min=' + new Date(cursor).toISOString();
}
window.bloggercomments = function(data) {
var parsed = parse(data);
cursor = parsed.length < 50 ? null
: parseInt(parsed[parsed.length - 1].timestamp) + 1
callback(parsed);
window.bloggercomments = null;
}
url += '&callback=bloggercomments';
var script = document.createElement('script');
script.type = 'text/javascript';
script.src = url;
document.getElementsByTagName('head')[0].appendChild(script);
}
};
var hasMore = function() {
return !!cursor;
};
var getMeta = function(key, comment) {
if ('iswriter' == key) {
var matches = !!comment.author
&& comment.author.name == config.authorName
&& comment.author.profileUrl == config.authorUrl;
return matches ? 'true' : '';
} else if ('deletelink' == key) {
return config.baseUri + '/delete-comment.g?blogID='
+ config.blogId + '&postID=' + comment.id;
} else if ('deleteclass' == key) {
return comment.deleteclass;
}
return '';




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 74 of 155
};
var replybox = null;
var replyUrlParts = null;
var replyParent = undefined;
var onReply = function(commentId, domId) {
if (replybox == null) {
// lazily cache replybox, and adjust to suit this style:
replybox = document.getElementById('comment-editor');
if (replybox != null) {
replybox.height = '250px';
replybox.style.display = 'block';
replyUrlParts = replybox.src.split('#');
}
}
if (replybox && (commentId !== replyParent)) {
replybox.src = '';
document.getElementById(domId).insertBefore(replybox, null);
replybox.src = replyUrlParts[0]
+ (commentId ? '&parentID=' + commentId : '')
+ '#' + replyUrlParts[1];
replyParent = commentId;
}
};
var hash = (window.location.hash || '#').substring(1);
var startThread, targetComment;
if (/^comment-form_/.test(hash)) {
startThread = hash.substring('comment-form_'.length);
} else if (/^c[0-9]+$/.test(hash)) {
targetComment = hash.substring(1);
}
// Configure commenting API:
var configJso = {
'maxDepth': config.maxThreadDepth
};
var provider = {
'id': config.postId,
'data': items,




     Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 75 of 155
'loadNext': paginator,
'hasMore': hasMore,
'getMeta': getMeta,
'onReply': onReply,
'rendered': true,
'initComment': targetComment,
'initReplyThread': startThread,
'config': configJso,
'messages': msgs
};
var render = function() {
if (window.goog && window.goog.comments) {
var holder = document.getElementById('comment-holder');
window.goog.comments.render(holder, provider);
}
};
// render now, or queue to render when library loads:
if (window.goog && window.goog.comments) {
render();
} else {
window.goog = window.goog || {};
window.goog.comments = window.goog.comments || {};
window.goog.comments.loadQueue = window.goog.comments.loadQueue || [];
window.goog.comments.loadQueue.push(render);
}
})();
// ]]>
</script>
<div id='comment-holder'>
<div id='bc_0_2C' kind='c'><div id='bc_0_2CT'><div id='bc_0_1T' class='comment-
thread' kind='r' t='0' u='0'><ol id='bc_0_1TB'><li id='bc_0_0B' class='comment' kind='b'><div
class='avatar-image-
container'><img src='//img1.blogblog.com/img/blank.gif'></img></div><div id='c5563448586
872624482' class='comment-block'><div id='bc_0_0M' class='comment-
header' kind='m'><cite class='user'>Anonymous</cite><span class='icon
user'></span><span class='datetime secondary-
text'><a rel='nofollow' href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-
ceo-of-aviation-
leasing.html?showComment=1474627828809#c5563448586872624482'>September 23, 2016
at 3:50 AM</a></span></div><p id='bc_0_0MC' class='comment-




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 76 of 155
content'>https://farhadazimascams.blogspot.de/2016/08/fraud-between-farhad-azima-and-
jay.html</p><span id='bc_0_0MN' class='comment-actions secondary-
text' kind='m'><a kind='i' href='javascript:;' target='_self' o='r'>Reply</a><span class='item-
control blog-admin pid-
689611461'><a o='d' target='_self' href='https://www.blogger.com/delete-
comment.g?blogID=8658040888510750793&amp;postID=5563448586872624482'>Delete</a
></span></span></div><div id='bc_0_0BR' class='comment-
replies'></div><div id='bc_0_0B_box' class='comment-replybox-
single'></div></li></ol><div id='bc_0_1I' class='continue' kind='ci'><a href='javascript:;' targe
t='_self'>Add comment</a></div><div id='bc_0_1T_box' class='comment-replybox-
thread'></div><div id='bc_0_1L' class='loadmore
loaded' kind='rb'><a href='javascript:;' target='_self'>Load
more...</a></div></div></div></div>
</div>
</div>
<p class='comment-footer'>
<div class='comment-form'>
<a name='comment-form'></a>
<p>
</p>
<a href='https://www.blogger.com/comment-
iframe.g?blogID=8658040888510750793&postID=908099428335873341' id='comment-
editor-src'></a>
<iframe allowtransparency='true' class='blogger-iframe-colorize blogger-comment-from-
post' frameborder='0' height='410px' id='comment-editor' name='comment-
editor' src='' width='100%'></iframe>
<script src='https://www.blogger.com/static/v1/jsbin/2567313873-
comment_from_post_iframe.js' type='text/javascript'></script>
<script type='text/javascript'>
BLOG_CMT_createIframe('https://www.blogger.com/rpc_relay.html');
</script>
</div>
</p>
<div id='backlinks-container'>
<div id='Blog1_backlinks-container'>
<a name='links'></a><h4><!--Can't find substitution for tag [post.backlinksLabel]--></h4>
<p class='comment-footer'>
<a class='comment-link' href='' id='Blog1_backlinks-create-link' target='_blank'><!--Can't find
substitution for tag [post.createLinkLabel]--></a>
</p>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 77 of 155
</div>
</div>
</div>
</div></div>
</div>
<div class='blog-pager' id='blog-pager'>
<span id='blog-pager-newer-link'>
<a class='blog-pager-newer-link' href='https://farhadazimascams.blogspot.com/2016/08/farhad-
azima-caught-up-in-fund-raising.html' id='Blog1_blog-pager-newer-link' title='Newer
Post'>Newer Post</a>
</span>
<a class='home-link' href='https://farhadazimascams.blogspot.com/'>Home</a>
</div>
<div class='clear'></div>
<div class='post-feeds'>
<div class='feed-links'>
Subscribe to:
<a class='feed-
link' href='https://farhadazimascams.blogspot.com/feeds/908099428335873341/comments/defa
ult' target='_blank' type='application/atom+xml'>Post Comments (Atom)</a>
</div>
</div>
<script type='text/javascript'>
window.___gcfg = { 'lang': 'en' };
</script>
</div></div>
</div>
</div>
<div class='column-left-outer'>
<div class='column-left-inner'>
<aside>
</aside>
</div>
</div>
<div class='column-right-outer'>
<div class='column-right-inner'>
<aside>
<div class='sidebar section' id='sidebar-right-1'><div class='widget Profile' data-
version='1' id='Profile1'>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 78 of 155
<h2>About Me</h2>
<div class='widget-content'>
<dl class='profile-datablock'>
<dt class='profile-data'>
<a class='profile-name-link g-
profile' href='https://www.blogger.com/profile/03779171998136006667' rel='author' style='bac
kground-image: url(//www.blogger.com/img/logo-16.png);'>
crimeboard
</a>
</dt>
</dl>
<a class='profile-
link' href='https://www.blogger.com/profile/03779171998136006667' rel='author'>View my
complete profile</a>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=Profile&widgetId=Profile1&action=editWidget&sectionId=sidebar-right-
1' onclick='return
_WidgetManager._PopupConfig(document.getElementById("Profile1"));' target='configProfile
1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div>
</div><div class='widget BlogArchive' data-version='1' id='BlogArchive1'>
<h2>Farhad Azima</h2>
<div class='widget-content'>
<div id='ArchiveList'>
<div id='BlogArchive1_ArchiveList'>
<ul class='hierarchy'>
<li class='archivedate expanded'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy toggle-open'>
&#9660;&#160;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 79 of 155
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/'>
2016
</a>
<span class='post-count' dir='ltr'>(9)</span>
<ul class='hierarchy'>
<li class='archivedate expanded'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy toggle-open'>
&#9660;&#160;
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/08/'>
August
</a>
<span class='post-count' dir='ltr'>(4)</span>
<ul class='posts'>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html'>Farhad Azima CEO of Aviation Leasing Group - Expos...</a></li>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-caught-up-in-fund-
raising.html'>Farhad Azima caught up in Fund Raising Scandal</a></li>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-
ray.html'>Farhad Azima and his associate Ray Adams data leak...</a></li>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/fraud-between-farhad-azima-
and-jay.html'>Fraud between Farhad Azima and Jay Solomon</a></li>
</ul>
</li>
</ul>
<ul class='hierarchy'>
<li class='archivedate collapsed'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy'>
&#9658;&#160;
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/09/'>
September




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 80 of 155
</a>
<span class='post-count' dir='ltr'>(5)</span>
</li>
</ul>
</li>
</ul>
</div>
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=BlogArchive&widgetId=BlogArchive1&action=editWidget&sectionId=sidebar-right-
1' onclick='return
_WidgetManager._PopupConfig(document.getElementById("BlogArchive1"));' target='config
BlogArchive1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div>
</div></div>
</aside>
</div>
</div>
</div>
<div style='clear: both'></div>
<!-- columns -->
</div>
<!-- main -->
</div>
</div>
<div class='main-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 81 of 155
<footer>
<div class='footer-outer'>
<div class='footer-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left footer-fauxborder-left'>
<div class='fauxborder-right footer-fauxborder-right'></div>
<div class='region-inner footer-inner'>
<div class='foot no-items section' id='footer-1'></div>
<table border='0' cellpadding='0' cellspacing='0' class='section-columns columns-2'>
<tbody>
<tr>
<td class='first columns-cell'>
<div class='foot no-items section' id='footer-2-1'></div>
</td>
<td class='columns-cell'>
<div class='foot section' id='footer-2-2'><div class='widget HTML' data-
version='1' id='HTML1'>
<div class='widget-content'>
<!-- Start of StatCounter Code for Blogger / Blogspot -->
<script type="text/javascript">
//<![CDATA[
var sc_project=11312557;
var sc_invisible=0;
var sc_security="f9083051";
var scJsHost = (("https:" == document.location.protocol) ? "https://secure." : "http://www.");
document.write("<sc"+"ript type='text/javascript' src='" + scJsHost+
"statcounter.com/counter/counter_xhtml.js'></"+"script>");
//]]>
</script>
<noscript><div class="statcounter"><a title="web stats" href="http://statcounter.com/"
class="statcounter"><img class="statcounter"
src="//c.statcounter.com/11312557/0/f9083051/0/" alt="web stats" /></a></div></noscript>
<!-- End of StatCounter Code for Blogger / Blogspot -->
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 82 of 155
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=HTML&widgetId=HTML1&action=editWidget&sectionId=footer-2-
2' onclick='return
_WidgetManager._PopupConfig(document.getElementById("HTML1"));' target='configHTM
L1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div></div>
</td>
</tr>
</tbody>
</table>
<!-- outside of the include in order to lock Attribution widget -->
<div class='foot section' id='footer-3' name='Footer'><div class='widget Attribution' data-
version='1' id='Attribution1'>
<div class='widget-content' style='text-align: center;'>
Awesome Inc. theme. Powered
by <a href='https://www.blogger.com' target='_blank'>Blogger</a>.
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=Attribution&widgetId=Attribution1&action=editWidget&sectionId=footer-
3' onclick='return
_WidgetManager._PopupConfig(document.getElementById("Attribution1"));' target='configAt
tribution1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div></div>
</div>
</div>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 83 of 155
<div class='footer-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</footer>
<!-- content -->
</div>
</div>
<div class='content-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<script type='text/javascript'>
window.setTimeout(function() {
document.body.className = document.body.className.replace('loading', '');
}, 10);
</script>
<script src='https://apis.google.com/js/plusone.js' type='text/javascript'></script>
<script type="text/javascript" src="https://www.blogger.com/static/v1/widgets/1109080293-
widgets.js"></script>
<script type='text/javascript'>
window['__wavt'] =
'AOuZoY552VkHh9lpRl7Zdww6FPySI8QCWA:1531115851510';_WidgetManager._Init('//w
ww.blogger.com/rearrange?blogID\x3d8658040888510750793','//farhadazimascams.blogspot.c
om/2016/08/farhad-azima-ceo-of-aviation-leasing.html','8658040888510750793');
_WidgetManager._SetDataContext([{'name': 'blog', 'data': {'blogId': '8658040888510750793',
'title': 'Farhad Azima Exposed Again', 'url':
'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-leasing.html',
'canonicalUrl': 'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html', 'homepageUrl': 'https://farhadazimascams.blogspot.com/', 'searchUrl':
'https://farhadazimascams.blogspot.com/search', 'canonicalHomepageUrl':
'https://farhadazimascams.blogspot.com/', 'blogspotFaviconUrl':
'https://farhadazimascams.blogspot.com/favicon.ico', 'bloggerUrl': 'https://www.blogger.com',
'hasCustomDomain': false, 'httpsEnabled': true, 'enabledCommentProfileImages': true,
'gPlusViewType': 'FILTERED_POSTMOD', 'adultContent': false, 'analyticsAccountNumber': '',
'encoding': 'UTF-8', 'locale': 'en', 'localeUnderscoreDelimited': 'en', 'languageDirection': 'ltr',
'isPrivate': false, 'isMobile': false, 'isMobileRequest': false, 'mobileClass': '', 'isPrivateBlog':
false, 'feedLinks': '\x3clink rel\x3d\x22alternate\x22 type\x3d\x22application/atom+xml\x22




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 84 of 155
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/posts/default\x22 /\x3e\n\x3clink
rel\x3d\x22alternate\x22 type\x3d\x22application/rss+xml\x22 title\x3d\x22Farhad Azima
Exposed Again - RSS\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/posts/default?alt\x3drss\x22
/\x3e\n\x3clink rel\x3d\x22service.post\x22 type\x3d\x22application/atom+xml\x22
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://www.blogger.com/feeds/8658040888510750793/posts/default\x22
/\x3e\n\n\x3clink rel\x3d\x22alternate\x22 type\x3d\x22application/atom+xml\x22
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/908099428335873341/comments/de
fault\x22 /\x3e\n', 'meTag': '', 'openIdOpTag': '', 'adsenseHostId': 'ca-host-pub-
1556223355139109', 'adsenseHasAds': false, 'ieCssRetrofitLinks': '\x3c!--[if IE]\x3e\x3cscript
type\x3d\x22text/javascript\x22
src\x3d\x22https://www.blogger.com/static/v1/jsbin/3658603751-
ieretrofit.js\x22\x3e\x3c/script\x3e\n\x3c![endif]--\x3e', 'view': '',
'dynamicViewsCommentsSrc':
'//www.blogblog.com/dynamicviews/4224c15c4e7c9321/js/comments.js',
'dynamicViewsScriptSrc': '//www.blogblog.com/dynamicviews/dd8a54301fb6e352',
'plusOneApiSrc': 'https://apis.google.com/js/plusone.js', 'sharing': {'platforms': [{'name': 'Get
link', 'key': 'link', 'shareMessage': 'Get link', 'target': ''}, {'name': 'Facebook', 'key': 'facebook',
'shareMessage': 'Share to Facebook', 'target': 'facebook'}, {'name': 'BlogThis!', 'key': 'blogThis',
'shareMessage': 'BlogThis!', 'target': 'blog'}, {'name': 'Twitter', 'key': 'twitter', 'shareMessage':
'Share to Twitter', 'target': 'twitter'}, {'name': 'Pinterest', 'key': 'pinterest', 'shareMessage': 'Share
to Pinterest', 'target': 'pinterest'}, {'name': 'Google+', 'key': 'googlePlus', 'shareMessage': 'Share
to Google+', 'target': 'googleplus'}, {'name': 'Email', 'key': 'email', 'shareMessage': 'Email',
'target': 'email'}], 'googlePlusShareButtonWidth': 300, 'googlePlusBootstrap': '\x3cscript
type\x3d\x22text/javascript\x22\x3ewindow.___gcfg \x3d {\x27lang\x27:
\x27en\x27};\x3c/script\x3e'}, 'hasCustomJumpLinkMessage': false, 'jumpLinkMessage': 'Read
more', 'pageType': 'item', 'postId': '908099428335873341', 'pageName': 'Farhad Azima CEO of
Aviation Leasing Group - Exposed Again', 'pageTitle': 'Farhad Azima Exposed Again: Farhad
Azima CEO of Aviation Leasing Group - Exposed Again', 'metaDescription': ''}}, {'name':
'features', 'data': {'cmt_anon_warn': 'false', 'lazy_images': 'false', 'poll_static': 'true',
'sharing_get_link_dialog': 'true', 'sharing_native': 'false'}}, {'name': 'messages', 'data': {'edit':
'Edit', 'linkCopiedToClipboard': 'Link copied to clipboard!', 'ok': 'Ok', 'postLink': 'Post Link'}},
{'name': 'template', 'data': {'name': 'custom', 'localizedName': 'Custom', 'isResponsive': false,
'isAlternateRendering': false, 'isCustom': true, 'variant': 'light', 'variantId': 'light'}}, {'name':
'view', 'data': {'classic': {'name': 'classic', 'url': '?view\x3dclassic'}, 'flipcard': {'name': 'flipcard',
'url': '?view\x3dflipcard'}, 'magazine': {'name': 'magazine', 'url': '?view\x3dmagazine'}, 'mosaic':
{'name': 'mosaic', 'url': '?view\x3dmosaic'}, 'sidebar': {'name': 'sidebar', 'url':
'?view\x3dsidebar'}, 'snapshot': {'name': 'snapshot', 'url': '?view\x3dsnapshot'}, 'timeslide':
{'name': 'timeslide', 'url': '?view\x3dtimeslide'}, 'isMobile': false, 'title': 'Farhad Azima CEO of
Aviation Leasing Group - Exposed Again', 'description': 'Farhad Azima- An Iranian-born KC
aviation figure with colorful past.', 'url':
'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-leasing.html',
'type': 'item', 'isSingleItem': true, 'isMultipleItems': false, 'isError': false, 'isPage': false, 'isPost':




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 85 of 155
true, 'isHomepage': false, 'isArchive': false, 'isLabelSearch': false, 'postId':
908099428335873341}}]);
_WidgetManager._RegisterWidget('_NavbarView', new _WidgetInfo('Navbar1', 'navbar', null,
document.getElementById('Navbar1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_HeaderView', new _WidgetInfo('Header1', 'header', null,
document.getElementById('Header1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_BlogView', new _WidgetInfo('Blog1', 'main', null,
document.getElementById('Blog1'), {'cmtInteractionsEnabled': false, 'showBacklinks': true,
'postId': '908099428335873341', 'useNgc': false, 'lightboxEnabled': true, 'lightboxModuleUrl':
'https://www.blogger.com/static/v1/jsbin/1719576191-lbx.js', 'lightboxCssUrl':
'https://www.blogger.com/static/v1/v-css/368954415-lightbox_bundle.css'},
'displayModeFull'));
_WidgetManager._RegisterWidget('_ProfileView', new _WidgetInfo('Profile1', 'sidebar-right-
1', null, document.getElementById('Profile1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_BlogArchiveView', new _WidgetInfo('BlogArchive1',
'sidebar-right-1', null, document.getElementById('BlogArchive1'), {'languageDirection': 'ltr',
'loadingMessage': 'Loading\x26hellip;'}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_HTMLView', new _WidgetInfo('HTML1', 'footer-2-2',
null, document.getElementById('HTML1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_AttributionView', new _WidgetInfo('Attribution1',
'footer-3', null, document.getElementById('Attribution1'), {}, 'displayModeFull'));
</script>
</body>
</html>




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 86 of 155
           Attachment 8




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 87 of 155
<!DOCTYPE html>
<html class='v2' dir='ltr' lang='en' xmlns='http://www.w3.org/1999/xhtml' xmlns:b='http://ww
w.google.com/2005/gml/b' xmlns:data='http://www.google.com/2005/gml/data' xmlns:expr='ht
tp://www.google.com/2005/gml/expr'>
<head>
<link href='https://www.blogger.com/static/v1/widgets/2437439463-
css_bundle_v2.css' rel='stylesheet' type='text/css'/>
<meta content='width=1100' name='viewport'/>
<meta content='text/html; charset=UTF-8' http-equiv='Content-Type'/>
<meta content='blogger' name='generator'/>
<link href='https://farhadazimascams.blogspot.com/favicon.ico' rel='icon' type='image/x-
icon'/>
<link href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-
ray.html' rel='canonical'/>
<link rel="alternate" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://farhadazimascams.blogspot.com/feeds/posts/default" />
<link rel="alternate" type="application/rss+xml" title="Farhad Azima Exposed Again -
RSS" href="https://farhadazimascams.blogspot.com/feeds/posts/default?alt=rss" />
<link rel="service.post" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://www.blogger.com/feeds/8658040888510750793/posts/default" />
<link rel="alternate" type="application/atom+xml" title="Farhad Azima Exposed Again -
Atom" href="https://farhadazimascams.blogspot.com/feeds/4643253253888213909/comments/
default" />
<!--[if IE]><script type="text/javascript"
src="https://www.blogger.com/static/v1/jsbin/3658603751-ieretrofit.js"></script>
<![endif]-->
<meta content='farhad azima, farhad azima family, farhad azima fraud, farhad azima exposed,
farhad azima scandal, farhad azima scammer, farhad azima usa' name='description'/>
<meta content='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-
associate-ray.html' property='og:url'/>
<meta content='Farhad Azima and his associate Ray Adams data leaked' property='og:title'/>
<meta content='farhad azima, farhad azima family, farhad azima fraud, farhad azima exposed,
farhad azima scandal, farhad azima scammer, farhad azima usa' property='og:description'/>
<!--[if IE]> <script> (function() { var html5 = ("abbr,article,aside,audio,canvas,datalist,details,"
+ "figure,footer,header,hgroup,mark,menu,meter,nav,output," +
"progress,section,time,video").split(','); for (var i = 0; i < html5.length; i++) {
document.createElement(html5[i]); } try { document.execCommand('BackgroundImageCache',
false, true); } catch(e) {} })(); </script> <![endif]-->
<title>Farhad Azima Exposed Again: Farhad Azima and his associate Ray Adams data
leaked</title>
<style id='page-skin-1' type='text/css'><!--




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 88 of 155
/*
-----------------------------------------------
Blogger Template Style
Name: Awesome Inc.
Designer: Tina Chen
URL: tinachen.org
----------------------------------------------- */
/* Content
----------------------------------------------- */
body {
font: normal normal 13px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
background: #eeeeee none repeat scroll top left;
}
html body .content-outer {
min-width: 0;
max-width: 100%;
width: 100%;
}
a:link {
text-decoration: none;
color: #3778cd;
}
a:visited {
text-decoration: none;
color: #4d469c;
}
a:hover {
text-decoration: underline;
color: #3778cd;
}
.body-fauxcolumn-outer .cap-top {
position: absolute;
z-index: 1;
height: 276px;
width: 100%;
background: transparent none repeat-x scroll top left;
_background-image: none;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 89 of 155
}
/* Columns
----------------------------------------------- */
.content-inner {
padding: 0;
}
.header-inner .section {
margin: 0 16px;
}
.tabs-inner .section {
margin: 0 16px;
}
.main-inner {
padding-top: 30px;
}
.main-inner .column-center-inner,
.main-inner .column-left-inner,
.main-inner .column-right-inner {
padding: 0 5px;
}
*+html body .main-inner .column-center-inner {
margin-top: -30px;
}
#layout .main-inner .column-center-inner {
margin-top: 0;
}
/* Header
----------------------------------------------- */
.header-outer {
margin: 0 0 0 0;
background: transparent none repeat scroll 0 0;
}
.Header h1 {
font: normal bold 40px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
text-shadow: 0 0 -1px #000000;
}
.Header h1 a {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 90 of 155
color: #444444;
}
.Header .description {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
.header-inner .Header .titlewrapper,
.header-inner .Header .descriptionwrapper {
padding-left: 0;
padding-right: 0;
margin-bottom: 0;
}
.header-inner .Header .titlewrapper {
padding-top: 22px;
}
/* Tabs
----------------------------------------------- */
.tabs-outer {
overflow: hidden;
position: relative;
background: #eeeeee
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat scroll 0 0;
}
#layout .tabs-outer {
overflow: visible;
}
.tabs-cap-top, .tabs-cap-bottom {
position: absolute;
width: 100%;
border-top: 1px solid #999999;
}
.tabs-cap-bottom {
bottom: 0;
}
.tabs-inner .widget li a {
display: inline-block;
margin: 0;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 91 of 155
padding: .6em 1.5em;
font: normal bold 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
border-top: 1px solid #999999;
border-bottom: 1px solid #999999;
border-left: 1px solid #999999;
height: 16px;
line-height: 16px;
}
.tabs-inner .widget li:last-child a {
border-right: 1px solid #999999;
}
.tabs-inner .widget li.selected a, .tabs-inner .widget li a:hover {
background: #666666
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat-x scroll 0 -100px;
color: #ffffff;
}
/* Headings
----------------------------------------------- */
h2 {
font: normal bold 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
/* Widgets
----------------------------------------------- */
.main-inner .section {
margin: 0 27px;
padding: 0;
}
.main-inner .column-left-outer,
.main-inner .column-right-outer {
margin-top: 0;
}
#layout .main-inner .column-left-outer,
#layout .main-inner .column-right-outer {
margin-top: 0;
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 92 of 155
.main-inner .column-left-inner,
.main-inner .column-right-inner {
background: transparent none repeat 0 0;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
#layout .main-inner .column-left-inner,
#layout .main-inner .column-right-inner {
margin-top: 0;
}
.sidebar .widget {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
.sidebar .widget a:link {
color: #3778cd;
}
.sidebar .widget a:visited {
color: #4d469c;
}
.sidebar .widget a:hover {
color: #3778cd;
}
.sidebar .widget h2 {
text-shadow: 0 0 -1px #000000;
}
.main-inner .widget {
background-color: #ffffff;
border: 1px solid #eeeeee;
padding: 0 15px 15px;
margin: 20px -16px;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 93 of 155
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
.main-inner .widget h2 {
margin: 0 -15px;
padding: .6em 15px .5em;
border-bottom: 1px solid transparent;
}
.footer-inner .widget h2 {
padding: 0 0 .4em;
border-bottom: 1px solid transparent;
}
.main-inner .widget h2 + div, .footer-inner .widget h2 + div {
border-top: 1px solid #eeeeee;
padding-top: 8px;
}
.main-inner .widget .widget-content {
margin: 0 -15px;
padding: 7px 15px 0;
}
.main-inner .widget ul, .main-inner .widget #ArchiveList ul.flat {
margin: -8px -15px 0;
padding: 0;
list-style: none;
}
.main-inner .widget #ArchiveList {
margin: -8px 0 0;
}
.main-inner .widget ul li, .main-inner .widget #ArchiveList ul.flat li {
padding: .5em 15px;
text-indent: 0;
color: #666666;
border-top: 1px solid #eeeeee;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 94 of 155
border-bottom: 1px solid transparent;
}
.main-inner .widget #ArchiveList ul li {
padding-top: .25em;
padding-bottom: .25em;
}
.main-inner .widget ul li:first-child, .main-inner .widget #ArchiveList ul.flat li:first-child {
border-top: none;
}
.main-inner .widget ul li:last-child, .main-inner .widget #ArchiveList ul.flat li:last-child {
border-bottom: none;
}
.post-body {
position: relative;
}
.main-inner .widget .post-body ul {
padding: 0 2.5em;
margin: .5em 0;
list-style: disc;
}
.main-inner .widget .post-body ul li {
padding: 0.25em 0;
margin-bottom: .25em;
color: #444444;
border: none;
}
.footer-inner .widget ul {
padding: 0;
list-style: none;
}
.widget .zippy {
color: #666666;
}
/* Posts
----------------------------------------------- */
body .main-inner .Blog {
padding: 0;
margin-bottom: 1em;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 95 of 155
background-color: transparent;
border: none;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
-goog-ms-box-shadow: 0 0 0 rgba(0, 0, 0, 0);
box-shadow: 0 0 0 rgba(0, 0, 0, 0);
}
.main-inner .section:last-child .Blog:last-child {
padding: 0;
margin-bottom: 1em;
}
.main-inner .widget h2.date-header {
margin: 0 -15px 1px;
padding: 0 0 0 0;
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
background: transparent none no-repeat scroll top left;
border-top: 0 solid #eeeeee;
border-bottom: 1px solid transparent;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius: 0;
position: static;
bottom: 100%;
right: 15px;
text-shadow: 0 0 -1px #000000;
}
.main-inner .widget h2.date-header span {
font: normal normal 14px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
display: block;
padding: .5em 15px;
border-left: 0 solid #eeeeee;
border-right: 0 solid #eeeeee;
}
.date-outer {




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 96 of 155
position: relative;
margin: 30px 0 20px;
padding: 0 15px;
background-color: #ffffff;
border: 1px solid #eeeeee;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
}
.date-outer:first-child {
margin-top: 0;
}
.date-outer:last-child {
margin-bottom: 20px;
-moz-border-radius-bottomleft: 0;
-moz-border-radius-bottomright: 0;
-webkit-border-bottom-left-radius: 0;
-webkit-border-bottom-right-radius: 0;
-goog-ms-border-bottom-left-radius: 0;
-goog-ms-border-bottom-right-radius: 0;
border-bottom-left-radius: 0;
border-bottom-right-radius: 0;
}
.date-posts {
margin: 0 -15px;
padding: 0 15px;
clear: both;
}
.post-outer, .inline-ad {
border-top: 1px solid #eeeeee;
margin: 0 -15px;
padding: 15px 15px;
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 97 of 155
.post-outer {
padding-bottom: 10px;
}
.post-outer:first-child {
padding-top: 0;
border-top: none;
}
.post-outer:last-child, .inline-ad:last-child {
border-bottom: none;
}
.post-body {
position: relative;
}
.post-body img {
padding: 8px;
background: transparent;
border: 1px solid transparent;
-moz-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 0 rgba(0, 0, 0, .2);
box-shadow: 0 0 0 rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
border-radius: 0;
}
h3.post-title, h4 {
font: normal bold 22px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
h3.post-title a {
font: normal bold 22px Arial, Tahoma, Helvetica, FreeSans, sans-serif;
color: #444444;
}
h3.post-title a:hover {
color: #3778cd;
text-decoration: underline;
}
.post-header {
margin: 0 0 1em;




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 98 of 155
}
.post-body {
line-height: 1.4;
}
.post-outer h2 {
color: #444444;
}
.post-footer {
margin: 1.5em 0 0;
}
#blog-pager {
padding: 15px;
font-size: 120%;
background-color: #ffffff;
border: 1px solid #eeeeee;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-moz-border-radius: 0;
-webkit-border-radius: 0;
-goog-ms-border-radius: 0;
border-radius: 0;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
-goog-ms-border-top-left-radius: 0;
-goog-ms-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius-topright: 0;
margin-top: 1em;
}
.blog-feeds, .post-feeds {
margin: 1em 0;
text-align: center;
color: #444444;
}




  Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 99 of 155
.blog-feeds a, .post-feeds a {
color: #3778cd;
}
.blog-feeds a:visited, .post-feeds a:visited {
color: #4d469c;
}
.blog-feeds a:hover, .post-feeds a:hover {
color: #3778cd;
}
.post-outer .comments {
margin-top: 2em;
}
/* Comments
----------------------------------------------- */
.comments .comments-content .icon.blog-author {
background-repeat: no-repeat;
background-image:
url(data:image/png;base64,iVBORw0KGgoAAAANSUhEUgAAABIAAAASCAYAAABWzo
5XAAAAAXNSR0IArs4c6QAAAAZiS0dEAP8A/wD/oL2nkwAAAAlwSFlzAAALEgAACxI
B0t1+/AAAAAd0SU1FB9sLFwMeCjjhcOMAAAD+SURBVDjLtZSvTgNBEIe/WRRnm3U8
RC1neQdsm1zSBIU9VVF1FkUguQQsD9ITmD7ECZIJSE4OZo9stoVjC/zc7ky+zH9hXwVw
DpTAWWLrgS3QAe8AZgaAJI5zYAmc8r0G4AHYHQKVwII8PZrZFsBFkeRCABYiMh9BR
UhnSkPTNCtVXYXURi1FpBDgArj8QU1eVXUzfnjv7yP7kwu1mYrkWlU33vs1QNu2qU8p
wN0UpKoqokjWwCztrMuBhEhmh8bD5UDqur75asbcX0BGUB9/HAMB+r32hznJgXy2v0sG
LBcyAJ1EK3LFcbo1s91JeLwAbwGYu7TP/3ZGfnXYPgAVNngtqatUNgAAAABJRU5ErkJg
gg==);
}
.comments .comments-content .loadmore a {
border-top: 1px solid #999999;
border-bottom: 1px solid #999999;
}
.comments .continue {
border-top: 2px solid #999999;
}
/* Footer
----------------------------------------------- */
.footer-outer {
margin: -20px 0 -1px;
padding: 20px 0 0;
color: #444444;




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 100 of 155
overflow: hidden;
}
.footer-fauxborder-left {
border-top: 1px solid #eeeeee;
background: #ffffff none repeat scroll 0 0;
-moz-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-webkit-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
-goog-ms-box-shadow: 0 0 20px rgba(0, 0, 0, .2);
box-shadow: 0 0 20px rgba(0, 0, 0, .2);
margin: 0 -20px;
}
/* Mobile
----------------------------------------------- */
body.mobile {
background-size: auto;
}
.mobile .body-fauxcolumn-outer {
background: transparent none repeat scroll top left;
}
*+html body.mobile .main-inner .column-center-inner {
margin-top: 0;
}
.mobile .main-inner .widget {
padding: 0 0 15px;
}
.mobile .main-inner .widget h2 + div,
.mobile .footer-inner .widget h2 + div {
border-top: none;
padding-top: 0;
}
.mobile .footer-inner .widget h2 {
padding: 0.5em 0;
border-bottom: none;
}
.mobile .main-inner .widget .widget-content {
margin: 0;
padding: 7px 0 0;
}




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 101 of 155
.mobile .main-inner .widget ul,
.mobile .main-inner .widget #ArchiveList ul.flat {
margin: 0 -15px 0;
}
.mobile .main-inner .widget h2.date-header {
right: 0;
}
.mobile .date-header span {
padding: 0.4em 0;
}
.mobile .date-outer:first-child {
margin-bottom: 0;
border: 1px solid #eeeeee;
-moz-border-radius-topleft: 0;
-moz-border-radius-topright: 0;
-webkit-border-top-left-radius: 0;
-webkit-border-top-right-radius: 0;
-goog-ms-border-top-left-radius: 0;
-goog-ms-border-top-right-radius: 0;
border-top-left-radius: 0;
border-top-right-radius: 0;
}
.mobile .date-outer {
border-color: #eeeeee;
border-width: 0 1px 1px;
}
.mobile .date-outer:last-child {
margin-bottom: 0;
}
.mobile .main-inner {
padding: 0;
}
.mobile .header-inner .section {
margin: 0;
}
.mobile .post-outer, .mobile .inline-ad {
padding: 5px 0;
}




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 102 of 155
.mobile .tabs-inner .section {
margin: 0 10px;
}
.mobile .main-inner .widget h2 {
margin: 0;
padding: 0;
}
.mobile .main-inner .widget h2.date-header span {
padding: 0;
}
.mobile .main-inner .widget .widget-content {
margin: 0;
padding: 7px 0 0;
}
.mobile #blog-pager {
border: 1px solid transparent;
background: #ffffff none repeat scroll 0 0;
}
.mobile .main-inner .column-left-inner,
.mobile .main-inner .column-right-inner {
background: transparent none repeat 0 0;
-moz-box-shadow: none;
-webkit-box-shadow: none;
-goog-ms-box-shadow: none;
box-shadow: none;
}
.mobile .date-posts {
margin: 0;
padding: 0;
}
.mobile .footer-fauxborder-left {
margin: 0;
border-top: inherit;
}
.mobile .main-inner .section:last-child .Blog:last-child {
margin-bottom: 0;
}
.mobile-index-contents {




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 103 of 155
color: #444444;
}
.mobile .mobile-link-button {
background: #3778cd
url(https://resources.blogblog.com/blogblog/data/1kt/awesomeinc/tabs_gradient_light.png)
repeat scroll 0 0;
}
.mobile-link-button a:link, .mobile-link-button a:visited {
color: #ffffff;
}
.mobile .tabs-inner .PageList .widget-content {
background: transparent;
border-top: 1px solid;
border-color: #999999;
color: #444444;
}
.mobile .tabs-inner .PageList .widget-content .pagelist-arrow {
border-left: 1px solid #999999;
}
--></style>
<style id='template-skin-1' type='text/css'><!--
body {
min-width: 960px;
}
.content-outer, .content-fauxcolumn-outer, .region-inner {
min-width: 960px;
max-width: 960px;
_width: 960px;
}
.main-inner .columns {
padding-left: 0px;
padding-right: 310px;
}
.main-inner .fauxcolumn-center-outer {
left: 0px;
right: 310px;
/* IE6 does not respect left and right together */
_width: expression(this.parentNode.offsetWidth -




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 104 of 155
parseInt("0px") -
parseInt("310px") + 'px');
}
.main-inner .fauxcolumn-left-outer {
width: 0px;
}
.main-inner .fauxcolumn-right-outer {
width: 310px;
}
.main-inner .column-left-outer {
width: 0px;
right: 100%;
margin-left: -0px;
}
.main-inner .column-right-outer {
width: 310px;
margin-right: -310px;
}
#layout {
min-width: 0;
}
#layout .content-outer {
min-width: 0;
width: 800px;
}
#layout .region-inner {
min-width: 0;
width: auto;
}
body#layout div.add_widget {
padding: 8px;
}
body#layout div.add_widget a {
margin-left: 32px;
}
--></style>
<meta content='3QUUen85diUqBGrPrTig4DjlzyHmEGUGXCvrTpu1PJA' name='google-site-
verification'/>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 105 of 155
<link href='https://www.blogger.com/dyn-
css/authorization.css?targetBlogID=8658040888510750793&amp;zx=92c89184-4164-4275-
bf8e-
dc009c100174' media='none' onload='if(media!=&#39;all&#39;)media=&#39;all&#39;' rel='st
ylesheet'/><noscript><link href='https://www.blogger.com/dyn-
css/authorization.css?targetBlogID=8658040888510750793&amp;zx=92c89184-4164-4275-
bf8e-dc009c100174' rel='stylesheet'/></noscript>
</head>
<body class='loading variant-light'>
<div class='navbar section' id='navbar' name='Navbar'><div class='widget Navbar' data-
version='1' id='Navbar1'><script type="text/javascript">
function setAttributeOnload(object, attribute, val) {
if(window.addEventListener) {
window.addEventListener('load',
function(){ object[attribute] = val; }, false);
} else {
window.attachEvent('onload', function(){ object[attribute] = val; });
}
}
</script>
<div id="navbar-iframe-container"></div>
<script type="text/javascript" src="https://apis.google.com/js/plusone.js"></script>
<script type="text/javascript">
gapi.load("gapi.iframes:gapi.iframes.style.bubble", function() {
if (gapi.iframes && gapi.iframes.getContext) {
gapi.iframes.getContext().openChild({
url:
'https://www.blogger.com/navbar.g?targetBlogID\x3d8658040888510750793\x26blogName\x
3dFarhad+Azima+Exposed+Again\x26publishMode\x3dPUBLISH_MODE_BLOGSPOT\x26
navbarType\x3dLIGHT\x26layoutType\x3dLAYOUTS\x26searchRoot\x3dhttps://farhadazima
scams.blogspot.com/search\x26blogLocale\x3den\x26v\x3d2\x26homepageUrl\x3dhttps://farha
dazimascams.blogspot.com/\x26targetPostID\x3d4643253253888213909\x26blogPostOrPage
Url\x3dhttps://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-
ray.html\x26vt\x3d6385988667497406354',
where: document.getElementById("navbar-iframe-container"),
id: "navbar-iframe"
});
}
});
</script><script type="text/javascript">




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 106 of 155
(function() {
var script = document.createElement('script');
script.type = 'text/javascript';
script.src = '//pagead2.googlesyndication.com/pagead/js/google_top_exp.js';
var head = document.getElementsByTagName('head')[0];
if (head) {
head.appendChild(script);
}})();
</script>
</div></div>
<div class='body-fauxcolumns'>
<div class='fauxcolumn-outer body-fauxcolumn-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<div class='content'>
<div class='content-fauxcolumns'>
<div class='fauxcolumn-outer content-fauxcolumn-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 107 of 155
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<div class='content-outer'>
<div class='content-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left content-fauxborder-left'>
<div class='fauxborder-right content-fauxborder-right'></div>
<div class='content-inner'>
<header>
<div class='header-outer'>
<div class='header-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left header-fauxborder-left'>
<div class='fauxborder-right header-fauxborder-right'></div>
<div class='region-inner header-inner'>
<div class='header section' id='header' name='Header'><div class='widget Header' data-
version='1' id='Header1'>
<div id='header-inner'>
<div class='titlewrapper'>
<h1 class='title'>
<a href='https://farhadazimascams.blogspot.com/'>
Farhad Azima Exposed Again
</a>
</h1>
</div>
<div class='descriptionwrapper'>
<p class='description'><span>Farhad Azima- An Iranian-born KC aviation figure with colorful
past.</span></p>
</div>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 108 of 155
</div>
</div></div>
</div>
</div>
<div class='header-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</header>
<div class='tabs-outer'>
<div class='tabs-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left tabs-fauxborder-left'>
<div class='fauxborder-right tabs-fauxborder-right'></div>
<div class='region-inner tabs-inner'>
<div class='tabs no-items section' id='crosscol' name='Cross-Column'></div>
<div class='tabs no-items section' id='crosscol-overflow' name='Cross-Column 2'></div>
</div>
</div>
<div class='tabs-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='main-outer'>
<div class='main-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left main-fauxborder-left'>
<div class='fauxborder-right main-fauxborder-right'></div>
<div class='region-inner main-inner'>
<div class='columns fauxcolumns'>
<div class='fauxcolumn-outer fauxcolumn-center-outer'>
<div class='cap-top'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 109 of 155
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='fauxcolumn-outer fauxcolumn-left-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<div class='fauxcolumn-outer fauxcolumn-right-outer'>
<div class='cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left'>
<div class='fauxborder-right'></div>
<div class='fauxcolumn-inner'>
</div>
</div>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 110 of 155
<div class='cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<!-- corrects IE6 width calculation -->
<div class='columns-inner'>
<div class='column-center-outer'>
<div class='column-center-inner'>
<div class='main section' id='main' name='Main'><div class='widget Blog' data-
version='1' id='Blog1'>
<div class='blog-posts hfeed'>
<div class="date-outer">
<h2 class='date-header'><span>Thursday, August 11, 2016</span></h2>
<div class="date-posts">
<div class='post-outer'>
<div class='post hentry uncustomized-post-
template' itemprop='blogPost' itemscope='itemscope' itemtype='http://schema.org/BlogPosting'
>
<meta content='8658040888510750793' itemprop='blogId'/>
<meta content='4643253253888213909' itemprop='postId'/>
<a name='4643253253888213909'></a>
<h3 class='post-title entry-title' itemprop='name'>
Farhad Azima and his associate Ray Adams data leaked
</h3>
<div class='post-header'>
<div class='post-header-line-1'></div>
</div>
<div class='post-body entry-content' id='post-body-
4643253253888213909' itemprop='articleBody'>
<b><a href="https://farhadazimascams.blogspot.nl/2016/08/farhad-azima-caught-up-in-fund-
raising.html" target="_blank">Farhad Azima</a> and his associate Ray Adams data
leaked.&nbsp;</b><br />
<b><br /></b>
<b>Click the link and find the details here:</b><br />
<b><br /></b>
<b><a href="http://1337x.to/torrent/1696317/FARHAD-AZIMA-OF-THE-AVIATION-
LEASING-GROUP-EXPOSED/" target="_blank">http://1337x.to/torrent/1696317/FARHAD-
AZIMA-OF-THE-AVIATION-LEASING-GROUP-EXPOSED/</a></b><br />




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 111 of 155
<br />
<b><u><a href="https://we.tl/G2v9igEB4i"><span style="font-size:
large;">Download</span></a></u></b><br />
<br />
<div style='clear: both;'></div>
</div>
<div class='post-footer'>
<div class='post-footer-line post-footer-line-1'>
<span class='post-author vcard'>
Posted by
<span class='fn' itemprop='author' itemscope='itemscope' itemtype='http://schema.org/Person'>
<meta content='https://www.blogger.com/profile/03779171998136006667' itemprop='url'/>
<a class='g-
profile' href='https://www.blogger.com/profile/03779171998136006667' rel='author' title='auth
or profile'>
<span itemprop='name'>crimeboard</span>
</a>
</span>
</span>
<span class='post-timestamp'>
at
<meta content='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-
associate-ray.html' itemprop='url'/>
<a class='timestamp-link' href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-
and-his-associate-ray.html' rel='bookmark' title='permanent
link'><abbr class='published' itemprop='datePublished' title='2016-08-11T23:30:00-
07:00'>11:30 PM</abbr></a>
</span>
<span class='reaction-buttons'>
</span>
<span class='post-comment-link'>
</span>
<span class='post-backlinks post-comment-link'>
</span>
<span class='post-icons'>
<span class='item-control blog-admin pid-853471483'>
<a href='https://www.blogger.com/post-
edit.g?blogID=8658040888510750793&postID=4643253253888213909&from=pencil' title='E
dit Post'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 112 of 155
<img alt='' class='icon-
action' height='18' src='https://resources.blogblog.com/img/icon18_edit_allbkg.gif' width='18'/
>
</a>
</span>
</span>
<div class='post-share-buttons goog-inline-block'>
<a class='goog-inline-block share-button sb-email' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=4643253253888213909&target=email' target
='_blank' title='Email This'><span class='share-button-link-text'>Email
This</span></a><a class='goog-inline-block share-button sb-
blog' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=4643253253888213909&target=blog' onclick
='window.open(this.href, "_blank", "height=270,width=475"); return
false;' target='_blank' title='BlogThis!'><span class='share-button-link-
text'>BlogThis!</span></a><a class='goog-inline-block share-button sb-
twitter' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=4643253253888213909&target=twitter' target
='_blank' title='Share to Twitter'><span class='share-button-link-text'>Share to
Twitter</span></a><a class='goog-inline-block share-button sb-
facebook' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=4643253253888213909&target=facebook' on
click='window.open(this.href, "_blank", "height=430,width=640"); return
false;' target='_blank' title='Share to Facebook'><span class='share-button-link-text'>Share to
Facebook</span></a><a class='goog-inline-block share-button sb-
pinterest' href='https://www.blogger.com/share-
post.g?blogID=8658040888510750793&postID=4643253253888213909&target=pinterest' tar
get='_blank' title='Share to Pinterest'><span class='share-button-link-text'>Share to
Pinterest</span></a><div class='goog-inline-block google-plus-share-
container'><g:plusone source='blogger:blog:plusone' href='http://farhadazimascams.blogspot.c
om/2016/08/farhad-azima-and-his-associate-
ray.html' size='medium' width='300' annotation='inline'/></div>
</div>
</div>
<div class='post-footer-line post-footer-line-2'>
<span class='post-labels'>
Labels:
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20exposed' rel
='tag'>farhad azima exposed</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20family' rel='
tag'>farhad azima family</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20fraud' rel='t
ag'>farhad azima fraud</a>,




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 113 of 155
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20kansas' rel='
tag'>farhad azima kansas</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20panama%20
papers' rel='tag'>farhad azima panama papers</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20scam' rel='t
ag'>farhad azima scam</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20scammer' re
l='tag'>farhad azima scammer</a>,
<a href='https://farhadazimascams.blogspot.com/search/label/farhad%20azima%20usa' rel='tag'
>farhad azima usa</a>
</span>
</div>
<div class='post-footer-line post-footer-line-3'>
<span class='post-location'>
</span>
</div>
</div>
</div>
<div class='comments' id='comments'>
<a name='comments'></a>
<h4>No comments:</h4>
<div id='Blog1_comments-block-wrapper'>
<dl class='avatar-comment-indent' id='comments-block'>
</dl>
</div>
<p class='comment-footer'>
<div class='comment-form'>
<a name='comment-form'></a>
<h4 id='comment-post-message'>Post a Comment</h4>
<p>
</p>
<a href='https://www.blogger.com/comment-
iframe.g?blogID=8658040888510750793&postID=4643253253888213909' id='comment-
editor-src'></a>
<iframe allowtransparency='true' class='blogger-iframe-colorize blogger-comment-from-
post' frameborder='0' height='410px' id='comment-editor' name='comment-
editor' src='' width='100%'></iframe>
<script src='https://www.blogger.com/static/v1/jsbin/2567313873-
comment_from_post_iframe.js' type='text/javascript'></script>
<script type='text/javascript'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 114 of 155
BLOG_CMT_createIframe('https://www.blogger.com/rpc_relay.html');
</script>
</div>
</p>
<div id='backlinks-container'>
<div id='Blog1_backlinks-container'>
<a name='links'></a><h4><!--Can't find substitution for tag [post.backlinksLabel]--></h4>
<p class='comment-footer'>
<a class='comment-link' href='' id='Blog1_backlinks-create-link' target='_blank'><!--Can't find
substitution for tag [post.createLinkLabel]--></a>
</p>
</div>
</div>
</div>
</div>
</div></div>
</div>
<div class='blog-pager' id='blog-pager'>
<span id='blog-pager-newer-link'>
<a class='blog-pager-newer-link' href='https://farhadazimascams.blogspot.com/2016/08/fraud-
between-farhad-azima-and-jay.html' id='Blog1_blog-pager-newer-link' title='Newer
Post'>Newer Post</a>
</span>
<span id='blog-pager-older-link'>
<a class='blog-pager-older-link' href='https://farhadazimascams.blogspot.com/2016/08/farhad-
azima-caught-up-in-fund-raising.html' id='Blog1_blog-pager-older-link' title='Older
Post'>Older Post</a>
</span>
<a class='home-link' href='https://farhadazimascams.blogspot.com/'>Home</a>
</div>
<div class='clear'></div>
<div class='post-feeds'>
<div class='feed-links'>
Subscribe to:
<a class='feed-
link' href='https://farhadazimascams.blogspot.com/feeds/4643253253888213909/comments/def
ault' target='_blank' type='application/atom+xml'>Post Comments (Atom)</a>
</div>
</div>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 115 of 155
<script type='text/javascript'>
window.___gcfg = { 'lang': 'en' };
</script>
</div></div>
</div>
</div>
<div class='column-left-outer'>
<div class='column-left-inner'>
<aside>
</aside>
</div>
</div>
<div class='column-right-outer'>
<div class='column-right-inner'>
<aside>
<div class='sidebar section' id='sidebar-right-1'><div class='widget Profile' data-
version='1' id='Profile1'>
<h2>About Me</h2>
<div class='widget-content'>
<dl class='profile-datablock'>
<dt class='profile-data'>
<a class='profile-name-link g-
profile' href='https://www.blogger.com/profile/03779171998136006667' rel='author' style='bac
kground-image: url(//www.blogger.com/img/logo-16.png);'>
crimeboard
</a>
</dt>
</dl>
<a class='profile-
link' href='https://www.blogger.com/profile/03779171998136006667' rel='author'>View my
complete profile</a>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=Profile&widgetId=Profile1&action=editWidget&sectionId=sidebar-right-
1' onclick='return
_WidgetManager._PopupConfig(document.getElementById("Profile1"));' target='configProfile
1' title='Edit'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 116 of 155
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div>
</div><div class='widget BlogArchive' data-version='1' id='BlogArchive1'>
<h2>Farhad Azima</h2>
<div class='widget-content'>
<div id='ArchiveList'>
<div id='BlogArchive1_ArchiveList'>
<ul class='hierarchy'>
<li class='archivedate expanded'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy toggle-open'>
&#9660;&#160;
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/'>
2016
</a>
<span class='post-count' dir='ltr'>(9)</span>
<ul class='hierarchy'>
<li class='archivedate expanded'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy toggle-open'>
&#9660;&#160;
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/08/'>
August
</a>
<span class='post-count' dir='ltr'>(4)</span>
<ul class='posts'>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-ceo-of-aviation-
leasing.html'>Farhad Azima CEO of Aviation Leasing Group - Expos...</a></li>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 117 of 155
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-caught-up-in-fund-
raising.html'>Farhad Azima caught up in Fund Raising Scandal</a></li>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-
ray.html'>Farhad Azima and his associate Ray Adams data leak...</a></li>
<li><a href='https://farhadazimascams.blogspot.com/2016/08/fraud-between-farhad-azima-
and-jay.html'>Fraud between Farhad Azima and Jay Solomon</a></li>
</ul>
</li>
</ul>
<ul class='hierarchy'>
<li class='archivedate collapsed'>
<a class='toggle' href='javascript:void(0)'>
<span class='zippy'>
&#9658;&#160;
</span>
</a>
<a class='post-count-link' href='https://farhadazimascams.blogspot.com/2016/09/'>
September
</a>
<span class='post-count' dir='ltr'>(5)</span>
</li>
</ul>
</li>
</ul>
</div>
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=BlogArchive&widgetId=BlogArchive1&action=editWidget&sectionId=sidebar-right-
1' onclick='return
_WidgetManager._PopupConfig(document.getElementById("BlogArchive1"));' target='config
BlogArchive1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 118 of 155
<div class='clear'></div>
</div>
</div></div>
</aside>
</div>
</div>
</div>
<div style='clear: both'></div>
<!-- columns -->
</div>
<!-- main -->
</div>
</div>
<div class='main-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
<footer>
<div class='footer-outer'>
<div class='footer-cap-top cap-top'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
<div class='fauxborder-left footer-fauxborder-left'>
<div class='fauxborder-right footer-fauxborder-right'></div>
<div class='region-inner footer-inner'>
<div class='foot no-items section' id='footer-1'></div>
<table border='0' cellpadding='0' cellspacing='0' class='section-columns columns-2'>
<tbody>
<tr>
<td class='first columns-cell'>
<div class='foot no-items section' id='footer-2-1'></div>
</td>
<td class='columns-cell'>
<div class='foot section' id='footer-2-2'><div class='widget HTML' data-
version='1' id='HTML1'>
<div class='widget-content'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 119 of 155
<!-- Start of StatCounter Code for Blogger / Blogspot -->
<script type="text/javascript">
//<![CDATA[
var sc_project=11312557;
var sc_invisible=0;
var sc_security="f9083051";
var scJsHost = (("https:" == document.location.protocol) ? "https://secure." : "http://www.");
document.write("<sc"+"ript type='text/javascript' src='" + scJsHost+
"statcounter.com/counter/counter_xhtml.js'></"+"script>");
//]]>
</script>
<noscript><div class="statcounter"><a title="web stats" href="http://statcounter.com/"
class="statcounter"><img class="statcounter"
src="//c.statcounter.com/11312557/0/f9083051/0/" alt="web stats" /></a></div></noscript>
<!-- End of StatCounter Code for Blogger / Blogspot -->
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=HTML&widgetId=HTML1&action=editWidget&sectionId=footer-2-
2' onclick='return
_WidgetManager._PopupConfig(document.getElementById("HTML1"));' target='configHTM
L1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div></div>
</td>
</tr>
</tbody>
</table>
<!-- outside of the include in order to lock Attribution widget -->
<div class='foot section' id='footer-3' name='Footer'><div class='widget Attribution' data-
version='1' id='Attribution1'>
<div class='widget-content' style='text-align: center;'>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 120 of 155
Awesome Inc. theme. Powered
by <a href='https://www.blogger.com' target='_blank'>Blogger</a>.
</div>
<div class='clear'></div>
<span class='widget-item-control'>
<span class='item-control blog-admin'>
<a class='quickedit' href='//www.blogger.com/rearrange?blogID=8658040888510750793&wid
getType=Attribution&widgetId=Attribution1&action=editWidget&sectionId=footer-
3' onclick='return
_WidgetManager._PopupConfig(document.getElementById("Attribution1"));' target='configAt
tribution1' title='Edit'>
<img alt='' height='18' src='https://resources.blogblog.com/img/icon18_wrench_allbkg.png' wi
dth='18'/>
</a>
</span>
</span>
<div class='clear'></div>
</div></div>
</div>
</div>
<div class='footer-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</footer>
<!-- content -->
</div>
</div>
<div class='content-cap-bottom cap-bottom'>
<div class='cap-left'></div>
<div class='cap-right'></div>
</div>
</div>
</div>
<script type='text/javascript'>
window.setTimeout(function() {
document.body.className = document.body.className.replace('loading', '');
}, 10);




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 121 of 155
</script>
<script src='https://apis.google.com/js/plusone.js' type='text/javascript'></script>
<script type="text/javascript" src="https://www.blogger.com/static/v1/widgets/1109080293-
widgets.js"></script>
<script type='text/javascript'>
window['__wavt'] = 'AOuZoY5EOTjc5L9-
XTkY3ElHYyxL6ce1FQ:1531491802119';_WidgetManager._Init('//www.blogger.com/rearran
ge?blogID\x3d8658040888510750793','//farhadazimascams.blogspot.com/2016/08/farhad-
azima-and-his-associate-ray.html','8658040888510750793');
_WidgetManager._SetDataContext([{'name': 'blog', 'data': {'blogId': '8658040888510750793',
'title': 'Farhad Azima Exposed Again', 'url':
'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-ray.html',
'canonicalUrl': 'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-
associate-ray.html', 'homepageUrl': 'https://farhadazimascams.blogspot.com/', 'searchUrl':
'https://farhadazimascams.blogspot.com/search', 'canonicalHomepageUrl':
'https://farhadazimascams.blogspot.com/', 'blogspotFaviconUrl':
'https://farhadazimascams.blogspot.com/favicon.ico', 'bloggerUrl': 'https://www.blogger.com',
'hasCustomDomain': false, 'httpsEnabled': true, 'enabledCommentProfileImages': true,
'gPlusViewType': 'FILTERED_POSTMOD', 'adultContent': false, 'analyticsAccountNumber': '',
'encoding': 'UTF-8', 'locale': 'en', 'localeUnderscoreDelimited': 'en', 'languageDirection': 'ltr',
'isPrivate': false, 'isMobile': false, 'isMobileRequest': false, 'mobileClass': '', 'isPrivateBlog':
false, 'feedLinks': '\x3clink rel\x3d\x22alternate\x22 type\x3d\x22application/atom+xml\x22
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/posts/default\x22 /\x3e\n\x3clink
rel\x3d\x22alternate\x22 type\x3d\x22application/rss+xml\x22 title\x3d\x22Farhad Azima
Exposed Again - RSS\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/posts/default?alt\x3drss\x22
/\x3e\n\x3clink rel\x3d\x22service.post\x22 type\x3d\x22application/atom+xml\x22
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://www.blogger.com/feeds/8658040888510750793/posts/default\x22
/\x3e\n\n\x3clink rel\x3d\x22alternate\x22 type\x3d\x22application/atom+xml\x22
title\x3d\x22Farhad Azima Exposed Again - Atom\x22
href\x3d\x22https://farhadazimascams.blogspot.com/feeds/4643253253888213909/comments/d
efault\x22 /\x3e\n', 'meTag': '', 'openIdOpTag': '', 'adsenseHostId': 'ca-host-pub-
1556223355139109', 'adsenseHasAds': false, 'ieCssRetrofitLinks': '\x3c!--[if IE]\x3e\x3cscript
type\x3d\x22text/javascript\x22
src\x3d\x22https://www.blogger.com/static/v1/jsbin/3658603751-
ieretrofit.js\x22\x3e\x3c/script\x3e\n\x3c![endif]--\x3e', 'view': '',
'dynamicViewsCommentsSrc':
'//www.blogblog.com/dynamicviews/4224c15c4e7c9321/js/comments.js',
'dynamicViewsScriptSrc': '//www.blogblog.com/dynamicviews/dd8a54301fb6e352',
'plusOneApiSrc': 'https://apis.google.com/js/plusone.js', 'sharing': {'platforms': [{'name': 'Get
link', 'key': 'link', 'shareMessage': 'Get link', 'target': ''}, {'name': 'Facebook', 'key': 'facebook',
'shareMessage': 'Share to Facebook', 'target': 'facebook'}, {'name': 'BlogThis!', 'key': 'blogThis',
'shareMessage': 'BlogThis!', 'target': 'blog'}, {'name': 'Twitter', 'key': 'twitter', 'shareMessage':




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 122 of 155
'Share to Twitter', 'target': 'twitter'}, {'name': 'Pinterest', 'key': 'pinterest', 'shareMessage': 'Share
to Pinterest', 'target': 'pinterest'}, {'name': 'Google+', 'key': 'googlePlus', 'shareMessage': 'Share
to Google+', 'target': 'googleplus'}, {'name': 'Email', 'key': 'email', 'shareMessage': 'Email',
'target': 'email'}], 'googlePlusShareButtonWidth': 300, 'googlePlusBootstrap': '\x3cscript
type\x3d\x22text/javascript\x22\x3ewindow.___gcfg \x3d {\x27lang\x27:
\x27en\x27};\x3c/script\x3e'}, 'hasCustomJumpLinkMessage': false, 'jumpLinkMessage': 'Read
more', 'pageType': 'item', 'postId': '4643253253888213909', 'pageName': 'Farhad Azima and his
associate Ray Adams data leaked', 'pageTitle': 'Farhad Azima Exposed Again: Farhad Azima
and his associate Ray Adams data leaked', 'metaDescription': 'farhad azima, farhad azima
family, farhad azima fraud, farhad azima exposed, farhad azima scandal, farhad azima
scammer, farhad azima usa'}}, {'name': 'features', 'data': {'cmt_anon_warn': 'false',
'lazy_images': 'false', 'poll_static': 'true', 'sharing_get_link_dialog': 'true', 'sharing_native':
'false'}}, {'name': 'messages', 'data': {'edit': 'Edit', 'linkCopiedToClipboard': 'Link copied to
clipboard!', 'ok': 'Ok', 'postLink': 'Post Link'}}, {'name': 'template', 'data': {'name': 'custom',
'localizedName': 'Custom', 'isResponsive': false, 'isAlternateRendering': false, 'isCustom': true,
'variant': 'light', 'variantId': 'light'}}, {'name': 'view', 'data': {'classic': {'name': 'classic', 'url':
'?view\x3dclassic'}, 'flipcard': {'name': 'flipcard', 'url': '?view\x3dflipcard'}, 'magazine': {'name':
'magazine', 'url': '?view\x3dmagazine'}, 'mosaic': {'name': 'mosaic', 'url': '?view\x3dmosaic'},
'sidebar': {'name': 'sidebar', 'url': '?view\x3dsidebar'}, 'snapshot': {'name': 'snapshot', 'url':
'?view\x3dsnapshot'}, 'timeslide': {'name': 'timeslide', 'url': '?view\x3dtimeslide'}, 'isMobile':
false, 'title': 'Farhad Azima and his associate Ray Adams data leaked', 'description': 'farhad
azima, farhad azima family, farhad azima fraud, farhad azima exposed, farhad azima scandal,
farhad azima scammer, farhad azima usa', 'url':
'https://farhadazimascams.blogspot.com/2016/08/farhad-azima-and-his-associate-ray.html',
'type': 'item', 'isSingleItem': true, 'isMultipleItems': false, 'isError': false, 'isPage': false, 'isPost':
true, 'isHomepage': false, 'isArchive': false, 'isLabelSearch': false, 'postId':
4643253253888213909}}]);
_WidgetManager._RegisterWidget('_NavbarView', new _WidgetInfo('Navbar1', 'navbar', null,
document.getElementById('Navbar1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_HeaderView', new _WidgetInfo('Header1', 'header', null,
document.getElementById('Header1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_BlogView', new _WidgetInfo('Blog1', 'main', null,
document.getElementById('Blog1'), {'cmtInteractionsEnabled': false, 'showBacklinks': true,
'postId': '4643253253888213909', 'useNgc': false, 'lightboxEnabled': true, 'lightboxModuleUrl':
'https://www.blogger.com/static/v1/jsbin/3172052966-lbx.js', 'lightboxCssUrl':
'https://www.blogger.com/static/v1/v-css/368954415-lightbox_bundle.css'},
'displayModeFull'));
_WidgetManager._RegisterWidget('_ProfileView', new _WidgetInfo('Profile1', 'sidebar-right-
1', null, document.getElementById('Profile1'), {}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_BlogArchiveView', new _WidgetInfo('BlogArchive1',
'sidebar-right-1', null, document.getElementById('BlogArchive1'), {'languageDirection': 'ltr',
'loadingMessage': 'Loading\x26hellip;'}, 'displayModeFull'));
_WidgetManager._RegisterWidget('_HTMLView', new _WidgetInfo('HTML1', 'footer-2-2',
null, document.getElementById('HTML1'), {}, 'displayModeFull'));




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 123 of 155
_WidgetManager._RegisterWidget('_AttributionView', new _WidgetInfo('Attribution1',
'footer-3', null, document.getElementById('Attribution1'), {}, 'displayModeFull'));
</script>
</body>
</html>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 124 of 155
           Attachment 9




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 125 of 155
7/13/2018                                   First blog about Farhad Azima Scam – Farhad Azima | Farhad Azima Scammer

                                             Farhad Azima | Farhad Azima Scammer

                    Farhad Azima CEO of Aviation Leasing Group- A big Panama Scammer exposed again




First blog about Farhad Azima Scam

azamsyed123 / August 8, 2016January 28, 2017 / farhad azima, farhad azima exposed, farhad azima fraud,
farhad azima Iranian Born charter, farhad azima kansas, farhad azima scam, farhad azima usa, Ray Adams




This is my ﬁrst post. Click the link to ﬁnd Azima’s involvement with some big personality’s including his
close associates like Ray Adams & Dr. Khater Massaad.

Download (h ps://we.tl/G2v9igEB4i)

I have wri en this post to tell readers how this Iranian Born Charter,“Farhad Azima”found in Panama Papers
and other major scandals of USA.




https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-azima-scammer/                                 1/2
              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 126 of 155
7/13/2018                                   First blog about Farhad Azima Scam – Farhad Azima | Farhad Azima Scammer
                                            Advertisements




                                             New York:
                                             New Rule in Mineola, NY Leaves Drivers Fuming



                                                                                     Report this ad




                                                         New York Drivers With No
                                                         Tickets In 3 Years Are In For
                                                         A Big Surprise


                                                             Report this ad
#farhad azima, #farhad azima family, #farhad azima fraud, #farhad azima Iranian Born charter, #farhad azima
kansas, #farhad azima scam, #farhad azima usa, #panama papers, #Ray Adams



Published by azamsyed123

Post information about farhad azima View all posts by azamsyed123



                                                               WordPress.com.




https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-azima-scammer/                                 2/2
              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 127 of 155
           Attachment 10




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 128 of 155
<!DOCTYPE html>
<html class="no-js" lang="en">
<head>
<meta charset="UTF-8">
<meta name="viewport" content="width=device-width, initial-scale=1">
<link rel="profile" href="http://gmpg.org/xfn/11">
<link rel="pingback" href="https://exposedfarhadazima.wordpress.com/xmlrpc.php">
<title>First blog about Farhad Azima Scam &#8211; Farhad Azima | Farhad Azima
Scammer</title>
<script>document.documentElement.className =
document.documentElement.className.replace("no-js","js");</script>
<link rel='dns-prefetch' href='//s2.wp.com' />
<link rel='dns-prefetch' href='//s1.wp.com' />
<link rel='dns-prefetch' href='//s0.wp.com' />
<link rel='dns-prefetch' href='//fonts.googleapis.com' />
<link rel='dns-prefetch' href='//s.pubmine.com' />
<link rel='dns-prefetch' href='//x.bidswitch.net' />
<link rel='dns-prefetch' href='//static.criteo.net' />
<link rel='dns-prefetch' href='//ib.adnxs.com' />
<link rel='dns-prefetch' href='//aax.amazon-adsystem.com' />
<link rel='dns-prefetch' href='//bidder.criteo.com' />
<link rel='dns-prefetch' href='//cas.criteo.com' />
<link rel='dns-prefetch' href='//gum.criteo.com' />
<link rel='dns-prefetch' href='//ads.pubmatic.com' />
<link rel='dns-prefetch' href='//gads.pubmatic.com' />
<link rel='dns-prefetch' href='//tpc.googlesyndication.com' />
<link rel='dns-prefetch' href='//ad.doubleclick.net' />
<link rel='dns-prefetch' href='//googleads.g.doubleclick.net' />
<link rel='dns-prefetch' href='//www.googletagservices.com' />
<link rel='dns-prefetch' href='//cdn.switchadhub.com' />
<link rel='dns-prefetch' href='//delivery.g.switchadhub.com' />
<link rel='dns-prefetch' href='//delivery.swid.switchadhub.com' />
<link rel="alternate" type="application/rss+xml" title="Farhad Azima | Farhad Azima
Scammer &raquo; Feed" href="https://exposedfarhadazima.wordpress.com/feed/" />
<link rel="alternate" type="application/rss+xml" title="Farhad Azima | Farhad Azima
Scammer &raquo; Comments
Feed" href="https://exposedfarhadazima.wordpress.com/comments/feed/" />
<link rel="alternate" type="application/rss+xml" title="Farhad Azima | Farhad Azima
Scammer &raquo; First blog about Farhad Azima&nbsp;Scam Comments




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 129 of 155
Feed" href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-
azima-scammer/feed/" />
<script type="text/javascript">
/* <![CDATA[ */
function addLoadEvent(func) {
var oldonload = window.onload;
if (typeof window.onload != 'function') {
window.onload = func;
} else {
window.onload = function () {
oldonload();
func();
}
}
}
/* ]]> */
</script>
<script type="text/javascript">
window._wpemojiSettings = {"baseUrl":"https:\/\/s0.wp.com\/wp-content\/mu-
plugins\/wpcom-smileys\/twemoji\/2\/72x72\/","ext":".png","svgUrl":"https:\/\/s0.wp.com\/wp-
content\/mu-plugins\/wpcom-
smileys\/twemoji\/2\/svg\/","svgExt":".svg","source":{"concatemoji":"https:\/\/s1.wp.com\/wp-
includes\/js\/wp-emoji-release.min.js?m=1516999477h&ver=4.9.7"}};
!function(a,b,c){function d(a,b){var
c=String.fromCharCode;l.clearRect(0,0,k.width,k.height),l.fillText(c.apply(this,a),0,0);var
d=k.toDataURL();l.clearRect(0,0,k.width,k.height),l.fillText(c.apply(this,b),0,0);var
e=k.toDataURL();return d===e}function e(a){var
b;if(!l||!l.fillText)return!1;switch(l.textBaseline="top",l.font="600 32px
Arial",a){case"flag":return!(b=d([55356,56826,55356,56819],[55356,56826,8203,55356,56819
]))&&(b=d([55356,57332,56128,56423,56128,56418,56128,56421,56128,56430,56128,56423,
56128,56447],[55356,57332,8203,56128,56423,8203,56128,56418,8203,56128,56421,8203,56
128,56430,8203,56128,56423,8203,56128,56447]),!b);case"emoji":return
b=d([55357,56692,8205,9792,65039],[55357,56692,8203,9792,65039]),!b}return!1}function
f(a){var
c=b.createElement("script");c.src=a,c.defer=c.type="text/javascript",b.getElementsByTagNam
e("head")[0].appendChild(c)}var
g,h,i,j,k=b.createElement("canvas"),l=k.getContext&&k.getContext("2d");for(j=Array("flag","
emoji"),c.supports={everything:!0,everythingExceptFlag:!0},i=0;i<j.length;i++)c.supports[j[i]]
=e(j[i]),c.supports.everything=c.supports.everything&&c.supports[j[i]],"flag"!==j[i]&&(c.supp
orts.everythingExceptFlag=c.supports.everythingExceptFlag&&c.supports[j[i]]);c.supports.eve
rythingExceptFlag=c.supports.everythingExceptFlag&&!c.supports.flag,c.DOMReady=!1,c.rea
dyCallback=function(){c.DOMReady=!0},c.supports.everything||(h=function(){c.readyCallbac




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 130 of 155
k()},b.addEventListener?(b.addEventListener("DOMContentLoaded",h,!1),a.addEventListener
("load",h,!1)):(a.attachEvent("onload",h),b.attachEvent("onreadystatechange",function(){"com
plete"===b.readyState&&c.readyCallback()})),g=c.source||{},g.concatemoji?f(g.concatemoji):
g.wpemoji&&g.twemoji&&(f(g.twemoji),f(g.wpemoji)))}(window,document,window._wpemo
jiSettings);
</script>
<style type="text/css">
img.wp-smiley,
img.emoji {
display: inline !important;
border: none !important;
box-shadow: none !important;
height: 1em !important;
width: 1em !important;
margin: 0 .07em !important;
vertical-align: -0.1em !important;
background: none !important;
padding: 0 !important;
}
</style>
<link rel='stylesheet' id='all-css-0-1' href='https://s0.wp.com/_static/??-
eJx9kNsOwiAMhl9IRBc344XxWTg0GxsFsrJM317YMo2HcEPa8n/t3/I5MOVdBBc5TizYqT
WO+ByUR0ZoLDy+sr0i2vH/mDUDEO8hBqEGtmQ/cml9+57jRy008dZ6KWyptfIjpDoGEb
MCQRsBFjDJSthsdAsx4bTFLMK9iGBotkE57NIqxaXX60gZRiBi6UUzIYtd8lbkEpXdr2daD
H5UVtRw56NJNL2C/HHD67GuTufmcqjq/gluLanb?cssminify=yes' type='text/css' media='all'
/>
<link rel='stylesheet' id='rebalance-fonts-
css' href='https://fonts.googleapis.com/css?family=Rubik%3A400%2C500%2C700%2C900%2
C400italic%2C700italic%7CLibre+Baskerville%3A700%2C900%2C400italic&#038;subset=la
tin%2Clatin-ext' type='text/css' media='all' />
<link rel='stylesheet' id='all-css-2-1' href='https://s2.wp.com/_static/??-
eJyNj0EOwjAMBD+EsQqlnBBvSYMbAk4cNa4ifk8QFyqqws0j76xlLAmsRKWoqFcKlDFN
PY7UGzbREg51CaZQljCHrc15g7/0rA/+M+qjfcehJCvhSwoTJJ6cjxmLvzjSjDTVrdw9AZuCS
iGx0Vq8fHWhIIv1hsHXyBzWZEcCLNaolzgDGNj4cU2t37K4OjqsqQ98Sedwag67Y7dvm7a
7PQGjNpmh?cssminify=yes' type='text/css' media='all' />
<link rel='stylesheet' id='print-css-3-1' href='https://s2.wp.com/wp-content/mu-plugins/global-
print/global-print.css?m=1465851035h&cssminify=yes' type='text/css' media='print' />
<link rel='stylesheet' id='all-css-4-1' href='https://s0.wp.com/_static/??-
eJx9i0EKQjEMBS9kDdVfXIlnyS+1jaRJafLx+uJCRBRXbx7MwH2ErOJFHPoWBm+VxACz
k8qK8037bLaD3/pQ83BlpAnWcJLU1/6rTDMhB9aqn+cr8lZ6MWgLVNYV+Slc+jmmQzrFt
MTj7QHFQEmu?cssminify=yes' type='text/css' media='all' />




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 131 of 155
<script type='text/javascript' src='https://s0.wp.com/_static/??-
eJyFztEKwjAMBdAfsquTiXsRv6XWOFKXtDbphn69HeiDMBQCgdzDJXZOBtmP5QJiQ517
gfx4rybIxv4ChnDITqEh5A/2kRVYF0vxjCOYIpDdUG+16BpXXIqiBCIVraTfLyFPCPNfFkC
T8zeTQfC5tJ7o2Hb9Yde3+24bXjRNW9I='></script>
<link rel="EditURI" type="application/rsd+xml" title="RSD" href="https://exposedfarhadazim
a.wordpress.com/xmlrpc.php?rsd" />
<link rel="wlwmanifest" type="application/wlwmanifest+xml" href="https://s1.wp.com/wp-
includes/wlwmanifest.xml" />
<link rel='prev' title='Farhad Azima
Information' href='https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-
information/' />
<link rel='next' title='Fraud between Farhad Azima and
Jay&nbsp;Solomon' href='https://exposedfarhadazima.wordpress.com/2016/08/31/fraud-
between-farhad-azima-and-jay-solomon/' />
<meta name="generator" content="WordPress.com" />
<link rel="canonical" href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-
azima-farhad-azima-scammer/" />
<link rel='shortlink' href='https://wp.me/p7MWVq-4' />
<link rel="alternate" type="application/json+oembed" href="https://public-
api.wordpress.com/oembed/?format=json&amp;url=https%3A%2F%2Fexposedfarhadazima.w
ordpress.com%2F2016%2F08%2F08%2Ffarhad-azima-farhad-azima-
scammer%2F&amp;for=wpcom-auto-discovery"
/><link rel="alternate" type="application/xml+oembed" href="https://public-
api.wordpress.com/oembed/?format=xml&amp;url=https%3A%2F%2Fexposedfarhadazima.w
ordpress.com%2F2016%2F08%2F08%2Ffarhad-azima-farhad-azima-
scammer%2F&amp;for=wpcom-auto-discovery" />
<!-- Jetpack Open Graph Tags -->
<meta property="og:type" content="article" />
<meta property="og:title" content="First blog about Farhad Azima Scam" />
<meta property="og:url" content="https://exposedfarhadazima.wordpress.com/2016/08/08/farh
ad-azima-farhad-azima-scammer/" />
<meta property="og:description" content="This is my first post. Click the link to find
Azima&#8217;s involvement with some big personality’s including his close associates like
Ray Adams &amp; Dr. Khater Massaad.
Download
I have writte…" />
<meta property="article:published_time" content="2016-08-08T11:01:04+00:00" />
<meta property="article:modified_time" content="2017-01-27T20:28:46+00:00" />
<meta property="og:site_name" content="Farhad Azima | Farhad Azima Scammer" />
<meta property="og:image" content="https://exposedfarhadazima.files.wordpress.com/2016/08
/farhad-azima-fraud.jpg" />




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 132 of 155
<meta property="og:image:width" content="960" />
<meta property="og:image:height" content="668" />
<meta property="og:locale" content="en_US" />
<meta name="twitter:site" content="@wordpressdotcom" />
<meta name="twitter:text:title" content="First blog about Farhad Azima&nbsp;Scam" />
<meta name="twitter:image" content="https://exposedfarhadazima.files.wordpress.com/2016/0
8/farhad-azima-fraud.jpg?w=640" />
<meta name="twitter:card" content="summary_large_image" />
<meta property="fb:app_id" content="249643311490" />
<meta property="article:publisher" content="https://www.facebook.com/WordPresscom" />
<!-- End Jetpack Open Graph Tags -->
<link rel="shortcut icon" type="image/x-
icon" href="https://s1.wp.com/i/favicon.ico" sizes="16x16 24x24 32x32 48x48" />
<link rel="icon" type="image/x-icon" href="https://s1.wp.com/i/favicon.ico" sizes="16x16
24x24 32x32 48x48" />
<link rel="apple-touch-icon-precomposed" href="https://s2.wp.com/i/webclip.png" />
<link rel="search" type="application/opensearchdescription+xml" href="https://exposedfarhad
azima.wordpress.com/osd.xml" title="Farhad Azima &#124; Farhad Azima Scammer" />
<link rel="search" type="application/opensearchdescription+xml" href="https://s1.wp.com/ope
nsearch.xml" title="WordPress.com" />
<meta name="theme-color" content="#ffffff" />
<meta name="application-name" content="Farhad Azima | Farhad Azima Scammer"
/><meta name="msapplication-window" content="width=device-width;height=device-height"
/><meta name="msapplication-tooltip" content="Farhad Azima CEO of Aviation Leasing
Group- A big Panama Scammer exposed again" /><meta name="msapplication-
task" content="name=Subscribe;action-
uri=https://exposedfarhadazima.wordpress.com/feed/;icon-uri=https://s1.wp.com/i/favicon.ico"
/><meta name="msapplication-task" content="name=Sign up for a free blog;action-
uri=http://wordpress.com/signup/;icon-uri=https://s1.wp.com/i/favicon.ico"
/><meta name="msapplication-task" content="name=WordPress.com Support;action-
uri=http://support.wordpress.com/;icon-uri=https://s1.wp.com/i/favicon.ico"
/><meta name="msapplication-task" content="name=WordPress.com Forums;action-
uri=http://forums.wordpress.com/;icon-uri=https://s1.wp.com/i/favicon.ico"
/><meta name="description" content="This is my first post. Click the link to find
Azima&#039;s involvement with some big personality’s including his close associates like Ray
Adams &amp; Dr. Khater Massaad. Download I have written this post to tell readers how this
Iranian Born Charter,&quot;Farhad Azima&quot;found in Panama Papers and other major
scandals of USA." />
<script type="text/javascript">
function __ATA_CC() {var v = document.cookie.match('(^|;) ?personalized-ads-
consent=([^;]*)(;|$)');return v ? 1 : 0;}




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 133 of 155
var __ATA_PP = { pt: 1, ht: 0, tn: 'rebalance', amp: false, siteid: 8982, consent: __ATA_CC()
};
var __ATA = __ATA || {};
__ATA.cmd = __ATA.cmd || [];
__ATA.criteo = __ATA.criteo || {};
__ATA.criteo.cmd = __ATA.criteo.cmd || [];
</script>
<script type="text/javascript" src="//s.pubmine.com/head.js" async></script><link rel="ampht
ml" href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-azima-
scammer/amp/"><style type="text/css" id="syntaxhighlighteranchor"></style>
<script type="text/javascript">
window.google_analytics_uacct = "UA-52447-2";
</script>
<script type="text/javascript">
var _gaq = _gaq || [];
_gaq.push(['_setAccount', 'UA-52447-2']);
_gaq.push(['_setDomainName', 'wordpress.com']);
_gaq.push(['_initData']);
_gaq.push(['_trackPageview']);
(function() {
var ga = document.createElement('script'); ga.type = 'text/javascript'; ga.async = true;
ga.src = ('https:' == document.location.protocol ? 'https://ssl' : 'http://www') + '.google-
analytics.com/ga.js';
(document.getElementsByTagName('head')[0] ||
document.getElementsByTagName('body')[0]).appendChild(ga);
})();
</script>
</head>
<body class="post-template-default single single-post postid-4 single-format-link wp-custom-
logo mp6 customizer-styles-applied highlander-enabled highlander-light">
<div id="page" class="site">
<a class="skip-link screen-reader-text" href="#content">Skip to content</a>
<header id="masthead" class="site-header" role="banner">
<div class="col-width header-wrap">
<div class="site-heading">
<div class="site-branding">
<a href="https://exposedfarhadazima.wordpress.com/" class="custom-logo-
link" rel="home" itemprop="url"><img width="80" height="80" src="https://exposedfarhadazi
ma.files.wordpress.com/2016/08/cropped-farhad-azima-fraud.jpg" class="custom-




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 134 of 155
logo" alt="Farhad Azima | Farhad Azima Scammer" itemprop="logo" data-attachment-
id="32" data-permalink="https://exposedfarhadazima.wordpress.com/cropped-farhad-azima-
fraud-jpg/" data-orig-file="https://exposedfarhadazima.files.wordpress.com/2016/08/cropped-
farhad-azima-fraud.jpg" data-orig-size="80,80" data-comments-opened="1" data-image-
meta="{&quot;aperture&quot;:&quot;0&quot;,&quot;credit&quot;:&quot;&quot;,&quot;came
ra&quot;:&quot;&quot;,&quot;caption&quot;:&quot;&quot;,&quot;created_timestamp&quot;:
&quot;0&quot;,&quot;copyright&quot;:&quot;&quot;,&quot;focal_length&quot;:&quot;0&qu
ot;,&quot;iso&quot;:&quot;0&quot;,&quot;shutter_speed&quot;:&quot;0&quot;,&quot;title&q
uot;:&quot;&quot;,&quot;orientation&quot;:&quot;0&quot;}" data-image-title="cropped-
farhad-azima-fraud.jpg" data-image-
description="&lt;p&gt;https://exposedfarhadazima.files.wordpress.com/2016/08/cropped-
farhad-azima-fraud.jpg&lt;/p&gt;
" data-medium-file="https://exposedfarhadazima.files.wordpress.com/2016/08/cropped-farhad-
azima-fraud.jpg?w=80" data-large-
file="https://exposedfarhadazima.files.wordpress.com/2016/08/cropped-farhad-azima-
fraud.jpg?w=80" /></a> <p class="site-
title"><a href="https://exposedfarhadazima.wordpress.com/" rel="home">Farhad Azima |
Farhad Azima Scammer</a></p>
</div><!-- .site-branding -->
<nav class="social-navigation" role="navigation">
<div class="social-menu-wrap"><ul id="menu-social-media" class="social-
menu"><li id="menu-item-15" class="menu-item menu-item-type-custom menu-item-object-
custom menu-item-
15"><a href="http://www.facebook.com"><span>Facebook</span></a></li>
<li id="menu-item-16" class="menu-item menu-item-type-custom menu-item-object-custom
menu-item-16"><a href="http://www.linkedin.com"><span>LinkedIn</span></a></li>
<li id="menu-item-17" class="menu-item menu-item-type-custom menu-item-object-custom
menu-item-17"><a href="http://www.twitter.com"><span>Twitter</span></a></li>
<li id="menu-item-18" class="menu-item menu-item-type-custom menu-item-object-custom
menu-item-18"><a href="http://www.instagram.com"><span>Instagram</span></a></li>
</ul></div> </nav><!-- #social-navigation -->
</div><!-- .site-heading -->
</div>
<div class="col-width sub-header-wrap">
<p class="site-description">Farhad Azima CEO of Aviation Leasing Group- A big Panama
Scammer exposed again</p>
<nav id="site-navigation" class="main-navigation" role="navigation">
<button class="menu-toggle" aria-controls="header-menu" aria-expanded="false" data-close-
text="Close">Menu</button>
<div class="menu-farhad-azima-usa-container"><ul id="header-
menu" class="menu"><li id="menu-item-12" class="menu-item menu-item-type-custom menu-
item-object-custom menu-item-
12"><a target="_blank" href="http://farhadazimascams.blogspot.nl/">Home</a></li>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 135 of 155
<li id="menu-item-13" class="menu-item menu-item-type-post_type menu-item-object-page
menu-item-
13"><a target="_blank" href="https://exposedfarhadazima.wordpress.com/about/">About</a>
</li>
</ul></div> </nav><!-- #site-navigation -->
</div><!-- .col-width -->
</header><!-- #masthead -->
<div id="content" class="site-content clear">
<div class="col-width">
<div id="primary" class="content-area">
<main id="main" class="site-main" role="main">

<article id="post-4" class="post-4 post type-post status-publish format-link has-post-thumbnail
hentry category-farhad-azima category-farhad-azima-exposed category-farhad-azima-fraud
category-farhad-azima-iranian-born-charter category-farhad-azima-kansas category-farhad-
azima-scam category-farhad-azima-usa category-ray-adams tag-farhad-azima tag-farhad-
azima-family tag-farhad-azima-fraud tag-farhad-azima-iranian-born-charter tag-farhad-azima-
kansas tag-farhad-azima-scam tag-farhad-azima-usa tag-panama-papers tag-ray-adams
post_format-post-format-link clear-fix fallback-thumbnail">
<header class="entry-header">
<h1 class="entry-title">First blog about Farhad Azima&nbsp;Scam</h1>
<div class="entry-meta">
<span class="author vcard"><a class="url fn
n" href="https://exposedfarhadazima.wordpress.com/author/azamsyed123/">azamsyed123</a>
</span><span class="entry-tags-
date"><a href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-
azima-scammer/" rel="bookmark"><time class="entry-date published" datetime="2016-08-
08T11:01:04+00:00">August 8, 2016</time><time class="updated" datetime="2017-01-
28T00:28:46+00:00">January 28, 2017</time></a></span><span class="entry-
categories"><a href="https://exposedfarhadazima.wordpress.com/category/farhad-
azima/" rel="tag">farhad
azima</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-
exposed/" rel="tag">farhad azima
exposed</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-
fraud/" rel="tag">farhad azima
fraud</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-iranian-
born-charter/" rel="tag">farhad azima Iranian Born
charter</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-
kansas/" rel="tag">farhad azima
kansas</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-
fraud/farhad-azima-scam/" rel="tag">farhad azima
scam</a>, <a href="https://exposedfarhadazima.wordpress.com/category/farhad-azima-
usa/" rel="tag">farhad azima




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 136 of 155
usa</a>, <a href="https://exposedfarhadazima.wordpress.com/category/ray-
adams/" rel="tag">Ray Adams</a></span> </div><!-- .entry-meta -->
<nav class="navigation post-navigation" role="navigation">
<h2 class="screen-reader-text">Post navigation</h2>
<div class="nav-links"><div class="nav-
previous"><a href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-
information/" rel="prev"><span class="meta-nav" aria-
hidden="true">Previous</span></a></div><div class="nav-
next"><a href="https://exposedfarhadazima.wordpress.com/2016/08/31/fraud-between-farhad-
azima-and-jay-solomon/" rel="next"><span class="meta-nav" aria-
hidden="true">Next</span></a></div></div>
</nav> </header><!-- .entry-header -->
<div class="post-hero-image clear-fix">
<figure class="entry-image">
<img width="960" height="668" src="https://exposedfarhadazima.files.wordpress.com/2016/0
8/farhad-azima-fraud.jpg" class="attachment-full size-full wp-post-image" alt="farhad-azima-
fraud" srcset="https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-
fraud.jpg 960w, https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-
fraud.jpg?w=150&amp;h=104
150w, https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-
fraud.jpg?w=300&amp;h=209
300w, https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-
fraud.jpg?w=768&amp;h=534 768w" sizes="(max-width: 960px) 100vw, 960px" data-
attachment-id="25" data-
permalink="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-farhad-
azima-scammer/farhad-azima-fraud/" data-orig-
file="https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-fraud.jpg" data-
orig-size="960,668" data-comments-opened="1" data-image-
meta="{&quot;aperture&quot;:&quot;0&quot;,&quot;credit&quot;:&quot;&quot;,&quot;came
ra&quot;:&quot;&quot;,&quot;caption&quot;:&quot;&quot;,&quot;created_timestamp&quot;:
&quot;0&quot;,&quot;copyright&quot;:&quot;&quot;,&quot;focal_length&quot;:&quot;0&qu
ot;,&quot;iso&quot;:&quot;0&quot;,&quot;shutter_speed&quot;:&quot;0&quot;,&quot;title&q
uot;:&quot;&quot;,&quot;orientation&quot;:&quot;1&quot;}" data-image-title="farhad-azima-
fraud" data-image-description="&lt;p&gt;farhad-azima-fraud&lt;/p&gt;
" data-medium-file="https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-
fraud.jpg?w=300" data-large-
file="https://exposedfarhadazima.files.wordpress.com/2016/08/farhad-azima-fraud.jpg?w=960"
/> </figure>
</div><!-- .post-hero-image -->
<div class="entry-content">
<p>This is my first post. Click the link to find Azima&#8217;s involvement with some big
personality’s including his close associates like Ray Adams &amp; Dr. Khater Massaad.</p>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 137 of 155
<p><strong><a href="https://we.tl/G2v9igEB4i" target="_blank">Download</a></strong></p
>
<p>I have written this post to tell readers how this Iranian Born
Charter,<strong>&#8220;Farhad Azima&#8221;</strong>found in<strong> </strong>Panama
Papers and other major scandals of USA.</p>
<div id="atatags-370373-5b48b84574466">
<script type="text/javascript">
__ATA.cmd.push(function() {
__ATA.initVideoSlot('atatags-370373-5b48b84574466', {
sectionId: '370373',
format: 'inread'
});
});
</script>
</div> <div class="wpcnt">
<div class="wpa wpmrec">
<span class="wpa-about">Advertisements</span>
<div class="u"> <div style="padding-
bottom:15px;width:300px;height:250px;float:left;margin-right:5px;margin-top:0px">
<div id="atatags-26942-5b48b84574492">
<script type="text/javascript">
__ATA.cmd.push(function() {
__ATA.initSlot('atatags-26942-5b48b84574492', {
collapseEmpty: 'before',
sectionId: '26942',
width: 300,
height: 250
});
});
</script>
</div></div> <div style="padding-bottom:15px;width:300px;height:250px;float:left;margin-
top:0px">
<div id="atatags-114160-5b48b84574494">
<script type="text/javascript">
__ATA.cmd.push(function() {
__ATA.initSlot('atatags-114160-5b48b84574494', {
collapseEmpty: 'before',
sectionId: '114160',
width: 300,




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 138 of 155
height: 250
});
});
</script>
</div></div></div>
</div>
</div> </div><!-- .entry-content -->
<footer class="entry-footer">
<div class="entry-meta">
<span class="entry-tags"><a href="https://exposedfarhadazima.wordpress.com/tag/farhad-
azima/" rel="tag">farhad
azima</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-
family/" rel="tag">farhad azima
family</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-
fraud/" rel="tag">farhad azima
fraud</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-iranian-born-
charter/" rel="tag">farhad azima Iranian Born
charter</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-
kansas/" rel="tag">farhad azima
kansas</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-
scam/" rel="tag">farhad azima
scam</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/farhad-azima-
usa/" rel="tag">farhad azima
usa</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/panama-
papers/" rel="tag">panama
papers</a>, <a href="https://exposedfarhadazima.wordpress.com/tag/ray-
adams/" rel="tag">Ray Adams</a></span> </div>
</footer><!-- .entry-footer -->
</article><!-- #post-## -->
<nav class="navigation post-navigation" role="navigation">
<h2 class="screen-reader-text">Post navigation</h2>
<div class="nav-links"><div class="nav-
previous"><a href="https://exposedfarhadazima.wordpress.com/2016/08/08/farhad-azima-
information/" rel="prev"><span class="meta-nav" aria-
hidden="true">Previous</span> <span class="meta-nav-title">Farhad Azima
Information</span></a></div><div class="nav-
next"><a href="https://exposedfarhadazima.wordpress.com/2016/08/31/fraud-between-farhad-
azima-and-jay-solomon/" rel="next"><span class="meta-nav" aria-
hidden="true">Next</span> <span class="meta-nav-title">Fraud between Farhad Azima and
Jay&nbsp;Solomon</span> </a></div></div>
</nav> <div class="entry-author author-avatar-show">
<div class="author-avatar">




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 139 of 155
<img alt='' src='https://0.gravatar.com/avatar/328f4da4b5843ababe0d23df0cef364e?s=111&#0
38;d=identicon&#038;r=G' class='avatar avatar-111' height='111' width='111' /> </div><!--
.author-avatar -->
<div class="author-heading">
<h2 class="author-title">Published by <span class="author-name">azamsyed123</span></h2>
</div><!-- .author-heading -->
<p class="author-bio">
Post information about farhad azima <a class="author-
link" href="https://exposedfarhadazima.wordpress.com/author/azamsyed123/" rel="author">
View all posts by azamsyed123 </a>
</p><!-- .author-bio -->
</div><!-- .entry-auhtor -->

</main><!-- #main -->
</div><!-- #primary -->
<div id="secondary" class="widget-area" role="complementary">
<aside id="search-1" class="widget widget_search"><h2 class="widget-title">farhad
azima</h2><form role="search" method="get" class="search-
form" action="https://exposedfarhadazima.wordpress.com/">
<label>
<span class="screen-reader-text">Search for:</span>
<input type="search" class="search-field" placeholder="Search &hellip;" value="" name="s"
/>
</label>
<input type="submit" class="search-submit" value="Search" />
</form></aside><aside id="text-1" class="widget widget_text"><h2 class="widget-
title">farhad azima fraud</h2> <div class="textwidget"><p>farhad azima fraud, farhad azima
Iranian Born charter, farhad azima kansas, farhad azima scam, farhad azima usa, Ray
Adams</p>
</div>
</aside><aside id="text-3" class="widget
widget_text"> <div class="textwidget"><div id="statcounter_image" style="display:inline;"><
a title="web
stats" href="http://statcounter.com/" class="statcounter"><img src="//c.statcounter.com/11312
564/0/e487c8e9/0/" alt="web
stats" style="border:none;" /></a></div></div>
</aside><aside id="text-5" class="widget
widget_text"> <div class="textwidget"><div id="statcounter_image" style="display:inline;"><
a title="web
analytics" href="http://statcounter.com/" class="statcounter"><img src="//c.statcounter.com/11
318933/0/4a3bbc8d/0/" alt="web




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 140 of 155
analytics" style="border:none;" /></a></div></div>
</aside></div><!-- #secondary -->
<footer id="colophon" class="site-footer" role="contentinfo">
<div class="site-info">
<a href="https://wordpress.com/?ref=footer_custom_com">WordPress.com</a>.
<br>
</div><!-- .site-info -->
</footer><!-- #colophon -->
</div><!-- .col-width -->
</div><!-- #content -->
</div><!-- #page -->
<!-- -->
<script type='text/javascript' src='//0.gravatar.com/js/gprofiles.js?ver=201828y'></script>
<script type='text/javascript'>
/* <![CDATA[ */
var WPGroHo = {"my_hash":""};
/* ]]> */
</script>
<script type='text/javascript' src='https://s1.wp.com/wp-content/mu-plugins/gravatar-
hovercards/wpgroho.js?m=1380573781h'></script>
<script>
//initialize and attach hovercards to all gravatars
jQuery( document ).ready( function( $ ) {
if (typeof Gravatar === "undefined"){
return;
}
if ( typeof Gravatar.init !== "function" ) {
return;
}
Gravatar.profile_cb = function( hash, id ) {
WPGroHo.syncProfileData( hash, id );
};
Gravatar.my_hash = WPGroHo.my_hash;
Gravatar.init( 'body', '#wp-admin-bar-my-account' );
});
</script>
<div style="display:none">




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 141 of 155
<div class="grofile-hash-map-328f4da4b5843ababe0d23df0cef364e">
</div>
</div>
<div class="widget widget_eu_cookie_law_widget"><div
class="hide-on-button ads-active"
data-hide-timeout="30"
data-consent-expiration="180"
id="eu-cookie-law"
>
<form method="post">
<input type="submit" value="Close and accept" class="accept" />
Privacy &amp; Cookies: This site uses cookies. By continuing to use this website, you agree to
their use. <br />
To find out more, including how to control cookies, see here:
<a href="https://automattic.com/cookies" >
Cookie Policy </a>
</form>
</div>
</div><script type='text/javascript'>
/* <![CDATA[ */
var comment_like_text = {"loading":"Loading..."};
/* ]]> */
</script>
<script type='text/javascript'>
/* <![CDATA[ */
var rebalanceScreenReaderText = {"expand":"expand child menu","collapse":"collapse child
menu"};
/* ]]> */
</script>
<script type='text/javascript'>
/* <![CDATA[ */
var Rebalance = {"is_rtl":"0"};
/* ]]> */
</script>
<script type='text/javascript'>
/* <![CDATA[ */
var actionbardata = {"siteID":"115100608","siteName":"Farhad Azima | Farhad Azima
Scammer","siteURL":"http:\/\/exposedfarhadazima.wordpress.com","icon":"<img alt=''
src='https:\/\/s2.wp.com\/i\/logo\/wpcom-gray-white.png' class='avatar avatar-50' height='50'




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 142 of 155
width='50'
\/>","canManageOptions":"","canCustomizeSite":"","isFollowing":"","themeSlug":"pub\/rebala
nce","signupURL":"https:\/\/wordpress.com\/start\/","loginURL":"https:\/\/exposedfarhadazima
.wordpress.com\/wp-
login.php?redirect_to=https%3A%2F%2Fexposedfarhadazima.wordpress.com%2F2016%2F08
%2F08%2Ffarhad-azima-farhad-azima-
scammer%2F","themeURL":"https:\/\/wordpress.com\/theme\/rebalance\/","xhrURL":"https:\/\/
exposedfarhadazima.wordpress.com\/wp-admin\/admin-
ajax.php","nonce":"a23d19b4e1","isSingular":"1","isFolded":"","isLoggedIn":"","isMobile":"",
"subscribeNonce":"<input type=\"hidden\" id=\"_wpnonce\" name=\"_wpnonce\"
value=\"1cd2751ac6\"
\/>","referer":"https:\/\/exposedfarhadazima.wordpress.com\/2016\/08\/08\/farhad-azima-
farhad-azima-
scammer\/","canFollow":"1","feedID":"51910839","statusMessage":"","customizeLink":"https:
\/\/exposedfarhadazima.wordpress.com\/wp-
admin\/customize.php?url=https%3A%2F%2Fexposedfarhadazima.wordpress.com%2F2016%
2F08%2F08%2Ffarhad-azima-farhad-azima-
scammer%2F","postID":"4","shortlink":"https:\/\/wp.me\/p7MWVq-
4","canEditPost":"","editLink":"https:\/\/wordpress.com\/post\/exposedfarhadazima.wordpress.
com\/4","statsLink":"https:\/\/wordpress.com\/stats\/post\/4\/exposedfarhadazima.wordpress.co
m","i18n":{"view":"View
site","follow":"Follow","following":"Following","edit":"Edit","login":"Log in","signup":"Sign
up","customize":"Customize","report":"Report this content","themeInfo":"Get theme:
Rebalance","shortlink":"Copy shortlink","copied":"Copied","followedText":"New posts from
this site will now appear in your <a
href=\"https:\/\/wordpress.com\/\">Reader<\/a>","foldBar":"Collapse this
bar","unfoldBar":"Expand this bar","editSubs":"Manage subscriptions","viewReader":"View
site in Reader","viewReadPost":"View post in Reader","subscribe":"Sign me
up","enterEmail":"Enter your email address","followers":"","alreadyUser":"Already have a
WordPress.com account? <a href=\"https:\/\/exposedfarhadazima.wordpress.com\/wp-
login.php?redirect_to=https%3A%2F%2Fexposedfarhadazima.wordpress.com%2F2016%2F08
%2F08%2Ffarhad-azima-farhad-azima-scammer%2F\">Log in now.<\/a>","stats":"Stats"}};
/* ]]> */
</script>
<script type='text/javascript' src='https://s1.wp.com/_static/??-
eJyVketOwzAMhV+ILDBpXH4gnsVNvM5tbsROC29PooqpDFS2f9bx+RyfWM9JmRgEg+iB
tcWJDKaP3cB3etXyRSVXegqsHY3I+r1gwRME6zBvmE30vkpqgYZGd5pnSngL9EO4BOW
EvtpS6XTGDhwEgwvkig+OWK4lAkzUg1AM3wQF44pdliAPPbKLYNHuPP3p8cAx5M91+
79H2WRKcnUqHinVfwijOkZTWB1p61Yz2R6FNZbajSOhcjBrQZ8cCF7oG3PA1kSqg9wSC
uZaqThhztSCn7UbJ0gGM/5KvoZMO0aDzlV1v/nXh8P+6X5/eHl+HL4AKAcH+g=='></scrip
t>
<script type="text/javascript">
// <![CDATA[
(function() {
try{




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 143 of 155
if ( window.external &&'msIsSiteMode' in window.external) {
if (window.external.msIsSiteMode()) {
var jl = document.createElement('script');
jl.type='text/javascript';
jl.async=true;
jl.src='/wp-content/plugins/ie-sitemode/custom-jumplist.php';
var s = document.getElementsByTagName('script')[0];
s.parentNode.insertBefore(jl, s);
}
}
}catch(e){}
})();
// ]]>
</script> <script type="text/javascript">
var skimlinks_pub_id = "725X584219"
var skimlinks_sitename = "exposedfarhadazima.wordpress.com";
</script>
<script type="text/javascript" defer src="https://s.skimresources.com/js/725X1342.skimlinks.js
"></script><script src="//stats.wp.com/w.js?56" type="text/javascript" async defer></script>
<script type="text/javascript">
_tkq = window._tkq || [];
_stq = window._stq || [];
_tkq.push(['storeContext',
{'blog_id':'115100608','blog_tz':'4','user_lang':'en','blog_lang':'en','user_id':'0'}]);
_stq.push(['view',
{'blog':'115100608','v':'wpcom','tz':'4','user_id':'0','post':'4','subd':'exposedfarhadazima'}]);
_stq.push(['extra',
{'crypt':'UE5XaGUuOTlwaD85flAmcm1mcmZsaDhkV11YdWFnNncxc1tjZG9XVXhRREQ/
V0xPZ1hKXy9rfFJyblF1SC1SYmJaMDZ4Z2lYRXZPfmpTJj90VERSLGdpbWRjelVMUG1t
aHdWSWEsfGJlNTI2MkQxZjFWMDBmTDhTOXl+PWhSRz1sUiVsMW1NM2MzZzJuaDV
6dzBzWnU2QWx6RzdRWG9CVyV1S1t4S1s4VVU0Y1FVSXhQV0FtVm44aWcyVEhQWk
Vzb3JDdkJHL2xWKyYuV0lDdG1GcE4rUz9yYSxETD09dTRtPTd+NH42RSZUV2I/Ri96V
m5UU00lWHdvfHBFSC1ScXMsOFJ8LStQWFhQ'}]);
_stq.push([ 'clickTrackerInit', '115100608', '4' ]);
</script>
<noscript><img src="https://pixel.wp.com/b.gif?v=noscript"
style="height:0px;width:0px;overflow:hidden" alt="" /></noscript>
<script>
if ( 'object' === typeof wpcom_mobile_user_agent_info ) {
wpcom_mobile_user_agent_info.init();




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 144 of 155
var mobileStatsQueryString = "";
if( false !== wpcom_mobile_user_agent_info.matchedPlatformName )
mobileStatsQueryString += "&x_" + 'mobile_platforms' + '=' +
wpcom_mobile_user_agent_info.matchedPlatformName;
if( false !== wpcom_mobile_user_agent_info.matchedUserAgentName )
mobileStatsQueryString += "&x_" + 'mobile_devices' + '=' +
wpcom_mobile_user_agent_info.matchedUserAgentName;
if( wpcom_mobile_user_agent_info.isIPad() )
mobileStatsQueryString += "&x_" + 'ipad_views' + '=' + 'views';
if( "" != mobileStatsQueryString ) {
new Image().src = document.location.protocol + '//pixel.wp.com/g.gif?v=wpcom-no-pv' +
mobileStatsQueryString + '&baba=' + Math.random();
}
}
</script>
</body>
</html>




 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 145 of 155
           Attachment 11




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 146 of 155
Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 147 of 155
           Attachment 12




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 148 of 155
7/13/2018                                                              WeTransfer


                                                                                         Help   About us   Got Plus?




                       Ready when you are
                                No delete date



                  FarhadExposed.txt
                  609 Bytes · txt



                                    Download




https://wetransfer.com/downloads/e5cc80815dd9b6720eb3ee131a0e3bc120170127172710/3b327c                                 1/1
              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 149 of 155
           Attachment 13




Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 150 of 155
 TRADE                                                                         TRADE SECRET LOCATED IN WETRANSFER   TRADE SECRET LOCATED IN DATA   TRADE SECRET LOCATED IN DATA
                          TRADE SECRET AS IDENTIFIED BY PLAINTIFF
SECRET #                                                                           DATA DOWNLOADED IN 2018            PRODUCED BY DEFENDANTS           PRODUCED BY THE FBI
           Bates Range of Trade Secret: FA_MDNC_01011626 to FA_MDNC_01011627
                                                                                       FA_MDNC_01246543*            DEFS(MDNC20cv954)_0142980*            REV02088262*
           Excel: FA_MDNC_01011626 to FA_MDNC_01011626
                                                                                       FA_MDNC_01246550*            DEFS(MDNC20cv954)_0142987*            REV02088264*
                                                                                        FA_MDNC_01628377                                             FA_MDNC_ZUKAS_00660057
   1
                                                                                        FA_MDNC_01628381                                             FA_MDNC_ZUKAS_00660061
           Attachment: FA_MDNC_01011627 to FA_MDNC_01011627                             FA_MDNC_01630353                                             FA_MDNC_ZUKAS_00662033
                                                                                        FA_MDNC_01630564                                             FA_MDNC_ZUKAS_00662244
                                                                                        FA_MDNC_01631037                                             FA_MDNC_ZUKAS_00662717
           Bates Range of Trade Secret: FA_MDNC_01011628 to FA_MDNC_01011629
                                                                                       FA_MDNC_01246543*            DEFS(MDNC20cv954)_0142980*            REV02088262*
   2       Excel: FA_MDNC_01011628 to FA_MDNC_01011628
                                                                                       FA_MDNC_01246550*            DEFS(MDNC20cv954)_0142987*            REV02088264*
           Attachment: FA_MDNC_01011629 to FA_MDNC_01011629                             FA_MDNC_01620398            DEFS(MDNC20cv954)_0521880        FA_MDNC_ZUKAS_00652078
                                                                                        FA_MDNC_01947829            DEFS(MDNC20cv954)_0021310        FA_MDNC_ZUKAS_00005944
   3       Bates Range of Trade Secret: FA_MDNC_01011630 to FA_MDNC_01011630
                                                                                        FA_MDNC_01955571            DEFS(MDNC20cv954)_0030381        FA_MDNC_ZUKAS_00013683
   4       Bates Range of Trade Secret: FA_MDNC_01011631 to FA_MDNC_01011635
   5       Withdrawn
           Bates Range of Trade Secret: FA_MDNC_01011647 to FA_MDNC_01011652
           Cover Email: FA_MDNC_01011647 to FA_MDNC_01011647                           FA_MDNC_01207944              DEFS(MDNC20cv954)_0065456       FA_MDNC_ZUKAS_00042997
   6
                                                                                       FA_MDNC_01310098              DEFS(MDNC20cv954)_0232004       FA_MDNC_ZUKAS_00145111
           Attachment: FA_MDNC_01011648 to FA_MDNC_01011652
                                                                                       FA_MDNC_01310987              DEFS(MDNC20cv954)_0232988       FA_MDNC_ZUKAS_00146000
           Bates Range of Trade Secret: FA_MDNC_01011680 to FA_MDNC_01011759
           Cover Email: FA_MDNC_01011680 to FA_MDNC_01011680                           FA_MDNC_01380898             DEFS(MDNC20cv954)_0288370        FA_MDNC_ZUKAS_00281457
           Attachment: FA_MDNC_01011681 to FA_MDNC_01011682                            FA_MDNC_01380899             DEFS(MDNC20cv954)_0288371        FA_MDNC_ZUKAS_00281458
           Attachment: FA_MDNC_01011683 to FA_MDNC_01011683                            FA_MDNC_01380902             DEFS(MDNC20cv954)_0288374        FA_MDNC_ZUKAS_00281461
           Attachment: FA_MDNC_01011684 to FA_MDNC_01011684                            FA_MDNC_01380904             DEFS(MDNC20cv954)_0288376        FA_MDNC_ZUKAS_00281463
   7       Attachment: FA_MDNC_01011685 to FA_MDNC_01011691                            FA_MDNC_01380906             DEFS(MDNC20cv954)_0288378        FA_MDNC_ZUKAS_00281465
           Attachment: FA_MDNC_01011692 to FA_MDNC_01011698                            FA_MDNC_01380914             DEFS(MDNC20cv954)_0288386        FA_MDNC_ZUKAS_00281473
           Attachment: FA_MDNC_01011699 to FA_MDNC_01011737                            FA_MDNC_01380922             DEFS(MDNC20cv954)_0288394        FA_MDNC_ZUKAS_00281481
           Attachment: FA_MDNC_01011738 to FA_MDNC_01011745                            FA_MDNC_01380962             DEFS(MDNC20cv954)_0288434        FA_MDNC_ZUKAS_00281521
           Attachment: FA_MDNC_01011746 to FA_MDNC_01011751                            FA_MDNC_01380971             DEFS(MDNC20cv954)_0288443        FA_MDNC_ZUKAS_00281530
           Attachment: FA_MDNC_01011752 to FA_MDNC_01011759                            FA_MDNC_01380978             DEFS(MDNC20cv954)_0288450        FA_MDNC_ZUKAS_00281537




              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 151 of 155
 TRADE                                                                         TRADE SECRET LOCATED IN WETRANSFER   TRADE SECRET LOCATED IN DATA   TRADE SECRET LOCATED IN DATA
                          TRADE SECRET AS IDENTIFIED BY PLAINTIFF
SECRET #                                                                           DATA DOWNLOADED IN 2018            PRODUCED BY DEFENDANTS           PRODUCED BY THE FBI
           Bates Range of Trade Secret: FA_MDNC_01011760 to FA_MDNC_01011798
                                                                                       FA_MDNC_01384445                                              FA_MDNC_ZUKAS_00285004
           Cover Email: FA_MDNC_01011760 to FA_MDNC_01011762                                                        DEFS(MDNC20cv954)_0292318
                                                                                       FA_MDNC_01384540                                              FA_MDNC_ZUKAS_00285099
                                                                                       FA_MDNC_01229332             DEFS(MDNC20cv954)_0120664        FA_MDNC_ZUKAS_00064384
                                                                                       FA_MDNC_01384448             DEFS(MDNC20cv954)_0292321        FA_MDNC_ZUKAS_00285007
           Attachment: FA_MDNC_01011763 to FA_MDNC_01011763
                                                                                       FA_MDNC_01384543             DEFS(MDNC20cv954)_0292417        FA_MDNC_ZUKAS_00285102
                                                                                       FA_MDNC_01385994             DEFS(MDNC20cv954)_0294357        FA_MDNC_ZUKAS_00286553
                                                                                       FA_MDNC_01229331             DEFS(MDNC20cv954)_0120663        FA_MDNC_ZUKAS_00064383
                                                                                       FA_MDNC_01384449             DEFS(MDNC20cv954)_0292322        FA_MDNC_ZUKAS_00285008
           Attachment: FA_MDNC_01011764 to FA_MDNC_01011764
                                                                                       FA_MDNC_01384544             DEFS(MDNC20cv954)_0292418        FA_MDNC_ZUKAS_00285103
                                                                                       FA_MDNC_01385993             DEFS(MDNC20cv954)_0294356        FA_MDNC_ZUKAS_00286552
                                                                                       FA_MDNC_01229328             DEFS(MDNC20cv954)_0120660        FA_MDNC_ZUKAS_00064380
                                                                                       FA_MDNC_01384450             DEFS(MDNC20cv954)_0292323        FA_MDNC_ZUKAS_00285009
           Attachment: FA_MDNC_01011765 to FA_MDNC_01011766
                                                                                       FA_MDNC_01384545             DEFS(MDNC20cv954)_0292419        FA_MDNC_ZUKAS_00285104
                                                                                       FA_MDNC_01385991             DEFS(MDNC20cv954)_0294354        FA_MDNC_ZUKAS_00286550
                                                                                       FA_MDNC_01384452             DEFS(MDNC20cv954)_0292325        FA_MDNC_ZUKAS_00285011
                                                                                       FA_MDNC_01384505             DEFS(MDNC20cv954)_0292378        FA_MDNC_ZUKAS_00285064
           Attachment: FA_MDNC_01011767 to FA_MDNC_01011773
                                                                                       FA_MDNC_01384547             DEFS(MDNC20cv954)_0292421        FA_MDNC_ZUKAS_00285106
                                                                                       FA_MDNC_01385983             DEFS(MDNC20cv954)_0294346        FA_MDNC_ZUKAS_00286542
                                                                                       FA_MDNC_01384459             DEFS(MDNC20cv954)_0292332        FA_MDNC_ZUKAS_00285018
           Attachment: FA_MDNC_01011774 to FA_MDNC_01011774                            FA_MDNC_01384504             DEFS(MDNC20cv954)_0292377        FA_MDNC_ZUKAS_00285063
                                                                                       FA_MDNC_01384554             DEFS(MDNC20cv954)_0292428        FA_MDNC_ZUKAS_00285113
                                                                                       FA_MDNC_01229327             DEFS(MDNC20cv954)_0120659        FA_MDNC_ZUKAS_00064379
                                                                                       FA_MDNC_01382267             DEFS(MDNC20cv954)_0289825        FA_MDNC_ZUKAS_00282826
           Attachment: FA_MDNC_01011775 to FA_MDNC_01011775                            FA_MDNC_01384460             DEFS(MDNC20cv954)_0292333        FA_MDNC_ZUKAS_00285019
                                                                                       FA_MDNC_01384555             DEFS(MDNC20cv954)_0292429        FA_MDNC_ZUKAS_00285114
                                                                                       FA_MDNC_01385990             DEFS(MDNC20cv954)_0294353        FA_MDNC_ZUKAS_00286549
                                                                                       FA_MDNC_01384461             DEFS(MDNC20cv954)_0292334        FA_MDNC_ZUKAS_00285020
           Attachment: FA_MDNC_01011776 to FA_MDNC_01011776
                                                                                       FA_MDNC_01384556             DEFS(MDNC20cv954)_0292430        FA_MDNC_ZUKAS_00285115
                                                                                       FA_MDNC_01384462             DEFS(MDNC20cv954)_0292335        FA_MDNC_ZUKAS_00285021
           Attachment: FA_MDNC_01011777 to FA_MDNC_01011777                            FA_MDNC_01384557             DEFS(MDNC20cv954)_0292431        FA_MDNC_ZUKAS_00285116
                                                                                       FA_MDNC_01385995             DEFS(MDNC20cv954)_0294358        FA_MDNC_ZUKAS_00286554
                                                                                       FA_MDNC_01384463             DEFS(MDNC20cv954)_0292336        FA_MDNC_ZUKAS_00285022
           Attachment: FA_MDNC_01011778 to FA_MDNC_01011778
                                                                                       FA_MDNC_01384558             DEFS(MDNC20cv954)_0292432        FA_MDNC_ZUKAS_00285117
                                                                                       FA_MDNC_01384464             DEFS(MDNC20cv954)_0292337        FA_MDNC_ZUKAS_00285023
           Attachment: FA_MDNC_01011779 to FA_MDNC_01011779                            FA_MDNC_01384559             DEFS(MDNC20cv954)_0292433        FA_MDNC_ZUKAS_00285118
                                                                                       FA_MDNC_01385996             DEFS(MDNC20cv954)_0294359        FA_MDNC_ZUKAS_00286555
                                                                                       FA_MDNC_01384465             DEFS(MDNC20cv954)_0292338        FA_MDNC_ZUKAS_00285024
           Attachment: FA_MDNC_01011780 to FA_MDNC_01011780                            FA_MDNC_01384560             DEFS(MDNC20cv954)_0292434        FA_MDNC_ZUKAS_00285119
   8                                                                                   FA_MDNC_01385997             DEFS(MDNC20cv954)_0294360        FA_MDNC_ZUKAS_00286556
                                                                                       FA_MDNC_01384466             DEFS(MDNC20cv954)_0292339        FA_MDNC_ZUKAS_00285025
           Attachment: FA_MDNC_01011781 to FA_MDNC_01011781
                                                                                       FA_MDNC_01384561             DEFS(MDNC20cv954)_0292435        FA_MDNC_ZUKAS_00285120
                                                                                       FA_MDNC_01384467             DEFS(MDNC20cv954)_0292340        FA_MDNC_ZUKAS_00285026
           Attachment: FA_MDNC_01011782 to FA_MDNC_01011782                            FA_MDNC_01384562             DEFS(MDNC20cv954)_0292436        FA_MDNC_ZUKAS_00285121
                                                                                       FA_MDNC_01385998             DEFS(MDNC20cv954)_0294361        FA_MDNC_ZUKAS_00286557
                                                                                       FA_MDNC_01384468             DEFS(MDNC20cv954)_0292341        FA_MDNC_ZUKAS_00285027
           Attachment: FA_MDNC_01011783 to FA_MDNC_01011783
                                                                                       FA_MDNC_01384563             DEFS(MDNC20cv954)_0292437        FA_MDNC_ZUKAS_00285122
                                                                                       FA_MDNC_01384469             DEFS(MDNC20cv954)_0292342        FA_MDNC_ZUKAS_00285028
           Attachment: FA_MDNC_01011784 to FA_MDNC_01011784
                                                                                       FA_MDNC_01384564             DEFS(MDNC20cv954)_0292438        FA_MDNC_ZUKAS_00285123
                                                                                       FA_MDNC_01384470             DEFS(MDNC20cv954)_0292343        FA_MDNC_ZUKAS_00285029
           Attachment: FA_MDNC_01011785 to FA_MDNC_01011785
                                                                                       FA_MDNC_01384565             DEFS(MDNC20cv954)_0292439        FA_MDNC_ZUKAS_00285124
                                                                                       FA_MDNC_01384471             DEFS(MDNC20cv954)_0292344        FA_MDNC_ZUKAS_00285030
           Attachment: FA_MDNC_01011786 to FA_MDNC_01011786                            FA_MDNC_01384566             DEFS(MDNC20cv954)_0292440        FA_MDNC_ZUKAS_00285125
                                                                                       FA_MDNC_01385999             DEFS(MDNC20cv954)_0294362        FA_MDNC_ZUKAS_00286558
                                                                                       FA_MDNC_01384472             DEFS(MDNC20cv954)_0292345        FA_MDNC_ZUKAS_00285031
           Attachment: FA_MDNC_01011787 to FA_MDNC_01011787
                                                                                       FA_MDNC_01384567             DEFS(MDNC20cv954)_0292441        FA_MDNC_ZUKAS_00285126
                                                                                       FA_MDNC_01384473             DEFS(MDNC20cv954)_0292346        FA_MDNC_ZUKAS_00285032
           Attachment: FA_MDNC_01011788 to FA_MDNC_01011788
                                                                                       FA_MDNC_01384568             DEFS(MDNC20cv954)_0292442        FA_MDNC_ZUKAS_00285127
                                                                                       FA_MDNC_01384474             DEFS(MDNC20cv954)_0292347        FA_MDNC_ZUKAS_00285033
           Attachment: FA_MDNC_01011789 to FA_MDNC_01011789
                                                                                       FA_MDNC_01384569             DEFS(MDNC20cv954)_0292443        FA_MDNC_ZUKAS_00285128
                                                                                       FA_MDNC_01384475             DEFS(MDNC20cv954)_0292348        FA_MDNC_ZUKAS_00285034
           Attachment: FA_MDNC_01011790 to FA_MDNC_01011790
                                                                                       FA_MDNC_01384570             DEFS(MDNC20cv954)_0292444        FA_MDNC_ZUKAS_00285129
                                                                                       FA_MDNC_01384476             DEFS(MDNC20cv954)_0292349        FA_MDNC_ZUKAS_00285035
           Attachment: FA_MDNC_01011791 to FA_MDNC_01011791
                                                                                       FA_MDNC_01384571             DEFS(MDNC20cv954)_0292445        FA_MDNC_ZUKAS_00285130
                                                                                       FA_MDNC_01384477             DEFS(MDNC20cv954)_0292350        FA_MDNC_ZUKAS_00285036
           Attachment: FA_MDNC_01011792 to FA_MDNC_01011792                            FA_MDNC_01384572             DEFS(MDNC20cv954)_0292446        FA_MDNC_ZUKAS_00285131
                                                                                       FA_MDNC_01386000             DEFS(MDNC20cv954)_0294363        FA_MDNC_ZUKAS_00286559
                                                                                       FA_MDNC_01384478             DEFS(MDNC20cv954)_0292351        FA_MDNC_ZUKAS_00285037
           Attachment: FA_MDNC_01011793 to FA_MDNC_01011793
                                                                                       FA_MDNC_01384573             DEFS(MDNC20cv954)_0292447        FA_MDNC_ZUKAS_00285132
                                                                                       FA_MDNC_01384479             DEFS(MDNC20cv954)_0292352        FA_MDNC_ZUKAS_00285038
           Attachment: FA_MDNC_01011794 to FA_MDNC_01011794
                                                                                       FA_MDNC_01384574             DEFS(MDNC20cv954)_0292448        FA_MDNC_ZUKAS_00285133
                                                                                       FA_MDNC_01384480             DEFS(MDNC20cv954)_0292353        FA_MDNC_ZUKAS_00285039
           Attachment: FA_MDNC_01011795 to FA_MDNC_01011795
                                                                                       FA_MDNC_01384575             DEFS(MDNC20cv954)_0292449        FA_MDNC_ZUKAS_00285134
                                                                                       FA_MDNC_01384481             DEFS(MDNC20cv954)_0292354        FA_MDNC_ZUKAS_00285040
           Attachment: FA_MDNC_01011796 to FA_MDNC_01011796
                                                                                       FA_MDNC_01384576             DEFS(MDNC20cv954)_0292450        FA_MDNC_ZUKAS_00285135
                                                                                       FA_MDNC_01384482             DEFS(MDNC20cv954)_0292355        FA_MDNC_ZUKAS_00285041
           Attachment: FA_MDNC_01011797 to FA_MDNC_01011797
                                                                                       FA_MDNC_01384577             DEFS(MDNC20cv954)_0292451        FA_MDNC_ZUKAS_00285136
                                                                                       FA_MDNC_01384483             DEFS(MDNC20cv954)_0292356        FA_MDNC_ZUKAS_00285042
           Attachment: FA_MDNC_01011798 to FA_MDNC_01011798
                                                                                       FA_MDNC_01384578             DEFS(MDNC20cv954)_0292452        FA_MDNC_ZUKAS_00285137




              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 152 of 155
 TRADE                                                                         TRADE SECRET LOCATED IN WETRANSFER   TRADE SECRET LOCATED IN DATA    TRADE SECRET LOCATED IN DATA
                          TRADE SECRET AS IDENTIFIED BY PLAINTIFF
SECRET #                                                                           DATA DOWNLOADED IN 2018            PRODUCED BY DEFENDANTS            PRODUCED BY THE FBI
           Bates Range of Trade Secret: FA_MDNC_01011799 to FA_MDNC_01011815
           Cover Email: FA_MDNC_01011799 to FA_MDNC_01011799                           FA_MDNC_01413565             DEFS(MDNC20cv954)_0326643         FA_MDNC_ZUKAS_00314149
                                                                                       FA_MDNC_01413873             DEFS(MDNC20cv954)_0326294         FA_MDNC_ZUKAS_00314457
   9
                                                                                       FA_MDNC_01417479             DEFS(MDNC20cv954)_0326644         FA_MDNC_ZUKAS_00318063
           Attachment: FA_MDNC_01011800 to FA_MDNC_01011815
                                                                                       FA_MDNC_01666238             DEFS(MDNC20cv954)_0331635         FA_MDNC_ZUKAS_00697927
                                                                                                                    DEFS(MDNC20cv954)_0575000
           Bates Range of Trade Secret: FA_MDNC_01011816 to FA_MDNC_01011817
   10      Cover Email: FA_MDNC_01011816 to FA_MDNC_01011816                           FA_MDNC_01421341             DEFS(MDNC20cv954)_0336224         FA_MDNC_ZUKAS_00321925
           Attachment: FA_MDNC_01011817 to FA_MDNC_01011817                            FA_MDNC_01421342             DEFS(MDNC20cv954)_0336225         FA_MDNC_ZUKAS_00321926
           Bates Range of Trade Secret: FA_MDNC_01011818 to FA_MDNC_01011823
           Cover Email: FA_MDNC_01011818 to FA_MDNC_01011819                           FA_MDNC_01424599             DEFS(MDNC20cv954)_0341640         FA_MDNC_ZUKAS_00325183
           Attachment: FA_MDNC_01011820 to FA_MDNC_01011820                            FA_MDNC_01424601             DEFS(MDNC20cv954)_0341642         FA_MDNC_ZUKAS_00325185
   11
           Attachment: FA_MDNC_01011821 to FA_MDNC_01011821                            FA_MDNC_01424602             DEFS(MDNC20cv954)_0341643         FA_MDNC_ZUKAS_00325186
           Attachment: FA_MDNC_01011822 to FA_MDNC_01011822                            FA_MDNC_01424603             DEFS(MDNC20cv954)_0341644         FA_MDNC_ZUKAS_00325187
           Attachment: FA_MDNC_01011823 to FA_MDNC_01011823                            FA_MDNC_01424604             DEFS(MDNC20cv954)_0341645         FA_MDNC_ZUKAS_00325188
           Bates Range of Trade Secret: FA_MDNC_01012043 to FA_MDNC_01012128
           Cover Email: FA_MDNC_01012043 to FA_MDNC_01012043                           FA_MDNC_01252035             DEFS(MDNC20cv954)_0158804         FA_MDNC_ZUKAS_00087048
                                                                                       FA_MDNC_01252036             DEFS(MDNC20cv954)_0158805         FA_MDNC_ZUKAS_00087049
           Attachment: FA_MDNC_01012044 to FA_MDNC_01012098
                                                                                       FA_MDNC_01269482             DEFS(MDNC20cv954)_0177556         FA_MDNC_ZUKAS_00104495
                                                                                       FA_MDNC_01252000             DEFS(MDNC20cv954)_0158759         FA_MDNC_ZUKAS_00087013
   12                                                                                  FA_MDNC_01252091             DEFS(MDNC20cv954)_0158871         FA_MDNC_ZUKAS_00087104
                                                                                       FA_MDNC_01252123             DEFS(MDNC20cv954)_0158914         FA_MDNC_ZUKAS_00087136
           Attachment: FA_MDNC_01012099 to FA_MDNC_01012128                            FA_MDNC_01269537             DEFS(MDNC20cv954)_0177622         FA_MDNC_ZUKAS_00104550
                                                                                       FA_MDNC_01269794             DEFS(MDNC20cv954)_0177901         FA_MDNC_ZUKAS_00104807
                                                                                       FA_MDNC_01274187             DEFS(MDNC20cv954)_0183535         FA_MDNC_ZUKAS_00109200
                                                                                       FA_MDNC_01274235             DEFS(MDNC20cv954)_0183594         FA_MDNC_ZUKAS_00109248
           Bates Range of Trade Secret: FA_MDNC_01012129 to FA_MDNC_01012218
           Cover Email: FA_MDNC_01012129 to FA_MDNC_01012129                           FA_MDNC_01624978             DEFS(MDNC20cv954)_0526640         FA_MDNC_ZUKAS_00656658
           Attachment: FA_MDNC_01012130 to FA_MDNC_01012153                            FA_MDNC_01624979             DEFS(MDNC20cv954)_0526641         FA_MDNC_ZUKAS_00656659
   13
                                                                                       FA_MDNC_01253885             DEFS(MDNC20cv954)_0160974         FA_MDNC_ZUKAS_00088898
           Attachment: FA_MDNC_01012154 to FA_MDNC_01012218                            FA_MDNC_01624644             DEFS(MDNC20cv954)_0526295         FA_MDNC_ZUKAS_00656324
                                                                                       FA_MDNC_01625003             DEFS(MDNC20cv954)_0526665         FA_MDNC_ZUKAS_00656683
           Bates Range of Trade Secret: FA_MDNC_01012219 to FA_MDNC_01012263
   14      Cover Email: FA_MDNC_01012219 to FA_MDNC_01012219                           FA_MDNC_01627384             DEFS(MDNC20cv954)_0529191         FA_MDNC_ZUKAS_00659064
           Attachment: FA_MDNC_01012220 to FA_MDNC_01012263                            FA_MDNC_01627385             DEFS(MDNC20cv954)_0529192         FA_MDNC_ZUKAS_00659065
           Bates Range of Trade Secret: FA_MDNC_01012264 to FA_MDNC_01012294
           Cover Email: FA_MDNC_01012264 to FA_MDNC_01012265                           FA_MDNC_01631266             DEFS(MDNC20cv954)_0533328         FA_MDNC_ZUKAS_00662946
                                                                                       FA_MDNC_01271292             DEFS(MDNC20cv954)_0179510         FA_MDNC_ZUKAS_00106305
                                                                                       FA_MDNC_01287713             DEFS(MDNC20cv954)_0205073         FA_MDNC_ZUKAS_00122726
           Attachment: FA_MDNC_01012266 to FA_MDNC_01012267
                                                                                       FA_MDNC_01293659             DEFS(MDNC20cv954)_0211613         FA_MDNC_ZUKAS_00128675
                                                                                       FA_MDNC_01631268             DEFS(MDNC20cv954)_0533330         FA_MDNC_ZUKAS_00662948
                                                                                       FA_MDNC_01271294             DEFS(MDNC20cv954)_0179512         FA_MDNC_ZUKAS_00106307
   15
                                                                                       FA_MDNC_01287715             DEFS(MDNC20cv954)_0205075         FA_MDNC_ZUKAS_00122728
           Attachment: FA_MDNC_01012268 to FA_MDNC_01012270
                                                                                       FA_MDNC_01293661             DEFS(MDNC20cv954)_0211615         FA_MDNC_ZUKAS_00128677
                                                                                       FA_MDNC_01631270             DEFS(MDNC20cv954)_0533332         FA_MDNC_ZUKAS_00662950
                                                                                       FA_MDNC_01271297             DEFS(MDNC20cv954)_0179515         FA_MDNC_ZUKAS_00106310
                                                                                       FA_MDNC_01287718             DEFS(MDNC20cv954)_0205078         FA_MDNC_ZUKAS_00122731
           Attachment: FA_MDNC_01012271 to FA_MDNC_01012294
                                                                                       FA_MDNC_01293664             DEFS(MDNC20cv954)_0211618         FA_MDNC_ZUKAS_00128680
                                                                                       FA_MDNC_01631273             DEFS(MDNC20cv954)_0533335         FA_MDNC_ZUKAS_00662953
           Bates Range of Trade Secret: FA_MDNC_01012295 to FA_MDNC_01012302
   16      Cover Email: FA_MDNC_01012295 to FA_MDNC_01012295                           FA_MDNC_01631657             DEFS(MDNC20cv954)_0533735         FA_MDNC_ZUKAS_00663337
           Attachment: FA_MDNC_01012296 to FA_MDNC_01012302                            FA_MDNC_01631658             DEFS(MDNC20cv954)_0533736         FA_MDNC_ZUKAS_00663338
           Bates Range of Trade Secret: FA_MDNC_01012303 to FA_MDNC_01012306
           Cover Email: FA_MDNC_01012303 to FA_MDNC_01012303                           FA_MDNC_01638089             DEFS(MDNC20cv954)_0540557         FA_MDNC_ZUKAS_00669769
   17
           Attachment: FA_MDNC_01012304 to FA_MDNC_01012304                            FA_MDNC_01638090             DEFS(MDNC20cv954)_0540558         FA_MDNC_ZUKAS_00669770
           Attachment: FA_MDNC_01012305 to FA_MDNC_01012306                            FA_MDNC_01638091             DEFS(MDNC20cv954)_0540559         FA_MDNC_ZUKAS_00669771
           Bates Range of Trade Secret: FA_MDNC_01012307 to FA_MDNC_01012308
           Cover Email: FA_MDNC_01012307 to FA_MDNC_01012307                           FA_MDNC_01647583             DEFS(MDNC20cv954)_0552337         FA_MDNC_ZUKAS_00679259
   18
                                                                                       FA_MDNC_01647584             DEFS(MDNC20cv954)_0552338         FA_MDNC_ZUKAS_00679260
           Attachment: FA_MDNC_01012308 to FA_MDNC_01012308
                                                                                       FA_MDNC_01647586             DEFS(MDNC20cv954)_0552340         FA_MDNC_ZUKAS_00679262
           Bates Range of Trade Secret: FA_MDNC_01012312 to FA_MDNC_01012381
           Cover Email: FA_MDNC_01012312 to FA_MDNC_01012312                           FA_MDNC_01692590             DEFS(MDNC20cv954)_0614749         FA_MDNC_ZUKAS_00724278
   19      Attachment: FA_MDNC_01012313 to FA_MDNC_01012318                            FA_MDNC_01692591             DEFS(MDNC20cv954)_0614750         FA_MDNC_ZUKAS_00724279
           Attachment: FA_MDNC_01012319 to FA_MDNC_01012380                            FA_MDNC_01692597             DEFS(MDNC20cv954)_0614756         FA_MDNC_ZUKAS_00724285
           Attachment: FA_MDNC_01012381 to FA_MDNC_01012381                            FA_MDNC_01692659             DEFS(MDNC20cv954)_0614818         FA_MDNC_ZUKAS_00724347
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   20      Bates Range of Trade Secret: FA_MDNC_01012382 to FA_MDNC_01012382
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   21      Bates Range of Trade Secret: FA_MDNC_01012383 to FA_MDNC_01012383
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
           Bates Range of Trade Secret: FA_MDNC_01012384 to FA_MDNC_01012395
           Cover Email: FA_MDNC_01012384 to FA_MDNC_01012384                           FA_MDNC_01302201             EFS(MDNC20cv954)_0222322          FA_MDNC_ZUKAS_00137214
           Attachment: FA_MDNC_01012385 to FA_MDNC_01012385                            FA_MDNC_01302202             DEFS(MDNC20cv954)_0222324         FA_MDNC_ZUKAS_00137215
   22
           Attachment: FA_MDNC_01012386 to FA_MDNC_01012391                            FA_MDNC_01302203             DEFS(MDNC20cv954)_0222325         FA_MDNC_ZUKAS_00137216
                                                                                       FA_MDNC_01302187             DEFS(MDNC20cv954)_0222308         FA_MDNC_ZUKAS_00137200
           Attachment: FA_MDNC_01012392 to FA_MDNC_01012395
                                                                                       FA_MDNC_01302209             DEFS(MDNC20cv954)_0222331         FA_MDNC_ZUKAS_00137222




              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 153 of 155
 TRADE                                                                         TRADE SECRET LOCATED IN WETRANSFER   TRADE SECRET LOCATED IN DATA    TRADE SECRET LOCATED IN DATA
                          TRADE SECRET AS IDENTIFIED BY PLAINTIFF
SECRET #                                                                           DATA DOWNLOADED IN 2018            PRODUCED BY DEFENDANTS            PRODUCED BY THE FBI
           Bates Range of Trade Secret: FA_MDNC_01012408 to FA_MDNC_01012411
           Cover Email: FA_MDNC_01012408 to FA_MDNC_01012408                           FA_MDNC_01378272             DEFS(MDNC20cv954)_0285528         FA_MDNC_ZUKAS_00278829
                                                                                       FA_MDNC_01378049             DEFS(MDNC20cv954)_0285279         FA_MDNC_ZUKAS_00278606
           Attachment: FA_MDNC_01012409 to FA_MDNC_01012409                            FA_MDNC_01378222             DEFS(MDNC20cv954)_0285461         FA_MDNC_ZUKAS_00278779
                                                                                       FA_MDNC_01378273             DEFS(MDNC20cv954)_0285529         FA_MDNC_ZUKAS_00278830
   23
                                                                                       FA_MDNC_01378050             DEFS(MDNC20cv954)_0285280         FA_MDNC_ZUKAS_00278607
           Attachment: FA_MDNC_01012410 to FA_MDNC_01012410                            FA_MDNC_01378223             DEFS(MDNC20cv954)_0285462         FA_MDNC_ZUKAS_00278780
                                                                                       FA_MDNC_01378274             DEFS(MDNC20cv954)_0285530         FA_MDNC_ZUKAS_00278831
                                                                                       FA_MDNC_01913046             DEFS(MDNC20cv954)_0285531         FA_MDNC_ZUKAS_00278832
           Attachment: FA_MDNC_01012411 to FA_MDNC_01012411
                                                                                       FA_MDNC_01378275             DEFS(MDNC20cv954)_0699489         FA_MDNC_ZUKAS_00919579
           Bates Range of Trade Secret: FA_MDNC_01012423 to FA_MDNC_01012458
           Cover Email: FA_MDNC_01012423 to FA_MDNC_01012423                           FA_MDNC_01618344             DEFS(MDNC20cv954)_0519774         FA_MDNC_ZUKAS_00650024
                                                                                       FA_MDNC_01229942             DEFS(MDNC20cv954)_0121358         FA_MDNC_ZUKAS_00064994
                                                                                       FA_MDNC_01250625             DEFS(MDNC20cv954)_0155255         FA_MDNC_ZUKAS_00085639
                                                                                       FA_MDNC_01613347             DEFS(MDNC20cv954)_0514459         FA_MDNC_ZUKAS_00645027
   24      Attachment: FA_MDNC_01012424 to FA_MDNC_01012429                            FA_MDNC_01613363             DEFS(MDNC20cv954)_0514476         FA_MDNC_ZUKAS_00645043
                                                                                       FA_MDNC_01613534             DEFS(MDNC20cv954)_0514636         FA_MDNC_ZUKAS_00645214
                                                                                       FA_MDNC_01618345             DEFS(MDNC20cv954)_0519775         FA_MDNC_ZUKAS_00650025
                                                                                       FA_MDNC_01630055             DEFS(MDNC20cv954)_0532040         FA_MDNC_ZUKAS_00661735
                                                                                       FA_MDNC_01614524             DEFS(MDNC20cv954)_0515694         FA_MDNC_ZUKAS_00646204
           Attachment: FA_MDNC_01012430 to FA_MDNC_01012458
                                                                                       FA_MDNC_01618351             DEFS(MDNC20cv954)_0519781         FA_MDNC_ZUKAS_00650031
           Bates Range of Trade Secret: FA_MDNC_01012461 to FA_MDNC_01012467
                                                                                       FA_MDNC_01403791                                               FA_MDNC_ZUKAS_00304371
                                                                                       FA_MDNC_01403972                                               FA_MDNC_ZUKAS_00304552
                                                                                       FA_MDNC_01403978                                               FA_MDNC_ZUKAS_00304558
                                                                                       FA_MDNC_01404072                                               FA_MDNC_ZUKAS_00304652
   25      Cover Email: FA_MDNC_01012461 to FA_MDNC_01012466                           FA_MDNC_01404079             DEFS(MDNC20cv954)_0314810         FA_MDNC_ZUKAS_00304659
                                                                                       FA_MDNC_01404085                                               FA_MDNC_ZUKAS_00304665
                                                                                       FA_MDNC_01404093                                               FA_MDNC_ZUKAS_00304673
                                                                                       FA_MDNC_01404357                                               FA_MDNC_ZUKAS_00304937
                                                                                       FA_MDNC_01404367                                               FA_MDNC_ZUKAS_00304947
           Attachment: FA_MDNC_01012467 to FA_MDNC_01012467                            FA_MDNC_01403796             DEFS(MDNC20cv954)_0314613         FA_MDNC_ZUKAS_00304376
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   26      FA_MDNC_01012510 to FA_MDNC_01012510
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   27      FA_MDNC_01012511 to FA_MDNC_01012511
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   28      FA_MDNC_01012512 to FA_MDNC_01012512
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
                                                                                                                    DEFS(MDNC20cv954)_0000276
                                                                                                                             through               FA_MDNC_ZUKAS_00960813 through
   29      FA_MDNC_01012513 to FA_MDNC_01012513
                                                                                                                    DEFS(MDNC20cv954)_0008108      FA_MDNC_ZUKAS_00968827 (vCard
                                                                                                                           (vCard Data)                        Data)
           Bates Range of Trade Secret: FA_MDNC_01026845 to FA_MDNC_01026846
           Excel: FA_MDNC_01026845 to FA_MDNC_01026845
                                                                                       FA_MDNC_01628377                                               FA_MDNC_ZUKAS_00660057
                                                                                       FA_MDNC_01628381                                               FA_MDNC_ZUKAS_00660061
                                                                                       FA_MDNC_01630353                                               FA_MDNC_ZUKAS_00662033
                                                                                       FA_MDNC_01630564                                               FA_MDNC_ZUKAS_00662244
   30
                                                                                       FA_MDNC_01631037                                               FA_MDNC_ZUKAS_00662717
           Attachment: FA_MDNC_01026846 to FA_MDNC_01026846                                                          DEFS(MDNC20cv954)_0521880
                                                                                       FA_MDNC_01238256                                               FA_MDNC_ZUKAS_00074382
                                                                                       FA_MDNC_01397915                                               FA_MDNC_ZUKAS_00298479
                                                                                       FA_MDNC_01659577                                               FA_MDNC_ZUKAS_00691261
                                                                                       FA_MDNC_01659620                                               FA_MDNC_ZUKAS_00691304
                                                                                       FA_MDNC_01620398                                               FA_MDNC_ZUKAS_00652078
           Bates Range of Trade Secret: FA_MDNC_01026847 to FA_MDNC_01026873
                                                                                       FA_MDNC_01380637             DEFS(MDNC20cv954)_0288091         FA_MDNC_ZUKAS_00281196
                                                                                       FA_MDNC_01381543             DEFS(MDNC20cv954)_0288991         FA_MDNC_ZUKAS_00282102
                                                                                       FA_MDNC_01381546             DEFS(MDNC20cv954)_0289058         FA_MDNC_ZUKAS_00282105
                                                                                       FA_MDNC_01381611             DEFS(MDNC20cv954)_0289062         FA_MDNC_ZUKAS_00282170
                                                                                       FA_MDNC_01653701             DEFS(MDNC20cv954)_0289130         FA_MDNC_ZUKAS_00685380
           Cover Email: FA_MDNC_01026847 to FA_MDNC_01026847
                                                                                       FA_MDNC_01654047             DEFS(MDNC20cv954)_0560048         FA_MDNC_ZUKAS_00685730
   31                                                                                  FA_MDNC_01654061             DEFS(MDNC20cv954)_0560065         FA_MDNC_ZUKAS_00685744
                                                                                       FA_MDNC_01654159             DEFS(MDNC20cv954)_0560183         FA_MDNC_ZUKAS_00685842
                                                                                       FA_MDNC_01381489                                               FA_MDNC_ZUKAS_00282048
                                                                                       FA_MDNC_01380679                                               FA_MDNC_ZUKAS_00281238
           Attachment: FA_MDNC_01026848 to FA_MDNC_01026848                            FA_MDNC_01380638             DEFS(MDNC20cv954)_0288092         FA_MDNC_ZUKAS_00281197
                                                                                       FA_MDNC_01380639             DEFS(MDNC20cv954)_0288093         FA_MDNC_ZUKAS_00281198
           Attachment: FA_MDNC_01026849 to FA_MDNC_01026849
                                                                                       FA_MDNC_01381989             DEFS(MDNC20cv954)_0289521         FA_MDNC_ZUKAS_00282548
           Attachment: FA_MDNC_01026850 to FA_MDNC_01026873                            FA_MDNC_01380640             DEFS(MDNC20cv954)_0288094         FA_MDNC_ZUKAS_00281199
           Bates Range of Trade Secret: FA_MDNC_01026874 to FA_MDNC_01027092
           Cover Email: FA_MDNC_01026874 to FA_MDNC_01026874                           FA_MDNC_01429052             DEFS(MDNC20cv954)_0346780         FA_MDNC_ZUKAS_00329642
   32
           Attachment: FA_MDNC_01026875 to FA_MDNC_01027091                            FA_MDNC_01429053             DEFS(MDNC20cv954)_0346781         FA_MDNC_ZUKAS_00329643
           Attachment: FA_MDNC_01027092 to FA_MDNC_01027092                            FA_MDNC_01429238             DEFS(MDNC20cv954)_0346997         FA_MDNC_ZUKAS_00329828
           Bates Range of Trade Secret: FA_MDNC_01027098 to FA_MDNC_01027113
   33      Cover Email: FA_MDNC_01027098 to FA_MDNC_01027098                           FA_MDNC_01560971             DEFS(MDNC20cv954)_0432844         FA_MDNC_ZUKAS_00592630
           Attachment: FA_MDNC_01027099 to FA_MDNC_01027113                            FA_MDNC_01560972             DEFS(MDNC20cv954)_0432845         FA_MDNC_ZUKAS_00592631




              Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 154 of 155
  TRADE                                                                                            TRADE SECRET LOCATED IN WETRANSFER   TRADE SECRET LOCATED IN DATA   TRADE SECRET LOCATED IN DATA
                               TRADE SECRET AS IDENTIFIED BY PLAINTIFF
 SECRET #                                                                                              DATA DOWNLOADED IN 2018            PRODUCED BY DEFENDANTS           PRODUCED BY THE FBI
             Bates Range of Trade Secret: FA_MDNC_01027114 to FA_MDNC_01027116
    34       Cover Email: FA_MDNC_01027114 to FA_MDNC_01027114                                                FA_MDNC_01689778          DEFS(MDNC20cv954)_0611268        FA_MDNC_ZUKAS_00721472
             Attachment: FA_MDNC_01027115 to FA_MDNC_01027116                                                 FA_MDNC_01689779          DEFS(MDNC20cv954)_0611269        FA_MDNC_ZUKAS_00721473
             Bates Range of Trade Secret: FA_MDNC_01027167 to FA_MDNC_01027178
                                                                                                              FA_MDNC_01292257          DEFS(MDNC20cv954)_0210119        FA_MDNC_ZUKAS_00127273
             Cover Email: FA_MDNC_01027167 to FA_MDNC_01027167
                                                                                                              FA_MDNC_01292630          DEFS(MDNC20cv954)_0210509        FA_MDNC_ZUKAS_00127646
    35
                                                                                                              FA_MDNC_01292258          DEFS(MDNC20cv954)_0210120        FA_MDNC_ZUKAS_00127274
             Attachment: FA_MDNC_01027168 to FA_MDNC_01027178                                                 FA_MDNC_01292631          DEFS(MDNC20cv954)_0210510        FA_MDNC_ZUKAS_00127647
                                                                                                              FA_MDNC_01292946          DEFS(MDNC20cv954)_0210850        FA_MDNC_ZUKAS_00127962
             Bates Range of Trade Secret: FA_MDNC_01027179 to FA_MDNC_01027183
                                                                                                              FA_MDNC_01667093          DEFS(MDNC20cv954)_0333802        FA_MDNC_ZUKAS_00319787
                                                                                                              FA_MDNC_01420103          DEFS(MDNC20cv954)_0333401        FA_MDNC_ZUKAS_00319469
                                                                                                              FA_MDNC_01667091          DEFS(MDNC20cv954)_0334814        FA_MDNC_ZUKAS_00698782
                                                                                                              FA_MDNC_01419903          DEFS(MDNC20cv954)_0334642        FA_MDNC_ZUKAS_00320687
                                                                                                              FA_MDNC_01419860          DEFS(MDNC20cv954)_0334564        FA_MDNC_ZUKAS_00698780
                                                                                                              FA_MDNC_01419974          DEFS(MDNC20cv954)_0576025        FA_MDNC_ZUKAS_00320487
                                                                                                              FA_MDNC_01667065          DEFS(MDNC20cv954)_0576061        FA_MDNC_ZUKAS_00320444
             Cover Email: FA_MDNC_01027179 to FA_MDNC_01027180
                                                                                                              FA_MDNC_01418895          DEFS(MDNC20cv954)_0334512        FA_MDNC_ZUKAS_00320558
                                                                                                              FA_MDNC_01419861          DEFS(MDNC20cv954)_0333416        FA_MDNC_ZUKAS_00698754
    36
                                                                                                              FA_MDNC_01418886          DEFS(MDNC20cv954)_0576063        FA_MDNC_ZUKAS_00319479
                                                                                                              FA_MDNC_01666836          DEFS(MDNC20cv954)_0333402        FA_MDNC_ZUKAS_00320445
                                                                                                              FA_MDNC_01418896          DEFS(MDNC20cv954)_0575754        FA_MDNC_ZUKAS_00319470
                                                                                                                                                                         FA_MDNC_ZUKAS_00698525
                                                                                                                                                                         FA_MDNC_ZUKAS_00319480
                                                                                                                                        DEFS(MDNC20cv954)_0333804
             Attachment: FA_MDNC_01027181 to FA_MDNC_01027181                                                 FA_MDNC_01419205                                           FA_MDNC_ZUKAS_00319789
                                                                                                                                        DEFS(MDNC20cv954)_0334503
                                                                                                                                        DEFS(MDNC20cv954)_0333805
             Attachment: FA_MDNC_01027182 to FA_MDNC_01027182                                                 FA_MDNC_01419206                                           FA_MDNC_ZUKAS_00319790
                                                                                                                                        DEFS(MDNC20cv954)_0334504
             Attachment: FA_MDNC_01027183 to FA_MDNC_01027183                                                 FA_MDNC_01419207          DEFS(MDNC20cv954)_0333806        FA_MDNC_ZUKAS_00319791
             Bates Range of Trade Secret: FA_MDNC_01027184 to FA_MDNC_01027189
                                                                                                              FA_MDNC_01229148          DEFS(MDNC20cv954)_0120461        FA_MDNC_ZUKAS_00064200
                                                                                                              FA_MDNC_01229147          DEFS(MDNC20cv954)_0612582        FA_MDNC_ZUKAS_00064199
             Cover Email: FA_MDNC_01027184 to FA_MDNC_01027184                                                FA_MDNC_01308129          DEFS(MDNC20cv954)_0229911        FA_MDNC_ZUKAS_00143142
                                                                                                              FA_MDNC_01690790          DEFS(MDNC20cv954)_0612585        FA_MDNC_ZUKAS_00722478
    37                                                                                                        FA_MDNC_01690793          DEFS(MDNC20cv954)_0120460        FA_MDNC_ZUKAS_00722481
             Attachment: FA_MDNC_01027185 to FA_MDNC_01027185                                                 FA_MDNC_01229149          DEFS(MDNC20cv954)_0120462        FA_MDNC_ZUKAS_00064201
             Attachment: FA_MDNC_01027186 to FA_MDNC_01027186                                                 FA_MDNC_01229150          DEFS(MDNC20cv954)_0120463        FA_MDNC_ZUKAS_00064202
             Attachment: FA_MDNC_01027187 to FA_MDNC_01027187                                                 FA_MDNC_01229151          DEFS(MDNC20cv954)_0120464        FA_MDNC_ZUKAS_00064203
             Attachment: FA_MDNC_01027188 to FA_MDNC_01027188                                                 FA_MDNC_01229152          DEFS(MDNC20cv954)_0120465        FA_MDNC_ZUKAS_00064204
             Attachment: FA_MDNC_01027189 to FA_MDNC_01027189                                                 FA_MDNC_01229153          DEFS(MDNC20cv954)_0120466        FA_MDNC_ZUKAS_00064205
                                                                                                              FA_MDNC_01647610          DEFS(MDNC20cv954)_0552373        FA_MDNC_ZUKAS_00679286
    38       Bates Range of Trade Secret: FA_MDNC_01027190 to FA_MDNC_01027191                                FA_MDNC_01647616          DEFS(MDNC20cv954)_0552366        FA_MDNC_ZUKAS_00679292
                                                                                                              FA_MDNC_01647613          DEFS(MDNC20cv954)_0552370        FA_MDNC_ZUKAS_00679289
             Bates Range of Trade Secret: FA_MDNC_01027192 to FA_MDNC_01027233
                                                                                                              FA_MDNC_01404014          DEFS(MDNC20cv954)_0314857        FA_MDNC_ZUKAS_00304594
             Cover Email: FA_MDNC_01027192 to FA_MDNC_01027197
                                                                                                              FA_MDNC_01404122          DEFS(MDNC20cv954)_0314971        FA_MDNC_ZUKAS_00304702
             Attachment: FA_MDNC_01027198 to FA_MDNC_01027198                                                 FA_MDNC_01404018          DEFS(MDNC20cv954)_0314861        FA_MDNC_ZUKAS_00304598
             Attachment: FA_MDNC_01027199 to FA_MDNC_01027199                                                 FA_MDNC_01404019          DEFS(MDNC20cv954)_0314862        FA_MDNC_ZUKAS_00304599
             Attachment: FA_MDNC_01027200 to FA_MDNC_01027229                                                 FA_MDNC_01404020          DEFS(MDNC20cv954)_0314863        FA_MDNC_ZUKAS_00304600
                                                                                                              FA_MDNC_01933994          DEFS(MDNC20cv954)_0314629        FA_MDNC_ZUKAS_00293428
                                                                                                              FA_MDNC_01940102          DEFS(MDNC20cv954)_0378099        FA_MDNC_ZUKAS_00549226
             Attachment: FA_MDNC_01027230 to FA_MDNC_01027230                                                 FA_MDNC_01941429          DEFS(MDNC20cv954)_0742772        FA_MDNC_ZUKAS_00952634
                                                                                                              FA_MDNC_01392866          DEFS(MDNC20cv954)_0743394        FA_MDNC_ZUKAS_00958742
                                                                                                              FA_MDNC_01517562          DEFS(MDNC20cv954)_0743395        FA_MDNC_ZUKAS_00960069
                                                                                                              FA_MDNC_01403872          DEFS(MDNC20cv954)_0314695        FA_MDNC_ZUKAS_00304452
                                                                                                              FA_MDNC_01404818          DEFS(MDNC20cv954)_0315793        FA_MDNC_ZUKAS_00305398
                                                                                                              FA_MDNC_01405002          DEFS(MDNC20cv954)_0316002        FA_MDNC_ZUKAS_00305582
                                                                                                              FA_MDNC_01405042          DEFS(MDNC20cv954)_0316044        FA_MDNC_ZUKAS_00305622
    39
             Attachment: FA_MDNC_01027231 to FA_MDNC_01027231                                                 FA_MDNC_01405155          DEFS(MDNC20cv954)_0316236        FA_MDNC_ZUKAS_00305735
                                                                                                              FA_MDNC_01405913          DEFS(MDNC20cv954)_0317152        FA_MDNC_ZUKAS_00306493
                                                                                                              FA_MDNC_01406281          DEFS(MDNC20cv954)_0317645        FA_MDNC_ZUKAS_00306861
                                                                                                              FA_MDNC_01406381          DEFS(MDNC20cv954)_0317755        FA_MDNC_ZUKAS_00306961
                                                                                                              FA_MDNC_01404136          DEFS(MDNC20cv954)_0314986        FA_MDNC_ZUKAS_00304716
                                                                                                              FA_MDNC_01403872          DEFS(MDNC20cv954)_0314695        FA_MDNC_ZUKAS_00304452
                                                                                                              FA_MDNC_01404136          DEFS(MDNC20cv954)_0314986        FA_MDNC_ZUKAS_00304716
                                                                                                              FA_MDNC_01404818          DEFS(MDNC20cv954)_0315793        FA_MDNC_ZUKAS_00305398
                                                                                                              FA_MDNC_01405002          DEFS(MDNC20cv954)_0316002        FA_MDNC_ZUKAS_00305582
             Attachment: FA_MDNC_01027232 to FA_MDNC_01027232                                                 FA_MDNC_01405042          DEFS(MDNC20cv954)_0316044        FA_MDNC_ZUKAS_00305622
                                                                                                              FA_MDNC_01405155          DEFS(MDNC20cv954)_0316236        FA_MDNC_ZUKAS_00305735
                                                                                                              FA_MDNC_01405913          DEFS(MDNC20cv954)_0317152        FA_MDNC_ZUKAS_00306493
                                                                                                              FA_MDNC_01406281          DEFS(MDNC20cv954)_0317645        FA_MDNC_ZUKAS_00306861
                                                                                                              FA_MDNC_01406381          DEFS(MDNC20cv954)_0317755        FA_MDNC_ZUKAS_00306961
           Attachment: FA_MDNC_01027233 to FA_MDNC_01027233
* Documents that are different versions but are similar in structure and format to the trade secrets identified by Azima




                 Case 1:20-cv-00954-WO-JLW Document 379-6 Filed 07/15/24 Page 155 of 155
